     Case 2:20-cv-01703-SCR    Document 189-10     Filed 04/18/25    Page 1 of 481


 1 JASON R. FLANDERS (Bar No. 238007)
   Email: jrf@atalawgroup.com
 2 ERICA A. MAHARG (Bar No. 279396)

 3 Email: eam@atalawgroup.com
   J. THOMAS BRETT (Bar No. 315820)
 4 Email: jtb@atalawgroup.com
   AQUA TERRA AERIS LAW GROUP
 5 8 Rio Vista Ave.
   Oakland, CA 94611
 6 Telephone: (916) 202-3018

 7
   DREVET HUNT, SBN 240487
 8 Email: dhunt@cacoastkeeper.org
   CALIFORNIA COASTKEEPER ALLIANCE
 9 1100 11th Street, 3rd Floor
   Sacramento, CA 95814
10
   Telephone: (415) 606-0864
11
   Attorneys for Plaintiff
12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                          UNITED STATES DISTRICT COURT
15                         EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,              Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                  DECLARATION OF J. THOMAS BRETT
19 vs.                                           IN SUPPORT OF PLAINTIFF'S MOTION
                                                 FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION, dba MURIETA             COSTS
   EQUESTRIAN CENTER,
21
                                                 Hearing Date: June 12, 2025
22                         Defendant.            Time: 10:00 AM
                                                 Courtroom: 27, 8th Floor
23                                               Hon. Sean Riordan
24

25

26

27

28
                                               1
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR           Document 189-10         Filed 04/18/25      Page 2 of 481


 1          I, James Thomas Brett, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California and State of

 5   Minnesota. I am an associate attorney with Aqua Terra Aeris (“ATA”) Law Group, representing

 6   California Coastkeeper Alliance (“Plaintiff”) in the above referenced action.

 7          3.       I make this Declaration in support of Plaintiff’s Interim Motion for Attorneys’ Fees

 8   and Costs, filed herewith. The facts set forth in this declaration are based on my personal

 9   knowledge, unless otherwise stated; if called to testify as a witness, I could and would competently

10   testify thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12          4.       I am a 2016 Graduate of the University of Michigan School of Law.
13          5.       I was admitted to practice law in the State of California in June 2017. I have also
14 been admitted to practice in the Ninth Circuit Court of Appeals, the U.S. District Court for the

15 Northern District of California, the U.S. District Court for the Central District of California, the

16 U.S. District Court for the Eastern District of California, and the State of Minnesota.

17          6.       I am an associate attorney at ATA. Prior to that, I was employed at the Global
18 Environmental Institute in Beijing, China as a consultant from 2018-2019. Prior to that, I was

19 employed at the Center for Biological Diversity as a Legal Fellow from 2017-2018.

20          7.       My practice focuses exclusively on public interest environmental law under both
21 state and federal jurisdictions. I work on a variety of issues, including cases involving the Clean

22 Water Act, the Endangered Species Act, National Environmental Policy Act (“NEPA”), and the

23 Resource Conservation and Recovery Act (“RCRA”). I also have experience in California State

24 Court, practicing under the California Environmental Quality Act (“CEQA”) and Proposition 65 as

25 well as other State environmental laws.

26          8.       My 2024 rate for attorney work in the Eastern District of California is $550 per hour.
27 Given my experience, skill, and reputation, my rates requested herein are reasonable.

28
                                               2
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR           Document 189-10         Filed 04/18/25       Page 3 of 481


 1           9.     In July 2024, in Ecological Rights Foundation et al. v. Hot Line Construction, Inc.

 2 (5:20-cv-01108-AB-kk), the Central District of California found that a rate of $660 per hour was

 3 reasonable for my services. Even when compared to the relatively lower rates more common in the

 4 Eastern District of California, this rate reflects the reasonableness of the $550 hourly rate offered

 5 herein.

 6           10.    In setting the above rate, Mr. Flanders, Mr. Maclear, and Ms. Maharg relied on their

 7 extensive knowledge of prevailing hourly rates in the Eastern District of California legal market and

 8 other legal markets throughout California. In setting my hourly rates, Mr. Flanders, Mr. Maclear,

 9 and Ms. Maharg reviewed market data and recent attorney fee awards in cases involving complex

10 civil litigation in the U.S. District Court for the Eastern District of California.

11      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

12           11.    My involvement in this case began in law 2020 with conducting research into the
13    sufficiency of service of Defendant Murieta Equestrian Center (MEC).
14           12.    In early 2021, I drafted a demand pursuant to Federal Rule of Civil Procedure 34 to
15    conduct a site inspection of the MEC Facility, drafted responses to MEC’s objections to the same,
16    including a meet and confer letter to opposing counsel, negotiated the terms of Plaintiff’s
17    inspection of the Facility, and coordinated with MEC’s expert Ian Wren regarding the inspection
18    plan; I then attended the site inspection with Mr. Wren on March 18, 2021. I subsequently
19    compiled my notes regarding, and summarized my observations during, the March 18 inspection,
20    as well as the analytic sampling results of samples collected by Mr. Wren during the inspection,
21    and discussed them with ATA attorneys, Mr. Wren, and in-house counsel for Plaintiff.
22           13.    Starting in mid-2021, I began research into the status of the Unnamed Creek adjacent
23    to the Facility as a Water of the United States (“WOTUS”). This research included review of
24    Army Corps of Engineers and Sacramento County GIS data, as well as narrative reports prepared
25    by the Rancho Murieta Community Services District (“RMCSD”). I compared these findings to
26    then applicable case law construing the meaning of the term WOTUS as well as the then-
27    applicable Navigable Waters Protection Rule. I summarized my findings and conclusions
28
                                               3
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR         Document 189-10         Filed 04/18/25      Page 4 of 481


 1    regarding the status of the Unnamed Stream as WOTUS, and articulated possible legal arguments

 2    for the same, in a memorandum to CCKA and ATA staff. I drafted document requests to the Army

 3    Corps of Engineers for documents related to the Unnamed Stream. My research, summary, and

 4    briefing on the status of the Unnamed Stream, as well my communications with ATA and CCKA

 5    staff regarding the same, continued as time permitted and as briefing required, up to and through

 6    CCKA’s filing of its Phase I motion for Summary Judgment and Reply in support of the same in

 7    late 2022 and early 2023, respectively.

 8          14.    In December, 2021, and with reference to the Sacramento County Assessor’s website

 9    and through telephone calls to the Assessor, I researched and summarized the ownership of the

10    real property underlying the Defendants’ Facility and adjacent parcels, as well as the ownership of

11    all parcels between the Facility and the confluence of the Unnamed Stream with the Cosumnes

12    River.

13          15.    In early 2022, as part of Plaintiff’s preparation for filing if it’s Second Amended

14    Complaint, I conducted research into and summarized case law regarding informational injury and

15    standing.

16          16.    In March 2022, I coordinated with Plaintiff’s retained expert Ian Wren to outline and

17    prepare Mr. Wren’s expert report; including compiling and providing Mr. Wren with relevant

18    materials, documents, and legal / regulatory background to consider in forming his opinions.

19    Motion Practice

20          17.    Also starting in March 2022, I outlined Plaintiff’s Phase I Motion for Summary

21    Judgment, including on issues related to Plaintiff’s Article III standing and WOTUS.

22          18.    In November 2022, I conducted research and analysis for, and assisted with drafting,

23    Plaintiff’s opposition to Defendant’s request to Stay briefing on Phase One WOTUS Issues.

24          19.    I conducted research and analysis for, and assisted with drafting, Plaintiff’s Phase I

25    Motion for Summary Judgment and Reply, beginning the majority of that work in November 2022

26    and continuing through the filing of the Reply in early 2023.

27

28
                                               4
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR           Document 189-10          Filed 04/18/25       Page 5 of 481


 1            20.   I conducted research and analysis for, and assisted with drafting, Plaintiff’s

 2    Opposition to Defendant’s Phase I Motion for Summary Judgment in December 2022 and January

 3    2023.

 4            21.   I conducted research and analysis for, and assisted with drafting, Plaintiff’s

 5    Statements of Undisputed Facts (SUF) in support of Plaintiff’s Phase I Motion for Summary

 6    Judgment, including review, summary, and compilation of facts and evidence in support of the

 7    same.

 8            22.   I conducted research and analysis for, and assisted with drafting, Plaintiff’s Reply

 9    SUF and Responses and Objections to Defendant’s SUF for the parties’ Phase I Motions for

10    Summary Judgment.

11            23.   I coordinated with Ian Wren and Jason Flanders to complete and finalize their

12    declarations in Support of Plaintiff’s Phase I Motion for Summary Judgment.

13            24.   I coordinated with in-house counsel for Plaintiff to finalize the declaration of Sean

14    Bothwell in support of Plaintiff’s Reply in support of Phase I Motion for Summary Judgment,

15    including review and compilation of exhibits attached thereto.

16            25.   I drafted the declaration of J. Thomas Brett in support of Plaintiff’s Reply in support

17    of Phase I Motion for Summary Judgment, including review and compilation of exhibits attached

18    thereto.

19            26.   I coordinated with Drev Hunt and Jason Flanders to develop a sample and inspection

20    plan for Plaintiff’s March 15, 2022, wet weather inspections at the Facility.

21            27.   I assisted in drafting a joint stipulation of facts and stipulation as to the authenticity

22    of certain documents prior to the Deposition of Defendant MEC’s chief financial officer Antonio

23    Velez.

24            28.   Following the commencement of Phase II of this case, and beginning in November

25    and December, 2023, I researched, analyzed, and summarized waste discharge requirements for

26    concentrated animal feeding operations in Region 2 as designated by the State Water Resources

27    Control Board, and also reviewed and analyzed the Stormwater Pollution Prevention Plans of

28
                                               5
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR          Document 189-10         Filed 04/18/25      Page 6 of 481


 1    various concentrated animal feeding operations (“CAFOs”), including equestrian center CAFOs,

 2    already enrolled in the Industrial General Permit.

 3          29.    I conducted research and analysis for, and assisted with drafting, Plaintiff’s

 4    Opposition to Defendant’s Motion to Defer or Stay Briefing on Phase One WOTUS Issues.

 5          30.    I conducted research and analysis for, and assisted with drafting, Plaintiff’s Notice of

 6    Supplemental Authority related to the United States Supreme Court’s decision in Sackett v.

 7    Environmental Protection Agency, 143 S.Ct. 1322 (2023) and Plaintiff’s supplemental briefing on

 8    the same.

 9          31.    I conducted research and analysis for, and assisted with drafting, Plaintiff’s

10    December 2023 Motion for Leave to Amend the Scheduling Order. Such motion was necessary

11    because Defendant refused to stipulate to Plaintiff’s proposed amendment.

12          32.    I assisted in drafting Plaintiff’s Phase II expert disclosures in January 2024.

13          33.    I conducted research and analysis for, and assisted with drafting, Plaintiff’s Motion

14    in limine to Exclude the Expert Testimony of Timothy Swickard in early 2024 and drafted Reply

15    in Support of the Same.

16          34.    In January 2024, I began to research into issues and claims that would eventually

17    form, in part, the basis of Plaintiff’s Motion for Leave to File a Third Amended Complaint,

18    including research into alter ego and piercing the corporate veil, the responsible corporate officer

19    doctrine.

20          35.    I assisted with drafting Plaintiff’s Motion for Leave to File Plaintiff’s Third

21    Amended Complaint and drafted the declaration of James Thomas Brett in support of the same. I

22    also drafted Plaintiff’s Reply in Support of its Motion for Leave to File the Third Amended

23    Complaint.

24          36.    I assisted with drafting Plaintiff’s Motion to Seal Plaintiff’s Motion for Leave to File

25    Plaintiff’s Third Amended Complaint and declaration of James Thomas Brett in support.

26          37.    In March 2024, I assisted with drafting Plaintiff’s 60-Day Notice of Intent to Sue

27    Carol Anderson Ward individually and as trustee of the Carol Anderson Ward Trust.

28
                                               6
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR          Document 189-10         Filed 04/18/25      Page 7 of 481


 1          38.     I conducted research and analysis for, and assisted with drafting, Plaintiff’s Phase II

 2    Motion for Summary Judgment and Reply starting in early 2024 and continuing until June 2024.

 3          39.     I conducted research and analysis for, and assisted with drafting, Plaintiff’s

 4    Statements of Undisputed Facts (SUF) in support of Plaintiff’s II Motion for Summary Judgment,

 5    including review, summary, and compilation of facts and evidence in support of the same.

 6          40.     I assisted with drafting the declarations of Jason Flanders in Support of Plaintiff’s

 7    Phase II Motion for Summary Judgment, including review and compilation of exhibits attached

 8    thereto.

 9          41.     I assisted with Jason Flander’s preparation for the hearing on Plaintiff’s Motion for

10    Leave to File Plaintiff’s Third Amended Complaint and Phase II Motion for Summary Judgment

11    by reviewing, analyzing, and distilling case law cited in those motions, Defendant’s oppositions,

12    and Plaintiff’s replies.

13          42.     I conducted research and analysis for, and assisted with drafting, Plaintiff’s

14    Supplemental Authority related to the United States Supreme Court’s decision in Loper Bright

15    Enterprises, et al. v. Raimondo, 144 S.Ct. 2244 (2024) (“Lopper Bright”).

16    Discovery

17          44.     I drafted over a dozen sets of written discovery, including Requests for Admission

18 (Sets 1 & 2), Requests for Production of Documents (Sets 1, & 3-9), and Interrogatories (Sets 2-4);

19 conducted review and analysis of documents produced by MEC in response to Plaintiff’s discovery

20 requests.

21          45.     I reviewed and analyzed MECs written responses and objections to Plaintiff’s written

22 discovery, and drafted meet and confer letters to MEC regarding the same.

23          46.     I reviewed and responded to a December 2021 claw back request by MEC.

24          47.     I drafted multiple FRCP 34 site inspection requests and assisted with drafting meet

25 and confer letters to opposing counsel regarding one of those requests, as well as joint statements

26 submitted to the court for informal dispute resolution regarding the same.

27

28
                                               7
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR         Document 189-10        Filed 04/18/25      Page 8 of 481


 1          48.    I drafted deposition notice(s) for various persons most knowledgeable and MEC’s

 2 retained expert Dr. Paulsen and assisted with preparation for the depositions of the same.

 3          49.    I drafted FRCP 45 subpoenas to various third parties, including managers of events

 4 held at MEC, Sacramento County Department of Water Resources, Rancho Murieta Community

 5 Servies District, the State Water Resources Control Board, and MEC’s stormwater quality

 6 consultant, Thunder Mountain.

 7          50.    I drafted FRCP 45 subpoenas to then-third parties Carol Anderson Ward

 8 individually, and Carol Anderson Ward as Trustee of the Carol Anderson Ward Trust (the Trust) to

 9 inspect portions of the Unnamed Stream outside of the bounds of MEC’s Facility but adjoining

10 other properties owned by the Trust, and conducted research in to service of the same; I worked

11 with Esmeralda Bustos to coordinate repeated service attempts of FRCP 45 subpoenas on the Trust

12 and Carol Anderson Ward, both in California and Texas.

13          51.    Subsequently, in February and March of 2024, I again drafted FRCP 45 subpoenas to

14 Carol Anderson Ward individually, and Carol Anderson Ward as Trustee of the Trust seeking to

15 depose Ms. Ward individually and/or in her capacity as trustee. I worked with Esmeralda Bustos to

16 coordinate repeated service attempts of FRCP 45 subpoenas on the Trust and Carol Anderson Ward,

17 both in California and Texas, and also drafted meet and confer correspondence to opposing counsel

18 regarding the same.

19          52.    I responded and objected to deposition notices served by MEC on Plaintiff’s retained

20 experts, including notices of Plaintiff’s retained experts, Ian Wren, Jonathan Shefftz, and Tim

21 Simpson.

22          53.    I contacted Plaintiff’s economic expert Jonathan Shefftz in November 2023 and

23 coordinated with him on the preparation of his expert report, including providing him with relevant

24 financial documents produced to Plaintiff in discovery by MEC.

25          54.    I conducted research into possible firms that could provide expert opinions as to the

26 construction of stormwater best management practices at the MEC Facility.

27

28
                                               8
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR           Document 189-10        Filed 04/18/25      Page 9 of 481


 1          55.     I coordinated with Plaintiff’s expert Tim Simpson on the preparation of his expert

 2 report, including the provision to him of relevant documents, including documents produced to

 3 Plaintiff in discovery by MEC.

 4          56.     I drafted the deposition notice for, and conducted the deposition of, MEC’s chief

 5 financial officer Antonio Velez.

 6          57.     In February and March 2024, I prepared for and defended the deposition of

 7 Plaintiff’s expert Jonathan Schefftz.

 8          58.     In February 2024, I assisted with coordinating the deposition of Tim Simpson and

 9 his preparation for the same.

10 Settlement

11          59.     In preparation for mediation between the parties, I worked with Jason Flanders to

12 draft settlement statements and mediation briefs in both late 2021 and mid-2022. This included

13 further research and articulation of legal agreements, including those regarding WOTUS and Article

14 III standing. I attended the 2021 settlement conference between the parties mediated by Magistrate

15 Judge Newman.

16          60.     In April and May 2024, and as part of continued settlement efforts between the

17 parties, I conducted research on applicable attorney rates in the Eastern District, reviewed Plaintiff’s

18 time entries to date, and provided counsel for MEC with Plaintiff’s total fees and costs incurred to

19 that point. As part of this work, I also assisted in drafting a fee demand letter to Defendant.

20          61.     Also, as part of settlement efforts between the Parties, I drafted a proposed Consent

21 Decree resolving the litigation to provide to MEC for consideration in May 2024.

22          62.     In all aspects of investigation, discovery, motion practice, and settlement

23 negotiations, I coordinated with J. Flanders and D. Hunt regarding litigation strategy, deadlines and

24 internal deliveries, and discovery strategy etc.; this included frequent teleconferences and emails

25 regarding the same, as well as the creation and/or maintenance of shared planning documents,

26 discovery plans, memoranda, and excel document(s) outlining facts and evidence in support of

27 Plaintiff’s claims.

28
                                               9
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
     Case 2:20-cv-01703-SCR        Document 189-10         Filed 04/18/25      Page 10 of 481


 1         63.     Counsel for the Alliance propounded and responded to over twenty different sets of

 2 discovery requests, reviewed approximately 122,000 pages of written production from MEC,

 3 thousands pages of materials produced by State and local government agencies pertaining the MEC

 4 Facility.

 5         64.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

 6 records that document the time that I spent on this case. I personally and contemporaneously kept

 7 these records using computer timekeeping software documenting the hours I worked on this case.

 8         I declare, under penalty of perjury under the laws of the United States that the foregoing is

 9 true and correct. Executed on the 7 of April 2025 in St. Paul, Minnesota.

10                                                       /s/    J. Thomas Brett
                                                                J. Thomas Brett
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                               10
      DECLARATION OF J. THOMAS BRETT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                             COSTS
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                              Page 11 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: research on sufficiency of service on defendant.




                   Murieta
                   Equestrian
  11/4/2020 CCKA   Center     Tom Brett                                                                                         0.2    $550.00            $110.00                                $0.00                                     0

                                          Review cases discussing what it means to be a general or managing
                                          agent pursuant to Federal Rule of Civil Procedure 4(h).




                   Murieta
                   Equestrian
  11/5/2020 CCKA   Center     Tom Brett                                                                                         1.3    $550.00            $715.00                                $0.00                                     0

                                          Continue research in to question of effect of service on Defendants'
                                          office coordinator; summarize and send to J. Flanders for review.




                   Murieta
                   Equestrian
  11/6/2020 CCKA   Center     Tom Brett                                                                                          2     $550.00           $1,100.00                               $0.00                                     0

                                          Draft Rule 34 site inspection request.




                   Murieta
                   Equestrian
   1/7/2021 CCKA   Center     Tom Brett                                                                                         0.7    $550.00            $385.00                                $0.00                                     0

                                          Review legal memo for claim against Murieta Equestrian Center;
                                          compare with cite map and storm water industrial routine facility
                                          inspection report in preparation for call with J. Flanders and Ian Wren re:
                                          site inspection.


                   Murieta
                   Equestrian
  2/26/2021 CCKA   Center     Tom Brett                                                                                         0.8    $550.00            $440.00                                $0.00                                     0

                                          Call with J Flanders and Ian Wren re: site visit and sampling plan for
                                          Murieta Equestrian Center.




                   Murieta
                   Equestrian
  2/26/2021 CCKA   Center     Tom Brett                                                                                         0.5    $550.00            $275.00                                $0.00                                     0




                                                                                                          Page 1 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 12 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate First Amended Complaint and Defendants' answer
                                          thereto in prep for call with J. Flanders and Ian Wren re: site inspection.




                   Murieta
                   Equestrian
  2/26/2021 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: Murieta Equestrian Center site
                                          inspection.




                   Murieta
                   Equestrian
  2/26/2021 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                      0

                                          Review defendants objections to rule 34 inspection request; send email
                                          to j Flanders re: availability to work on meet and confer letter responding
                                          to the objections.



                   Murieta
                   Equestrian
   3/1/2021 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Summarize local rules in eastern district of Cal. re: motions to compel
                                          discovery; email J. Flanders for review.




                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         0.4    $550.00             $0.00                            $220.00                                      0.4

                                          Call with J. Flanders re: next steps for meet and confer letter regarding
                                          rule 34 request.




                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft section in meet and confer letter addressing Defendant's
                                          "Response" to Rule 34 site inspection request.




                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         1.1    $550.00           $605.00                               $0.00                                      0




                                                                                                           Page 2 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                          Page 13 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft intro and legal background section to meet and confer letter re:
                                          Rule 34 site inspection.




                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft meet and confer letter responding to Defendant's response to Rule
                                          34 inspection request (draft section responding to defendants specific
                                          objections).



                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         1.0    $550.00           $550.00                               $0.00                                     0

                                          Make final revisions to meet and confer letter for Rule 34 inspection
                                          request and send to J. Flanders for review.




                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         0.8    $550.00           $440.00                               $0.00                                     0

                                          Annotate and review practice guide and Eastern District of California
                                          local rules re: rule 34 inspection requests.




                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0

                                          Review and annotate prior meet and confer letters / motions to compel
                                          re: site inspections in preparation for drafting meet and confer letter for
                                          site inspection at Murieta Equestrian Center.



                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft emails to M. Maclear and Ian Wren asking if they have a Certificate
                                          of Insurance Services Office Commercial General Liability Coverage
                                          (Occurrence Form CG 0001) to provide to defendant per defendant's
                                          objections to Rule 34 request.


                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                            Page 3 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 14 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft letter to Defendant Counsel requesting informal telephonic
                                          conference with court to resolve Rule 34 inspection dispute.




                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with E. Maharg re: site inspection at Murieta Equestrian Center.




                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                     0

                                          Revise letter proposing informal telephonic discovery conference; send
                                          to opposing counsel.




                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                     0

                                          Review and summarize Judge Barnes' standing orders re: discovery
                                          disputes; send to J. Flanders for review.




                   Murieta
                   Equestrian
   3/3/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Find all weather pen and clipboard for March 9 site inspection, purchase.




                   Murieta
                   Equestrian
   3/4/2021 CCKA   Center     Tom Brett                                                                                       0.2    $218.00            $43.60                               $0.00                                     0

                                          Meet and confer with opposing counsel Re: Rule 34 site inspection.




                   Murieta
                   Equestrian
   3/4/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                         Page 4 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                                Document 189-10                                                        Page 15 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Communicate with A. Barnes re: insurance certificate requested by
                                          defendants for site inspection.




                   Murieta
                   Equestrian
   3/4/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Follow up call with J. Flanders post-meet and confer with opposing
                                          counsel re: site inspection.




                   Murieta
                   Equestrian
   3/4/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Discuss with J. timing / location / logistics of site visit to Murieta
                                          Equestrian Center.




                   Murieta
                   Equestrian
   3/4/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and annotate summary of meet and confer re: inspection request
                                          sent from opposing counsel; compile materials necessary for site
                                          inspection (site maps, waiver, insurance certificate etc.); review site map
                                          and storm water inspection report.


                   Murieta
                   Equestrian
   3/7/2021 CCKA   Center     Tom Brett                                                                                         0.5    $550.00           $275.00                               $0.00                                      0

                                          Draft email to I. Wren and J. Flanders re: 3/9/2021 site visit to Murieta
                                          Equestrian Center; follow up with A. Barnes re: insurance certificate for
                                          site visit.



                   Murieta
                   Equestrian
   3/8/2021 CCKA   Center     Tom Brett                                                                                         0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Call with J. Flanders re: cancellation of site inspection; communicate with
                                          I. Wren re: the same.




                   Murieta
                   Equestrian
   3/8/2021 CCKA   Center     Tom Brett                                                                                         0.2    $550.00             $0.00                            $110.00                                      0.2




                                                                                                              Page 5 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                                Document 189-10                                                          Page 16 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with M. Wilcox re: cancellation of site visit.




                   Murieta
                   Equestrian
   3/8/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                       0

                                          Draft email to J. Flanders and I. Wren re: potential site inspection at
                                          Murieta Equestrian Center on 3/18/2020.




                   Murieta
                   Equestrian
  3/15/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00              $0.00                              $55.00                                       0.1

                                          Review certificates of insurance adding defendant as additional insured;
                                          send to opposing counsel ahead of site inspection.




                   Murieta
                   Equestrian
  3/16/2021 CCKA   Center     Tom Brett                                                                                         0.2    $550.00            $110.00                                $0.00                                       0

                                          Review site inspection plan prepared by I. Wren for 3.18.2021 inspection
                                          at Murieta Equestrian Center; edit plan to mark additional area of interest
                                          and send to J. Flanders and I. Wren for review.



                   Murieta
                   Equestrian
  3/17/2021 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                       0

                                          Commute to Murieta Equestrian Center from Berkeley for wet weather
                                          inspection.




                   Murieta
                   Equestrian
  3/18/2021 CCKA   Center     Tom Brett                                                                                         1.7    $550.00            $467.50                             $467.50                                      0.85

                                          Conduct wet weather inspection at Murieta Equestrian Center with I.
                                          Wren.




                   Murieta
                   Equestrian
  3/18/2021 CCKA   Center     Tom Brett                                                                                         3.1    $550.00           $1,705.00                               $0.00                                       0




                                                                                                           Page 6 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 17 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Commute from Murieta Equestrian Center to Berkeley after wet weather
                                          inspection.




                   Murieta
                   Equestrian
  3/19/2021 CCKA   Center     Tom Brett                                                                                    1.9    $550.00           $522.50                            $522.50                                      0.95

                                          Compile notes from 3.18 site inspection at Murieta Equestrian Center;
                                          create annotated map showing drop inlets, sample points, and other
                                          observations; summarize observations in word document; send to J.
                                          Flanders and E. Maharg for review.


                   Murieta
                   Equestrian
  3/19/2021 CCKA   Center     Tom Brett                                                                                    1.8    $550.00           $990.00                               $0.00                                       0

                                          Download and begin reviewing photos and video taken by I. Wren during
                                          Murieta Equestrian Center site inspection.




                   Murieta
                   Equestrian
  3/19/2021 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                       0

                                          Send email to J. Flanders and I. Wren re: sending opposing counsel
                                          photos and video from site visit; download photos to shared server.




                   Murieta
                   Equestrian
  3/19/2021 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                       0

                                          Discuss with I. Wren and J. Flanders re: follow-up on site inspection.




                   Murieta
                   Equestrian
  3/22/2021 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                       0

                                          Review annotated photos from I. Wren from site inspection at Murieta
                                          Equestrian Center; download from Dropbox and send to J. Flanders.




                   Murieta
                   Equestrian
  3/23/2021 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                       0




                                                                                                        Page 7 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 18 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Create shared box folder with photos and videos from 3.18 site
                                          inspection; send photos, videos, and sample results to opposing
                                          counsel; request the same from opposing counsel.



                   Murieta
                   Equestrian
  3/25/2021 CCKA   Center     Tom Brett                                                                                        0.5    $218.00           $109.00                               $0.00                                     0

                                          Draft email to J. Flanders re: providing photos and video from site
                                          inspection to opposing counsel.




                   Murieta
                   Equestrian
  3/25/2021 CCKA   Center     Tom Brett                                                                                        0.3    $218.00            $65.40                               $0.00                                     0

                                          Review sample results from 3.18 site visit; email J. Flanders re: the
                                          same.




                   Murieta
                   Equestrian
  3/25/2021 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft table comparing results of samples taken during site inspection with
                                          Numeric Action Level and Water Quality objectives for fecal coliform;
                                          research Water Quality objective for fecal coliform for Cosumnes River.



                   Murieta
                   Equestrian
  3/26/2021 CCKA   Center     Tom Brett                                                                                        0.7    $550.00           $385.00                               $0.00                                     0

                                          Annotate and review opposing counsel meet and confer letter re:
                                          Plaintiff's response to Defendant's request for production of documents.




                   Murieta
                   Equestrian
  3/29/2021 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders to discuss issue of opposing counsel's refusal to
                                          produce photos and video of site inspection in preparation for meet and
                                          confer with opposing counsel.



                   Murieta
                   Equestrian
   4/6/2021 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 8 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 19 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: waters of the United States research.




                   Murieta
                   Equestrian
  5/10/2021 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Investigate Army Corps of Engineers GIS permit data base to identify
                                          any permits issues or jurisdictional determinations near to the facility.




                   Murieta
                   Equestrian
  5/11/2021 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Utilize Sacramento County liner hydrology GIS map to identify creek into
                                          which Murieta Equestrian Center discharges; cross reference with
                                          litigation memo and notes from site inspection to confirm path of water
                                          flow.


                   Murieta
                   Equestrian
  5/19/2021 CCKA   Center     Tom Brett                                                                                       1.0    $550.00           $550.00                               $0.00                                     0

                                          Review and annotate U.S. Environmental Protection Agency documents
                                          re: Trump waters of the United States rule.




                   Murieta
                   Equestrian
  5/19/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Summarize findings re: discharges of Facility into creek and pathway of
                                          water from the Facility to Cosumnes River.




                   Murieta
                   Equestrian
  5/19/2021 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review documents produced by Rancho Murieta Community Services
                                          District pursuant to California Coastkeeper Alliance Public Records Act
                                          request.



                   Murieta
                   Equestrian
  5/19/2021 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                            Page 9 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 20 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate 85 Fed. Reg. 22250 re: navigable waters rule;
                                          summarize for waters of the United States memo.




                   Murieta
                   Equestrian
  5/20/2021 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft email to J. Flanders re: progress on waters of the United States
                                          and receiving water research.




                   Murieta
                   Equestrian
  5/20/2021 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and annotate 85 Fed. Reg. 22250 re: navigable waters rule as
                                          part of waters of the United States research.




                   Murieta
                   Equestrian
  5/21/2021 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                     0

                                          Summarize and annotate regulatory text of navigable waters rule at 33
                                          C.F.R. 328.3 et seq; draft legal background section for memo analyzing
                                          waters of the United States question for unnamed creek adjacent to
                                          facility.


                   Murieta
                   Equestrian
  5/21/2021 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                     0

                                          Complete outline of legal background section of memo re: navigable
                                          water rule (33 C.F.R. 328.3) to analyze which receiving waters
                                          constitutes waters of the United States under that rule.



                   Murieta
                   Equestrian
  5/22/2021 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and summarize caselaw discussing whether Navigable Waters
                                          Protection Rule applies retroactively to pre-promulgation conduct.




                   Murieta
                   Equestrian
  5/22/2021 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 10 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 21 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft legal background section for memo analyzing application of
                                          navigable waters protection rule (33 C.F.R. 328.3 et seq) to the present
                                          action.



                   Murieta
                   Equestrian
  5/23/2021 CCKA   Center     Tom Brett                                                                                      1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft memo analyzing whether unnamed creek adjacent to Facility is
                                          waters of the United States per the navigable waters protection rule;
                                          draft section re: US Supreme Court Decision in County of Maui.



                   Murieta
                   Equestrian
  5/24/2021 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Review document production from defendants; identify / index
                                          documents relevant to defendant's discharges to creek along south
                                          boundary of the property.



                   Murieta
                   Equestrian
  5/24/2021 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Revise section in memo on navigable waters protection rule re:
                                          retroactive effect of the new rule.




                   Murieta
                   Equestrian
  5/24/2021 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Discuss with J. Flanders re: memo applying navigable waters protection
                                          rule to Murieta Equestrian Center Facility and remaining questions.




                   Murieta
                   Equestrian
  5/24/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Complete review and index of Defendant's most recent document
                                          production; send to J. Flanders for review.




                   Murieta
                   Equestrian
  5/25/2021 CCKA   Center     Tom Brett                                                                                      1.1    $218.00           $239.80                               $0.00                                     0




                                                                                                       Page 11 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 22 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft facility and receiving water background sections in memo re: status
                                          of receiving waters as waters of the United States per the navigable
                                          waters protection rule.



                   Murieta
                   Equestrian
  5/25/2021 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00                               $0.00                                     0

                                          Draft application section of memo re: navigable waters protection rule
                                          and application to Murieta Equestrian Center action; review Cosumnes
                                          Irrigation Association Ditch operation manual to confirm whether creek
                                          into which the facility discharges is waters of the United States.


                   Murieta
                   Equestrian
  5/25/2021 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00                               $0.00                                     0

                                          Annotate and summarize flow of creeks and diversions per Cosumnes
                                          Irrigation Association ditch operations and maintenance manual.




                   Murieta
                   Equestrian
  5/25/2021 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0

                                          Begin outlining additional section to memo applying navigable waters rule
                                          to creek behind Murieta Equestrian Center re: status of waters assuming
                                          they originate from Laguna Joaquin.



                   Murieta
                   Equestrian
  5/26/2021 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise description of receiving waters / unnamed creek system to the
                                          south of the facility in memo analyzing applicability of navigable waters
                                          protection rule to Murieta Equestrian Center receiving waters.



                   Murieta
                   Equestrian
  5/26/2021 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Outline additional sections analyzing whether unnamed creek behind
                                          facility is a water of the United States per the Navigable Water Protection
                                          Rule.



                   Murieta
                   Equestrian
  5/27/2021 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                         Page 12 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                                Document 189-10                                                      Page 23 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Locate analytical sample results for March 18 site visit and upload to
                                          shared folder.




                   Murieta
                   Equestrian
  7/16/2021 CCKA   Center     Tom Brett                                                                                       0.2    $218.00            $43.60                               $0.00                                     0

                                          Revise memo re: receiving waters behind facility; send to J. Flanders for
                                          review.




                   Murieta
                   Equestrian
   9/5/2021 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft settlement statement: factual background and claims section.




                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     Tom Brett                                                                                       1.0    $550.00           $550.00                               $0.00                                     0

                                          Redline and revise draft settlement statement.




                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: drafting mediation brief.




                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and revise current draft settlement statement.




                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                        Page 13 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                      Page 24 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review Magistrate Judge's standing order re: settlement conference and
                                          statement.




                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: drafting consent decree.




                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft settlement statement section outlining claims against defendant.




                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center     Tom Brett                                                                                      1.5    $550.00           $825.00                               $0.00                                     0

                                          Continue to revise settlement statement draft; locate case law and prior
                                          briefing re: waters of the United States and standing.




                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center     Tom Brett                                                                                      1.0    $550.00           $550.00                               $0.00                                     0

                                          Review and annotate case law re: status of tributaries as waters of the
                                          United States.




                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: settlement statement.




                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 14 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 25 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate case law re: validity of indemnification agreements
                                          for violations of law and duty to defend in actions for civil penalties.




                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Tom Brett                                                                                        0.9    $550.00            $495.00                                $0.00                                     0

                                          Draft section in settlement statement analyzing status of unnamed creek
                                          as waters of the united states.




                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Tom Brett                                                                                        1.9    $550.00           $1,045.00                               $0.00                                     0

                                          Revise sections re: discovery to date, factual background, and standing
                                          sections in settlement statement.




                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Tom Brett                                                                                        1.2    $550.00            $660.00                                $0.00                                     0

                                          Draft section in settlement statement discussing effect of repeal of
                                          navigable waters protection rule.




                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Tom Brett                                                                                        0.4    $550.00            $220.00                                $0.00                                     0

                                          Summarize case law re: validity of indemnification agreements for
                                          violations of law and duty to defend in actions for civil penalties.




                   Murieta
                   Equestrian
 11/12/2021 CCKA   Center     Tom Brett                                                                                        0.5    $550.00            $275.00                                $0.00                                     0

                                          Review and annotate First Amended Complaint and defendants’
                                          insurance policy in prep for drafting settlement statement re: defendant’s
                                          insurance coverage.



                   Murieta
                   Equestrian
 11/13/2021 CCKA   Center     Tom Brett                                                                                        0.8    $550.00            $440.00                                $0.00                                     0




                                                                                                         Page 15 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 26 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and summarize case law re: validity of indemnification
                                          agreements for violations of law and duty to defend in actions for civil
                                          penalties.



                   Murieta
                   Equestrian
 11/13/2021 CCKA   Center     Tom Brett                                                                                      0.3    $550.00            $165.00                                $0.00                                     0

                                          Review and annotate defendants’ insurance policy in preparation for
                                          drafting settlement statement re: defendant’s insurance coverage.




                   Murieta
                   Equestrian
 11/14/2021 CCKA   Center     Tom Brett                                                                                      1.2    $550.00            $660.00                                $0.00                                     0

                                          Email J. Flanders re: summary of defendant’s insurance policy.




                   Murieta
                   Equestrian
 11/14/2021 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $110.00                                $0.00                                     0

                                          Draft section in settlement statement re: impediments to settlement
                                          posed by Defendant's insurance policy.




                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Tom Brett                                                                                      2.1    $550.00           $1,155.00                               $0.00                                     0

                                          Continue to review and annotate defendant's insurance policy.




                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Tom Brett                                                                                      1.0    $550.00            $550.00                                $0.00                                     0

                                          Call with J. Flanders re: settlement statement section re: insurance and
                                          impediments to settlement.




                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                         Page 16 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 27 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise standing section in settlement statement.




                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Call with J. Flanders re: settlement statement.




                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and revise draft settlement statement section on factual and
                                          legal background.




                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Research and annotate case law for inclusion in settlement statement re:
                                          rejecting causation argument of defendants in Clean Water Act cases
                                          claiming that third party pollution defeats causation for standing
                                          purposes.


                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Research and summarize case law re: injury in fact resulting from failure
                                          of defendant to comply with Clean Water Act reporting and monitoring
                                          requirements.



                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                       1.8    $550.00           $990.00                               $0.00                                     0

                                          Draft and revise settlement statement section re: standing and
                                          causation.




                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                       1.7    $550.00           $935.00                               $0.00                                     0




                                                                                                       Page 17 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 28 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate decision discussing informational injury in Clean
                                          Water Act action.




                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and annotate waters of the United States memo prepared by I.
                                          Wren.




                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                      0

                                          Draft and revise settlement statement section re: standing.




                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: settlement statement draft.




                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft section in settlement statement responding to anticipated argument
                                          from defendant that it is covered by one of the CWA's agricultural
                                          exemption.



                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                      0

                                          Revise and redline settlement statement.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                      0.9    $550.00             $0.00                            $495.00                                      0.9




                                                                                                        Page 18 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                           EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                          Page 29 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise comments and annotations in draft settlement statement and
                                          waters of the United States memo prepared by I. Wren; send annotated
                                          waters of the United States memo to J. Flanders.



                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                          0.6    $550.00             $0.00                            $330.00                                      0.6

                                          Revise section in settlement statement re: waters of the united states
                                          analysis based on I. Wren memo.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                          1.5    $550.00           $825.00                               $0.00                                      0

                                          Draft standing section re: informational injury to plaintiffs.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                          1.2    $550.00           $660.00                               $0.00                                      0

                                          Call with J. Flanders re: settlement statement.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00                               $0.00                                      0

                                          Complete review and annotation of I. Wren waters of the United States
                                          memo.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise section re: traceability of plaintiff's harm to defendants conduct in
                                          settlement statement.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                            Page 19 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 30 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: mediation brief.




                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Complete revisions to draft settlement statement.




                   Murieta
                   Equestrian
 11/18/2021 CCKA   Center     Tom Brett                                                                                      0.9    $550.00             $0.00                            $495.00                                      0.9

                                          Incorporate redlines and revisions into settlement statement draft; send
                                          to J. Flanders for review.




                   Murieta
                   Equestrian
 11/18/2021 CCKA   Center     Tom Brett                                                                                      0.8    $550.00             $0.00                            $440.00                                      0.8

                                          Call with J. Flanders re: settlement conference prep.




                   Murieta
                   Equestrian
 11/29/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders, S. Bothwell, D. Hunt et al. re: preparation for
                                          settlement conference.




                   Murieta
                   Equestrian
 11/30/2021 CCKA   Center     Tom Brett                                                                                      0.5    $550.00             $0.00                            $275.00                                      0.5

                                          Review settlement statement in preparation for call with client re:
                                          settlement conference and in preparation for settlement conference.




                   Murieta
                   Equestrian
 11/30/2021 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                          Page 20 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 31 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review Sacramento County assessor's data base / map service to
                                          attempt to determine ownership of parcel south of facility.




                   Murieta
                   Equestrian
 11/30/2021 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Review 60-day notice and summarize whether the letter puts defendants
                                          on notice of potential violations at adjacent parcels.




                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                       0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Mid-morning (second and third) breakout sessions with judge during
                                          settlement statement.




                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                       1.2    $550.00             $0.00                            $660.00                                      1.2

                                          Follow up meeting with clients (S. Bothwell and D. Hunt) following
                                          settlement conference and discussing next steps.




                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                       1.2    $550.00             $0.00                            $660.00                                      1.2

                                          Attend settlement conference; shepardize Concentrated Animal Feeding
                                          Operation regulations for cases interpreting County of Maui decision, and
                                          shepardize county of Maui decision to decisions dealing with
                                          Concentrated Animal Feeding Operation Clean Water Act actions; review
                                          and annotate Defendant's settlement statement.

                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                       1.0    $550.00             $0.00                            $550.00                                       1

                                          Attend morning breakout session with magistrate judge for settlement
                                          conference; short de-brief with clients post break out session.




                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                       0.8    $550.00             $0.00                            $440.00                                      0.8




                                                                                                       Page 21 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                           Page 32 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Research ownership of parcels adjacent to Murieta Equestrian Center
                                          facility, send to J. Flanders for review.




                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                      0

                                          Access SMARTS to locate Rancho Murieta CSD annual reports.




                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: next priorities for case (creating claim chart and
                                          addressing Defendants' attempt to claw back claimed work product)




                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and summarize cases discussing requisite knowledge of facility
                                          prior to filing suit in order to establish standing.




                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00                               $0.00                                      0

                                          Review and summarize case law re: attorney work product and claw
                                          back motions.




                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                          1.0    $550.00           $550.00                               $0.00                                      0

                                          Call with J. Flanders re: Defendant's claw back motion




                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00                               $0.00                                      0




                                                                                                          Page 22 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 33 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate case law re: waiver of privilege in context of claw
                                          back motion




                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                      0

                                          Review and annotate Rancho Murieta CSD reports for Jan and April
                                          2021 for the Facility.




                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Review emails from D. Hunt re: updated Rancho Murieta CSD inspection
                                          reports and CSD vicinity maps; upload the same, as well as draft
                                          Bothwell standing declaration and defendant's settlement statement, to
                                          shared.


                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders. D. Hunt, and I. Wren re: waters of the United
                                          States analysis




                   Murieta
                   Equestrian
  12/3/2021 CCKA   Center     Tom Brett                                                                                     1.0    $550.00             $0.00                            $550.00                                       1

                                          Review and summarize case law discussion application of attorney work
                                          product privilege to compilations of non-privileged documents.




                   Murieta
                   Equestrian
  12/3/2021 CCKA   Center     Tom Brett                                                                                     0.5    $550.00             $0.00                            $275.00                                      0.5

                                          Continue to summarize case law discussing waiver of privilege; apply to
                                          facts of case.




                   Murieta
                   Equestrian
  12/3/2021 CCKA   Center     Tom Brett                                                                                     1.1    $550.00           $605.00                               $0.00                                      0




                                                                                                        Page 23 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 34 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Summarize case law discussing waiver of claims privilege; apply to facts
                                          of case.




                   Murieta
                   Equestrian
  12/3/2021 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                      0

                                          Review I. Wren waters of the United States analysis memo in prep for
                                          call.




                   Murieta
                   Equestrian
  12/3/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and annotate prior meet and confer letters, requests for
                                          production of document, and case summaries in prep for outlining memo
                                          on defendant's waiver of privilege.



                   Murieta
                   Equestrian
  12/5/2021 CCKA   Center     Tom Brett                                                                                      0.6    $550.00             $0.00                            $330.00                                      0.6

                                          Begin to outline memo re: defendants claims of privilege and claw back
                                          request for DOC-00001.




                   Murieta
                   Equestrian
  12/6/2021 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: opposing counsel's clawback request and claims
                                          of privilege




                   Murieta
                   Equestrian
  12/6/2021 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and annotate case law discussing scope of work product
                                          doctrine




                   Murieta
                   Equestrian
  12/7/2021 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                      Page 24 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                              Page 35 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft clawback letter; legal background and application
                                          sections.




                   Murieta
                   Equestrian
  12/8/2021 CCKA   Center     Tom Brett                                                                                         1.1    $550.00            $605.00                                $0.00                                     0

                                          Outline letter to opposing counsel re: clawback request.




                   Murieta
                   Equestrian
  12/8/2021 CCKA   Center     Tom Brett                                                                                         1.0    $550.00            $550.00                                $0.00                                     0

                                          Draft procedural background and first portion of legal background in letter
                                          to opposing counsel re: clawback request.




                   Murieta
                   Equestrian
  12/8/2021 CCKA   Center     Tom Brett                                                                                         0.9    $550.00            $495.00                                $0.00                                     0

                                          Research case law discussing waiver of work product privilege by virtue
                                          of redacting portions of a privileged document, but not others.
                                          Incorporate into letter to opposing counsel re: claw back.



                   Murieta
                   Equestrian
  12/9/2021 CCKA   Center     Tom Brett                                                                                         2.1    $550.00           $1,155.00                               $0.00                                     0

                                          Draft argument / application section of letter re: clawback request;
                                          conduct additional research into burden of proof vis-a-vis waiver of
                                          privilege claims and incorporate into letter.



                   Murieta
                   Equestrian
  12/9/2021 CCKA   Center     Tom Brett                                                                                         1.4    $550.00            $770.00                                $0.00                                     0

                                          Review and revise letter to opposing counsel re: clawback of
                                          DOC000001




                   Murieta
                   Equestrian
  12/9/2021 CCKA   Center     Tom Brett                                                                                         0.4    $550.00            $220.00                                $0.00                                     0




                                                                                                         Page 25 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                          Page 36 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Compile maps of parcels adjacent to the unnamed stream and
                                          Cosumnes River from Murieta Equestrian Center facility to Dillard Rd.
                                          Bridge; identify owner information for each parcel.



                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                          1.0    $550.00           $550.00                               $0.00                                     0

                                          Revise letter to opposing counsel re: clawback request.




                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and annotate Defendant's responses to interrogatories; add to
                                          draft list of stipulated facts prepared by J. Flanders to provide to
                                          opposing counsel on Monday.



                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00                               $0.00                                     0

                                          Review assessor parcel view and draft inquiry to assessor's office re:
                                          ownership information for parcels from the facility to the confluence of the
                                          river, to the Dillard Rd. Bridge; send inquiry to assessor's office.



                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for drafting fact chart and list of
                                          stipulated facts.




                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise draft stipulated facts and send to J. Flanders for review.




                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                            Page 26 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                             Page 37 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Send email to J. Flanders and D. Hunt re: findings with regard to
                                          ownership of parcels adjacent to unnamed stream and river until Dillard
                                          Rd. Bridge.



                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and annotate Defendant's responses to requests for productions
                                          in prep for revising list of stipulated facts to propose to opposing counsel.




                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and revise letter to opposing counsel re: clawback; email J.
                                          Flanders re: the same.




                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                     0

                                          Review assessor's map and contact assessor's office to determine
                                          ownership of the property where the Facility is located as well as
                                          ownership over pathway used by Sean and others at California
                                          Coastkeeper Alliance to access the creek.


                   Murieta
                   Equestrian
 12/13/2021 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                     0

                                          With reference to settlement statement, draft fact chart.




                   Murieta
                   Equestrian
 12/13/2021 CCKA   Center     Tom Brett                                                                                           1.8    $550.00           $990.00                               $0.00                                     0

                                          Revise fact chart; send draft to J. Flanders for review.




                   Murieta
                   Equestrian
 12/13/2021 CCKA   Center     Tom Brett                                                                                           1.1    $550.00           $605.00                               $0.00                                     0




                                                                                                          Page 27 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 38 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft legal argument section of opposition to defendants' cert petition.




                   Murieta
                   Equestrian
 12/13/2021 CCKA   Center     Tom Brett                                                                                        0.7    $550.00           $385.00                               $0.00                                     0

                                          Email D. Hunt re: ownership of parcels along unnamed creek and
                                          Cosumnes river.




                   Murieta
                   Equestrian
 12/13/2021 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Research cases discussing requirement that Plaintiff have knowledge of
                                          defendants' unlawful conduct to establish standing.




                   Murieta
                   Equestrian
 12/15/2021 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Review requests for production responses from opposing counsel, and
                                          document production on Everlaw to attempt to determine when
                                          DOC000001 was produced; communicate with J. Flanders re: the same.



                   Murieta
                   Equestrian
 12/20/2021 CCKA   Center     Tom Brett                                                                                        0.7    $550.00           $385.00                               $0.00                                     0

                                          Draft email to opposing counsel attaching meet and confer letter re:
                                          defendant's claw back request; convert letter to pdf; make final revisions
                                          to letter.



                   Murieta
                   Equestrian
 12/20/2021 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise meet and confer letter to opposing counsel re: defendant's claw
                                          back request.




                   Murieta
                   Equestrian
 12/20/2021 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                         Page 28 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 39 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: next steps and plan for briefing standing
                                          arguments.




                   Murieta
                   Equestrian
   1/5/2022 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                     0

                                          Review and annotate case law discussing informational standing.




                   Murieta
                   Equestrian
   1/6/2022 CCKA   Center     Tom Brett                                                                                     0.9    $550.00           $495.00                               $0.00                                     0

                                          Review and annotate case law re: info standing and relation to
                                          organizational standing




                   Murieta
                   Equestrian
   1/7/2022 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $330.00                               $0.00                                     0

                                          Research case law discussing requirements for informational standing.




                   Murieta
                   Equestrian
   1/7/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Continue to review and annotate case law discussing informational
                                          standing requirement




                   Murieta
                   Equestrian
  1/11/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Email J. Flanders re: timeline for completing Murieta Equestrian Center
                                          informational standing research / memo.




                   Murieta
                   Equestrian
  1/12/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 29 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 40 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: research on information standing requirements,
                                          send J. Flanders case law re: the same.




                   Murieta
                   Equestrian
  1/18/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Summarize research into informational standing / injury in the context of
                                          associational standing.




                   Murieta
                   Equestrian
  1/20/2022 CCKA   Center     Tom Brett                                                                                         0.9    $550.00           $495.00                               $0.00                                     0

                                          Call with J. Flanders, D. Hunt, and J. Flanders re: informational standing.




                   Murieta
                   Equestrian
  1/20/2022 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0

                                          Research case law on organizational standing based on informational
                                          injury.




                   Murieta
                   Equestrian
  1/20/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: informational injury research next steps.




                   Murieta
                   Equestrian
  1/20/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: research into organizational standing based on
                                          informational injury.




                   Murieta
                   Equestrian
  1/20/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 30 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 41 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise notes from call with D. Hunt and J. Flanders re: informational
                                          standing and send to J. Flanders.




                   Murieta
                   Equestrian
  1/24/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Calls with J. Flanders re: waters of the United States research.




                   Murieta
                   Equestrian
   2/3/2022 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and annotate I. Wren waters of the United States memo; outline
                                          questions for call with client, J. Flanders, and I Wren.




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                    0.5    $550.00             $0.00                            $275.00                                      0.5

                                          Begin outlining and drafting subpoena to Carol Anderson Ward Trust for
                                          inspection of property.




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                    0.4    $550.00             $0.00                            $220.00                                      0.4

                                          Call with D. Hunt and J. Flanders re: waters of the United States
                                          research




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                    1.2    $550.00           $605.00                             $55.00                                      0.1

                                          Review Murieta Equestrian Center fact chart, and compare with Rapanos
                                          opinion by Scalia




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                    1.1    $550.00           $605.00                               $0.00                                      0




                                                                                                        Page 31 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                         Page 42 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft Subpoena to Carol A. Ward Trust for the inspection of premises;
                                          send to J. Flanders for review.




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft notice of subpoena to Carol Anderson Ward Trust; research
                                          additional identifying information re: the trust.




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: waters of the United States research question /
                                          fact-chart in prep for 3:00 call.




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: tasks assigned for further
                                          factual work-up on waters of the United States question.




                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft requests for admission set two; send to J. Flanders for review.




                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for service of additional third-party
                                          subpoenas, requests for production and requests for admission.




                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                           Page 32 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 43 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with M. Maclear re: service on trust




                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Outline next steps for serving subpoena on Anderson Ward Trust,
                                          drafting requests for production and letter to opposing counsel re: duty to
                                          supplement.



                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Review practice guide re: requirements for service of subpoena and
                                          communicate with J. Flanders re: the same.




                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review requests for production served to date; research duty on
                                          defendant to supplement production.




                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review requests for production propounded on defendants to date




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft requests for production set three.




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                        Page 33 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                            Page 44 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Contact assessor's office to obtain parcel ownership information;
                                          research county recorders office data base for information on trust and
                                          possible grant deeds for properties near Facility.



                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft letter to opposing counsel re: defendant's duty to supplement
                                          discovery production; send to J. Flanders for review.




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for completing subpoena on
                                          Anderson Ward trust; requests for production; and letter to opposing
                                          counsel re: duty to supplement



                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise requests for admission set two




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with Second Amended Complaint County Recorder's office re:
                                          certified copy of grant deed for parcels adjacent to and/or nearby facility.




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Review J. Flanders correspondence with U.S. Army Corps of Engineers
                                          re: Touhy records request process; draft email t J. Flanders re: the
                                          same.



                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 34 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 45 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: subpoena for service on carol Anderson.




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Revise subpoena for inspection of premises for service on carol
                                          Anderson.




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Email J. Flanders drafts of requests for production (set three) and
                                          requests for admission (set two) for review.




                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Resolve comments by D. Hunt in draft subpoena for service on Carol
                                          Anderson Ward Trust for site inspection.




                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Begin drafting Touhy letter to army corps of engineers as part of
                                          subpoena of records.




                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                      0

                                          Attempt to find personal address of Carol Anderson Ward for service of
                                          subpoena




                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                        Page 35 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 46 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: next round of discovery to serve on defendant.




                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to subpoena on Carol Anderson Ward
                                          for inspection of premises.




                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          call with T. Trillo re: service of requests for admission and requests for
                                          production




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00            $0.00                            $110.00                                      0.2

                                          Calls with T. Trillo re: revisions to and service of discovery devices on
                                          third parties and defendants




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00            $0.00                            $110.00                                      0.2

                                          Call with T. Trillo re: service of additional discovery on defendant and
                                          third party.




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with T. Trillo re: subpoena to water resources control board.




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                          Page 36 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                        Page 47 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Make final revisions to Touhy request and send to J. Flanders for review.




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Revise requests for production set three and requests for admission set
                                          one




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Complete revisions to requests for production and requests for
                                          admission.




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with T. Trillo re: service of discovery devices today.




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Make final revisions to Carol Anderson Ward Trust Subpoena




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Calls with T. Trillo re: Touhy letter to U.S. Army Corps of Engineers




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 37 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 48 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Make final revisions to subpoenas to Rancho Murieta Community
                                          Services District and SWRCB




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and organize in firm communication re: discovery into
                                          correspondence file




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise letter to opposing counsel re: duty to supplement




                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and organize in-firm and client communications into
                                          correspondence file re: third party discovery (subpoenas), opposing
                                          party discovery, fact development (wotus question)



                   Murieta
                   Equestrian
  2/12/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: third party subpoena for service on Second
                                          Amended Complaint county and Rancho Murieta; review J. Flanders
                                          email to Central valley water board rep re: document request.



                   Murieta
                   Equestrian
  2/14/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Rancho Murieta planning documents and
                                          Sacramento County general plan in prep for drafting subpoena.




                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett                                                                                       1.1    $550.00           $605.00                               $0.00                                     0




                                                                                                       Page 38 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 49 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Begin drafting subpoena to Sacramento County




                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $330.00                               $0.00                                      0

                                          Call with J. Flanders re: service of subpoena on Sacramento County and
                                          Rancho Murieta




                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00            $55.00                            $110.00                                      0.2

                                          Review email notice from process server re: service of subpoena on
                                          carol Anderson; email J. Flanders and call with T. Trillo re: the same.




                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Calls with J. Flanders and M. Maclear re: subpoena for service on
                                          Second Amended Complaint county




                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Calls with T. Trillo re: subpoena for service on county.




                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Complete revisions to attachment A to subpoena to Second Amended
                                          Complaint county for documents re: Rancho Murieta and Laguna
                                          Joaquin



                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center     Tom Brett                                                                                     0.8    $550.00           $440.00                               $0.00                                      0




                                                                                                         Page 39 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 50 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Make final revisions to Sacramento County Subpoena and supporting
                                          documents; email to J. Flanders re: the same.




                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and annotate Rancho Murieta Community Services District
                                          memo on Laguna Joaquin operation and water rights decision for laguna
                                          and unnamed stream



                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: subpoena on Sacramento coutny.




                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to draft subpoenas for Sacramento department of water
                                          resources and office of planning and environmental review.




                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Review prior CEQA documents from Rancho Murieta to identify proper
                                          recipient of subpoenas; call with T. Trillo re: the same (.1)




                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Review subpoenas for Sacramento County; call with T. trillo re: the same
                                          (.1)




                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                      Page 40 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 51 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Communicate with J. Flanders and E. Maharg re: division of work for
                                          standing / waters of the United States / discharge research




                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with T. Trillo re: service of subpoena's on Sacramento County
                                          departments.




                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft Rule 34 inspection request and research case law re:
                                          appropriateness of multiple inspections.




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                      0

                                          Review and annotate case law re: waters of the United States status of
                                          man made waterway




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                      0

                                          Research case law re: status of artificial / man-made waterways as
                                          waters of the United States




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: drafting statement of undisputed facts and next
                                          steps for waters of the United States and discharge research.




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $55.00                             $55.00                                      0.1




                                                                                                        Page 41 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                                 Document 189-10                                                  Page 52 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email U.S. Army Corps of Engineers re: pending Touhy request.




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. re: draft of Rule 34 inspection request




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Create account with Sacramento public records office to access
                                          documents (yet to be produced) pursuant to subpoena.




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with T. Trillo re: notice of association draft.




                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Summarize case law holding man-made conveyances are waters of the
                                          United States




                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center     Tom Brett                                                                                    1.0    $550.00           $550.00                               $0.00                                     0

                                          Review and annotate case law re: intermittent streams as waters of the
                                          United States




                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                      Page 42 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 53 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: Second Amended Complaint County
                                          S\subpoena; facility inspection; and next steps for discussions with re:
                                          Ian Wren waters of the United States memo



                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Email Sacramento County re: subpoenas for documents.




                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and organize communications with Sacramento county re:
                                          subpoenas into correspondence file.




                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise Rule 34 site inspection request; call with T. Trillo re: the same.




                   Murieta
                   Equestrian
  2/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate I. Wren waters of the United States memo; email J.
                                          Flanders and D. Hunt the same plus updated fact chart.




                   Murieta
                   Equestrian
  2/28/2022 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                     0

                                          Revise fact chart.




                   Murieta
                   Equestrian
  2/28/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                         Page 43 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 54 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise and add to fact chart (add arguments / facts and
                                          evidence going to Rapanos plurality opinion),




                   Murieta
                   Equestrian
  2/28/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders re: I. Wren waters of the United States memo and in
                                          prep for call tomorrow with D. Hunt.




                   Murieta
                   Equestrian
  2/28/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Meeting with J. Flanders and D. Hunt re: next steps for I. Wren expert
                                          memo




                   Murieta
                   Equestrian
   3/1/2022 CCKA   Center     Tom Brett                                                                                       1.3    $550.00             $0.00                            $715.00                                      1.3

                                          Review I. Wren waters of the United States memo; call with J. Flanders
                                          re: the same.




                   Murieta
                   Equestrian
   3/1/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                      0

                                          Organize communications with army corps of engineers re: Touhy
                                          request into correspondence folder.




                   Murieta
                   Equestrian
   3/1/2022 CCKA   Center     Tom Brett                                                                                       0.1    $218.00            $21.80                               $0.00                                      0

                                          Call with J. Flanders re: expert report




                   Murieta
                   Equestrian
   3/1/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                       Page 44 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 55 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Complete draft outline of I. Wren expert report; call with J. Flanders re:
                                          the same




                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Tom Brett                                                                                        1.1    $550.00           $605.00                               $0.00                                     0

                                          Call with J. Flanders re: draft Motion for Summary Judgment outline and
                                          I. Wren report outline.




                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft point heading outline for motion for summary judgment on the issue
                                          of waters of the United States.




                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Call with E. Maharg and J. Flanders re: traceability arguments




                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Review and annotate 2008 U.S. Environmental Protection Agency
                                          guidance on waters of the United States.




                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft section in Motion for Summary Judgment outline re: U.S.
                                          Environmental Protection Agency guidance.




                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                          Page 45 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 56 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise outline to I. Wren expert report.




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       2.1    $550.00           $1,155.00                               $0.00                                      0

                                          Email J. Flanders and D. Hunt re: draft outline of I. Wren expert report.




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0

                                          Review and analyze memo re: required disclosures and discoverable
                                          materials from retained experts.




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00              $0.00                             $165.00                                      0.3

                                          Begin drafting tag tree for document review




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       0.9    $550.00            $495.00                                $0.00                                      0

                                          Call with JRR re: Ian Wren expert report revisions.




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                      0

                                          Access and upload regional water board responses to subpoena.




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                      0




                                                                                                         Page 46 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 57 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Communicate with firm re: service of subpoena on Carol Anderson
                                          Ward.




                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center     Tom Brett                                                                                       0.1    $218.00            $21.80                               $0.00                                     0

                                          Continue to draft tag tree.




                   Murieta
                   Equestrian
   3/4/2022 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                     0

                                          Call with J. Flanders re: possible sampling at Cosumnes River and
                                          Unnamed Stream, and tag tree draft.




                   Murieta
                   Equestrian
   3/4/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review drone footage of unnamed stream; communicate with J. Flanders
                                          re: the same.




                   Murieta
                   Equestrian
   3/4/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze proposed list of stipulated facts.




                   Murieta
                   Equestrian
   3/4/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Locate case law discussing county of Maui "functional equivalent" test on
                                          motions for summary judgment.




                   Murieta
                   Equestrian
   3/6/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 47 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                             Page 58 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: effects of polluted runoff from horse facilities and
                                          in the Cosumnes River




                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0

                                          Consultation with J. Flanders, D. Hunt, and I Wren re: expert report.




                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center     Tom Brett                                                                                            0.9    $550.00           $495.00                               $0.00                                     0

                                          Draft comments / questions for meeting with I Wren re: expert report.




                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center     Tom Brett                                                                                            0.7    $550.00           $385.00                               $0.00                                     0

                                          Research and annotate U.S. Environmental Protection Agency / Cal.
                                          water board information re: impacts of ammonia and fecal coliform




                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                                            1.3    $550.00           $715.00                               $0.00                                     0

                                          Summarize findings re: ecological impacts of pollutants from discharges
                                          from facility; send to J. Flanders and D. Hunt




                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                                            1.2    $550.00           $660.00                               $0.00                                     0

                                          Call with J. Flanders re: findings on eco harm and/or human harm
                                          resulting from pollution discharged from the facility.




                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                           Page 48 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 59 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Research case law re: requirement to produce documents received in
                                          response to third party subpoenas




                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                                    0.4    $550.00             $0.00                            $220.00                                      0.4

                                          Call with J. Flanders re: next research steps on standing




                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Research ecological impacts to GGS; research volatilization rate of
                                          ammonia in water




                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                      0

                                          Email EAM re: research on ecological impacts of pollutants discharges
                                          from the Facility.




                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and summarize case law re: duty to supplement discovery with
                                          documents received from third-parties in response to subpoenas.




                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center     Tom Brett                                                                                    0.7    $550.00           $385.00                               $0.00                                      0

                                          Call with J. Flanders re: supplementing discovery; next steps w/r/t I.
                                          Wren report; and potential waters of the United States arguments




                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                         Page 49 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 60 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: supplemental disclosures / discovery responses.




                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: legal background necessary for I Wren Memo




                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review, analyze and reply to in firm / clients comms re: regulatory
                                          context for expert report; organize the same into correspondence folder.




                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Tom Brett                                                                                       0.1    $218.00            $21.80                               $0.00                                     0

                                          Draft summary / regulatory context for waters of the United States
                                          definition; send to J. Flanders for review.




                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Tom Brett                                                                                       1.7    $550.00           $935.00                               $0.00                                     0

                                          Retrieve and upload subpoena responses from Sacramento County
                                          Office of Env. Planning.




                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze to in firm / client comms re: regulatory context for
                                          expert report, and third party comms re: subpoena responses organize
                                          the same into correspondence folder.



                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 50 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 61 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with I. Wren, J. Flanders, and D. Hunt re: expert report.




                   Murieta
                   Equestrian
  3/11/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Review and analyze case law discussing functional equivalent test
                                          elucidated by SCOTUS




                   Murieta
                   Equestrian
  3/11/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: sampling at Facility and future rain events




                   Murieta
                   Equestrian
  3/11/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Review 2021 site inspection photos; research property boundaries at
                                          facility; email D. Hunt re: sample plan.




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise maps of parcel ownership info from Dillard Road bridge to facility;
                                          send to D. Hunt for review.




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Check ECF and confirm that Second Amended Complaint has been filed;
                                          calendar LD for D to file MTD




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                           Page 51 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                       Page 62 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Contact Sacramento County assessor's office re: facility ownership
                                          information




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Check task list and revise calendared dates / future deadlines




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: Second Amended Complaint filing and
                                          defendants' motion to dismiss




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: potential sampling points for site visit with I.
                                          Wren.




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Revise sample map, and send follow up email with D. Hunt re: the same.




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze order granting leave to amend complaint.




                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                            Page 52 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 63 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate case law construing functional equivalent test on
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  3/15/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze in firm / client communications re: expert report and
                                          potential site visit to defendant facility; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  3/15/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for completing expert report.




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in-firm correspondence re: next steps for completing
                                          expert report; organize into correspondence folder.




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate case law applying county of Maui factors on cross
                                          Motion for Summary Judgment motions




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Research case law discussing county of Maui decision on summary
                                          judgment




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                        Page 53 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 64 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review drone footage from 3.15.22 site visit




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze communications with I. Wren we: sources for expert
                                          memo




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Email J. Flanders re: draft Ian Wren expert report.




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review video and photos uploaded from 3.15.22 site visit.




                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review prior expert reports; incorporate info from prior I. Wren report;
                                          revise sections from other expert reports for incorporation.




                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center     Tom Brett                                                                                      0.8    $550.00           $440.00                               $0.00                                     0

                                          Revise I. Wren expert report.




                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                         Page 54 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                          Page 65 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft section listing opinions in expert report.




                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to I wren expert report.




                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Review plaintiffs initial disclosures and requests for production responses
                                          to identify documents that should potentially be produced to expert.




                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center     Tom Brett                                                                                         0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and analyze in firm and client communications re: revisions to
                                          complaint; Organize into correspondence folder




                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Locate, download, and upload to shared all case law / regs / and other
                                          documents cited in regulatory context to provide I. Wren.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                      0

                                          Upload documents / evidence supporting; being revising summary of
                                          pollutant impacts




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                          Page 55 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 66 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to I. Wren re: additional sources discussing environmental
                                          impacts of ammonia and fecal coliform.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with I. Wren, J. Flanders, and D. Hunt re: next steps for completing
                                          expert report.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $275.00                             $55.00                                      0.1

                                          Revise and upload to shared summary of pollutant impacts for
                                          incorporation into I. Wren report.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                      0

                                          Search correspondence file with expert to locate past documents sent to
                                          I. Wren in prep of prior BMP memo; email I wren re: the same.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: need to add additional documents to I. Wren
                                          sources for expert report.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in-firm communications re: expert report; organize
                                          into correspondence file.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 56 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 67 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze analytic sample results for 3.15.22 site visit.




                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise / annotate draft expert report.




                   Murieta
                   Equestrian
  3/20/2022 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Review and analyze storm Water Management Program for Rancho
                                          Murieta Community Services District to determine whether there is need
                                          to send to Ian wren for expert report



                   Murieta
                   Equestrian
  3/20/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Search shared server for documents used by I Wren in BMP memo




                   Murieta
                   Equestrian
  3/20/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft functional equivalent regulatory background section for draft expert
                                          report.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise qualifications section in draft expert report; incorporate comments
                                          from prior drafts.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                        Page 57 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                       Page 68 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: assisting with draft expert report.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Upload additional case law cited in regulatory context to shared
                                          documents folder.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft expert witness disclosure per Federal Rule of Civil Procedure
                                          26(a)(2); send to J. Flanders for review.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Email J. Flanders re: supplemental production.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review discovery responses from defendants ( requests for production
                                          and RFAs)




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Upload current draft of expert report to SharePoint, send to I. Wren, D.
                                          Hunt, and J. Flanders.




                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                           Page 58 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 69 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and external comms re: document production
                                          in response to requests for production sets one and two




                   Murieta
                   Equestrian
  3/22/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and client communications re: expert report
                                          and opposing counsel request for extension to respond to Second
                                          Amended Complaint



                   Murieta
                   Equestrian
  3/22/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders and D. Hunt re: next steps for Murieta Equestrian
                                          Center




                   Murieta
                   Equestrian
  3/24/2022 CCKA   Center     Tom Brett                                                                                     1.1    $550.00             $0.00                            $605.00                                      1.1

                                          scan reference materials in prep for drafting meet and confer letter




                   Murieta
                   Equestrian
  3/24/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Review federal practice guide for sections re: requests for production
                                          and requests for admission in prep for meet and confer to defendants.




                   Murieta
                   Equestrian
  3/24/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list for next week




                   Murieta
                   Equestrian
  3/25/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 59 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 70 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze initial disclosures to identify documents potentially
                                          probative of claims of informational injury in Second Amended Complaint.




                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and annotate practice guide re: requests for admission and
                                          requests for production in prep for meet and confer.




                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Email J. Flanders and D. Hunt re: review of initial disclosures to identify
                                          documents potentially probative of claims of informational injury in
                                          Second Amended Complaint.



                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in-firm and opposing counsel correspondence re:
                                          stipulated facts; organize into correspondence file.




                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with MCM re: meet and confer letter in response to defendant's
                                          requests for production and requests for admission responses.




                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review Second Amended Complaint county assessor's GIS system to
                                          determine if APN listed in stipulated facts proposed by opposing counsel
                                          is correct.



                   Murieta
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 60 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 71 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft meet and confer letter in response to Defendants' objections to
                                          RFA, set one; draft section responding to objections to Request Nos. 1-
                                          4.



                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                     1.1    $550.00           $605.00                               $0.00                                     0

                                          Standing meeting with D. Hunt and J. Flanders re: next steps and tasks.




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                     0.8    $550.00           $440.00                               $0.00                                     0

                                          Review exemplar meet and confer letters to RFAs; draft intro and legal
                                          background sections to meet and confer.




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $330.00                               $0.00                                     0

                                          Review and analyze practice guide re: requests for admission responses.




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft responses to Defendant's General objections to RFA, set one




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft meet and confer in response to Defendant's objections to RFAs




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                      Page 61 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                      Page 72 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft Meet and confer in response to defendants' objections
                                          to RFAs, set one.




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review production from Second Amended Complaint county department
                                          of water resources; communicate with E. Bustos, TT, and J. Flanders re:
                                          the same.



                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: meet and confer letters.




                   Murieta
                   Equestrian
  3/30/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft meet and confer in response to Defendant's objections to RFAs,
                                          Set One.




                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.8    $550.00           $440.00                               $0.00                                     0

                                          Review and annotate practice guide re: requests for production
                                          responses and objections.




                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft meet and confer in response to Defendant's requests for production
                                          objections.




                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                      Page 62 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 73 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Defendant's objections to RFP, set three; outline
                                          responses thereto for meet and confer letter.




                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Make additional revisions to requests for admission meet and confer
                                          letter; send email to J. Flanders and D. Hunt re: the same.




                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Further revise meet and confer letter in response to defendants
                                          objections to RFA, set one.




                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Communicate in staff meeting with firm re: status of subpoena responses
                                          from Second Amended Complaint County department of water
                                          resources.



                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft meet and confer in response to Defendant's requests for production
                                          objections and responses.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                     0

                                          Review and analyze case law re: timing of service on opposing parties
                                          prior to service on third party.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0




                                                                                                      Page 63 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 74 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: next steps for requests for production / requests
                                          for admission meet and confer, and subpoena to Carol Anderson Ward
                                          Trust.



                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $110.00                             $55.00                                      0.1

                                          Revise subpoena for service on Carol Anderson Ward trust.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: service of subpoena on Carol Anderson Ward
                                          trust.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Complete drafts of subpoena on Carol Anderson Ward trust for
                                          inspection or premises.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Begin revisions to requests for production meet and confer




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with T. Trillo re: service of subpoena on Carol Anderson Ward trust.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                         Page 64 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 75 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review external communications re: service of subpoena on Carol
                                          Anderson Ward trust; organize into correspondence file




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise Attachment A to subpoena on Carol Anderson Ward trust.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Create task list for next week




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Conduct final review of subpoena documents for Carol Anderson Ward
                                          trust prior to service.




                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate defendant's answer to second amended complaint.




                   Murieta
                   Equestrian
   4/3/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Complete draft requests for production meet and confer letter; email the
                                          same to J. Flanders and D. Hunt.




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                      1.5    $550.00           $825.00                               $0.00                                     0




                                                                                                       Page 65 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 76 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft meet and confer letter responding to Defendant's objections to
                                          Plaintiff's Rule 34 Inspection Request.




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                     1.4    $550.00           $770.00                               $0.00                                     0

                                          Complete meet and confer in response to defendants objections to
                                          second rule 34 inspection request




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                     0.9    $550.00           $495.00                               $0.00                                     0

                                          Revise notice of association; retrieve ECF login information




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and annotate defendant's response / objections to rule 34
                                          inspection request.




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: meet and confer letters and next steps of
                                          addressing answer.




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Email J. Flanders and D. Hunt re: defendant's requests for production .




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 66 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 77 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze communications with firm and client re: requests for
                                          production / Rule 34 meet and confer letters.




                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with TT re: notice of appearance




                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise task list




                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Research and analyze case law re: deposition subpoenas requesting
                                          document production in prep for drafting objections to Murieta Equestrian
                                          Center deposition subpoena



                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       1.0    $550.00           $550.00                               $0.00                                      0

                                          Research case law re: propriety of deposition subpoena requesting
                                          production of documents.




                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: objections to defendant's deposition notice.




                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                         Page 67 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 78 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft initial outline for objections to defendant's deposition subpoena.




                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm comms re: discovery on defendant, meet and
                                          confer letters re: the same, and objections to defendant's deposition
                                          notice; organize into correspondence folder.



                   Murieta
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate case law re: objections to depo notices compelling
                                          production of documents.




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Outline objections to deposition notice and RFP; summarize case law re:
                                          the same.




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft portion of objections to deposition notice and document request re:
                                          failure to serve subpoena and insufficient notice.




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Compare affirmative defenses from defendant's answer to Second
                                          Amended Complaint, with first answer and first amended answer.




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                         Page 68 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 79 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: potential motion to strike ADs set out in
                                          defendant's answer to Second Amended Complaint




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Research case law re: requirement that subpoena or Rule 34 request be
                                          served concurrently with Rule 30 deposition notice requesting production
                                          of documents, as well as case law re: objections to Rule 30 deposition
                                          notice requesting production of documents


                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to J. Flanders re: comparison between affirmative defenses
                                          set out in answer to Second Amended Complaint and prior answers.




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: weather forecast at Murieta Equestrian Center
                                          Facility.




                   Murieta
                   Equestrian
   4/6/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Research case law re: objections to deposition subpoena requesting
                                          production of documents.




                   Murieta
                   Equestrian
   4/8/2022 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Review and analyze correspondence with opposing counsel re: proposed
                                          April 11 site inspection.




                   Murieta
                   Equestrian
   4/8/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                          Page 69 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                              Page 80 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze communications with opposing counsel re:
                                          requested R 34 site inspection and proposed stipulations.




                   Murieta
                   Equestrian
   4/8/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft objections to defendant's notice of deposition and request for
                                          production (I. Wren).




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                         2.1    $550.00           $1,155.00                               $0.00                                     0

                                          Revise objections to defendant's deposition notice.




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                         0.9    $550.00            $495.00                                $0.00                                     0

                                          Zoom meeting with I. Wren, J. Flanders, and D. Hunt




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                         0.8    $550.00            $440.00                                $0.00                                     0

                                          Upload objections to Ian Wren deposition notice; revise the same




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                         0.7    $550.00            $385.00                                $0.00                                     0

                                          Draft J. Flanders decl. in support of motion for informal discovery dispute
                                          resolution.




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                         0.4    $550.00            $220.00                                $0.00                                     0




                                                                                                         Page 70 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 81 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft proof of service and continue to revise objections to defendant's
                                          deposition notice.




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Revise objections to defendant's notice of deposition of Ian Wren.




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: objections to deposition subpoena notice and
                                          request for production of documents.




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Communicate with D. Hunt and J. Flanders re: objections to defendant's
                                          notice of deposition of Ian Wren




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: objections to deposition subpoena.




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: declaration in support of motion for informal
                                          discovery




                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 71 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 82 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: service of objections to deposition notice of I.
                                          Wren.




                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Telephone calls with E. Bustos re: Proof of Service file name.




                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze joint statement re: rule 34 inspection dispute.




                   Murieta
                   Equestrian
  4/15/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Research and analyze case law re: alternate service of Federal Rule of
                                          Civil Procedure 45 subpoenas




                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and analyze prior research re: scope of expert reports, and
                                          requirements for supplemental and/or rebuttal reports.




                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: supplemental expert report requirements.




                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $55.00                             $55.00                                      0.1




                                                                                                          Page 72 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 83 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Summarize expert report research from prior action and apply to question
                                          in present suit of whether plaintiff must supplement expert report
                                          following second R. 34 inspection; send to J. Flanders for review.



                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with MCM re: service on Carol Anderson Ward trust




                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Discuss with J. Flanders strategy for serving Carol Anderson Ward Trust
                                          with subpoena for inspection of adjacent unnamed stream




                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for discovery on defendant and
                                          service of subpoena on Carol Anderson ward trust.




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                      0.8    $550.00           $440.00                               $0.00                                     0

                                          Revise requests for production meet and confer letter for service on
                                          defendant.




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Review research and case law discussing alternate means of service of
                                          subpoenas.




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 73 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 84 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review research on alternative service of Federal Rule of Civil
                                          Procedure 45 subpoena; email J. Flanders and TT re: the same




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders summarizing case law re: alternate service
                                          methods for carol Anderson Ward.




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Communicate with J. Flanders re: Requests for Production meet and
                                          confer letter.




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm / client / opposing counsel communications
                                          re: Rule 34 inspection request and dispute / subpoena on Carol
                                          Anderson Ward trust / expert report / defendant's answer; organize into
                                          correspondence file.


                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze exemplar stipulation re: document authenticity




                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 74 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                            Page 85 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Begin drafting Interrogatories, set two




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                           1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft stipulation regarding authenticity of documents.




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                           0.7    $550.00           $385.00                               $0.00                                     0

                                          Revise stipulation re: authenticity of documents




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                           0.3    $550.00           $165.00                               $0.00                                     0

                                          Make final revisions to stipulation re: authenticity; send to J. Flanders for
                                          review.




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: contention interrogatories /stipulation re:
                                          authenticity




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                     0

                                          Email opposing counsel proposing stipulation re: authenticity of
                                          documents.




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                           Page 75 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                         Page 86 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review questions from T. Trillo re: method of service on Carol Anderson
                                          Ward trust; draft email in response.




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm correspondence re: firm priority list for matter
                                          and service of subpoena on Carol Anderson Ward trust.




                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review, analyze, and annotate case law re: permissible scope of
                                          contention rogs.




                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0

                                          Revise contention interrogatories; email J. Flanders / EAM / D. Hunt re:
                                          the same.




                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise interrogatories; email J. Flanders re: the same.




                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: site inspection and rogs




                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                         Page 76 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 87 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm communications re: discovery on third parties
                                          and defendant and proposed stipulation re: authenticity of documents;
                                          organize into correspondence file



                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Review joint stipulation of facts and send to opposing counsel for
                                          execution.




                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Research case law re: proper scope of contention interrogatories.




                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze case law re: permissible scope of Interrogatories.




                   Murieta
                   Equestrian
  4/22/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: drafting sprogs for service on defendant




                   Murieta
                   Equestrian
  4/22/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft PMK deposition notice.




                   Murieta
                   Equestrian
  4/25/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00            $0.00                            $220.00                                      0.4




                                                                                                        Page 77 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                            Page 88 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise contention interrogatories to Defendants.




                   Murieta
                   Equestrian
  4/25/2022 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft 30(b)(6) deposition notice and attachment, send to J. Flanders for
                                          review.




                   Murieta
                   Equestrian
  4/25/2022 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft follow up correspondence with opposing counsel re: requests for
                                          production and requests for admission meet and confer, as well as the
                                          proposed stipulation re: authenticity of documents, and joint stipulation of
                                          facts.


                   Murieta
                   Equestrian
  4/25/2022 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders re: 30(b)(6) deposition notice for service on Murieta
                                          Equestrian Center




                   Murieta
                   Equestrian
  4/25/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Email D. Hunt re: contention interrogatories.




                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and client correspondence re: interrogatory,
                                          3rd party discovery on Carol Anderson Ward trust and Rancho Murieta
                                          Community Services District, and re: sample results of site inspection;
                                          organize into correspondence folder


                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 78 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                       Page 89 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft and revise task list




                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email J. Flanders re: sample results from April inspection and re:
                                          discovery on defendant




                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with T. Trillo re: service of subpoena on Carol Anderson Ward trust




                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: Carol Anderson Ward subpoena and sprogs




                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Revise rogs, set two; send to D. Hunt for review.




                   Murieta
                   Equestrian
  4/27/2022 CCKA   Center     Tom Brett                                                                                      0.8    $550.00           $440.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to sprogs set two




                   Murieta
                   Equestrian
  4/27/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                        Page 79 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                             Page 90 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email correspondence with J. Flanders and D. Hunt re: rogs




                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise rogs.




                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with D. Hunt and J. Flanders re: rogs.




                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Tom Brett                                                                                           0.9    $550.00           $495.00                               $0.00                                      0

                                          Revise interrogatories and send to D. Hunt and J. Flanders for review.




                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to ROGs




                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Tom Brett                                                                                           0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to interrogatories; and further discovery
                                          on defendant




                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                          Page 80 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 91 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review prior meet and confer correspondence with opposing counsel re:
                                          discovery requests; email follow up meet and confer letter with opposing
                                          counsel re: the same.



                   Murieta
                   Equestrian
   5/3/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00             $0.00                            $275.00                                      0.5

                                          Draft email to J. Flanders and D. Hunt re: rule 34 inspection request, and
                                          deposition notice (PMK)




                   Murieta
                   Equestrian
   5/3/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft third request for inspection of property




                   Murieta
                   Equestrian
   5/3/2022 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                      0

                                          Revise letter to opposing counsel re: duty to supplement discovery
                                          responses




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Revise letter to opposing counsel re: service of subpoena on carol
                                          Anderson ward trust




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email J. Flanders re: meet and confer letter to Carol Anderson Ward
                                          Trust.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 81 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 92 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise task list




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze external and inform correspondence re: meet and
                                          confer with Defendant, Def's discovery requests, and additional
                                          discovery on defendant; organize into correspondence folder



                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Make final revisions to letter re: def's duty to supplement discovery
                                          responses; send to opposing counsel




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise deposition notice to Defendant's person most qualified.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                       1.0    $550.00           $550.00                               $0.00                                      0

                                          Draft and revise meet and confer letter to defense counsel re: service of
                                          subpoena on Carol Anderson Ward Trust.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                       0.9    $550.00           $495.00                               $0.00                                      0




                                                                                                         Page 82 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                       Page 93 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft letter re: defendant's duty to supplement discovery responses.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: outstanding discovery on defendant, including
                                          deposition notice, and dry weather inspection request.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Revise deposition notice and Federal Rule of Civil Procedure 34 request;
                                          email D. Hunt and J. Flanders re: the same.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Email J. Flanders and D. Hunt re: FRCP 30(b)(6) deposition notice to
                                          defendants.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze correspondence with opposing counsel re: meet and
                                          confer schedule for outstanding discovery; organize into correspondence
                                          folder



                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Telephone call with T. Trillo re: draft meet and confer letter.




                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                            Page 83 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                          Page 94 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email D. Hunt and J. Flanders re: R 34 inspection request, FRCP
                                          30(b)(6) deposition notice, and Carol Anderson Ward Trust Subpoena.




                   Murieta
                   Equestrian
   5/5/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: Ward subpoena




                   Murieta
                   Equestrian
   5/5/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise meet and confer letter to opposing counsel re: service of Federal
                                          Rule of Civil Procedure 45 subpoena on CAW




                   Murieta
                   Equestrian
   5/5/2022 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders in prep for meet and confer




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Email J. Flanders and D. Hunt re: prior requests for production in prep for
                                          meet and confer




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Follow up call with J. Flanders and D. Hunt re: meet and confer with
                                          opposing counsel.




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00                               $0.00                                      0




                                                                                                        Page 84 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 95 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          5.6.22 meet and confer with opposing counsel minus J. Flanders call




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Draft requests for production set four




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft email to J. Flanders and D Hunt re: agenda for meet and confer
                                          with defendant




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Email J. Flanders and D. Hunt re: draft requests for production set four




                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          review and annotate practice guide and prior research re: motion to
                                          compel requests for admission responses; summarize findings for J.
                                          Flanders and D. Hunt.



                   Murieta
                   Equestrian
   5/8/2022 CCKA   Center     Tom Brett                                                                                        1.8    $550.00           $990.00                               $0.00                                     0

                                          Outline next steps for drafting objections to defendant's notice of taking
                                          continued deposition of I. Wren.




                   Murieta
                   Equestrian
   5/8/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 85 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                   Page 96 of 481
Date      Client   Matter     Staff       Description                                                           Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Draft factual background section and argument section of MPA in
                                          support of motion for leave to serve subpoena by alternative means.




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                 0.7    $550.00           $0.00                            $385.00                                     0.7

                                          Draft introduction to MPA in support of




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                 0.5    $550.00           $0.00                            $275.00                                     0.5

                                          Draft motion and notice of motion for leave to serve subpoena by
                                          alternative means; create pleading paper for the same and MPA




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                 0.4    $550.00           $0.00                            $220.00                                     0.4

                                          Call with J. Flanders re: motion for leave to serve subpoena by
                                          alternative means




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                 0.2    $550.00           $0.00                            $110.00                                     0.2

                                          Revise notice of motion and motion for leave to serve subpoena by
                                          alternative means




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                 0.2    $550.00           $0.00                            $110.00                                     0.2

                                          Call with TT re: service history of subpoena on Carol Anderson Ward
                                          trust




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                       Page 86 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 97 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: I Wren continued deposition




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          call and email with TT re: service of objection to notice of continued
                                          deposition of Ian wren




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise / draft objections to notice of continued deposition of I Wren.




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                       0.8    $550.00           $440.00                               $0.00                                      0

                                          Draft factual background section of MPA in support of motion for leave to
                                          file subpoena by alternative means.




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                      0

                                          Revise objections to notice of continued deposition of I. Wren




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Email J. Flanders and D. Hunt re: objections to I. Wren continued
                                          deposition notice.




                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                         Page 87 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 98 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email TT re: service of third rule 34 inspection request




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email J. Flanders and D. Hunt re: third rule 34 inspection request to
                                          defendant.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email Jason Flanders re: distance from sample points to discharge
                                          points and possibility of cctv video recording.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email Drev Hunt and Jason Flanders re: cctv inspection at dry weather
                                          inspection of Facility.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Research and call plumbing companies in Sacramento area re: cctv
                                          inspection




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                   0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and reply to emails from J. Flanders and D. Hunt emails re:
                                          proposed discovery schedule.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 88 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                    Page 99 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise dry weather inspection request.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Email Jason Flanders re: dry weather inspection and cctv monitoring.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Revie and revise third rule 34 inspection request.




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze client and inform comms re: I wren deposition notice
                                          and service of subpoena on Carol Anderson Ward trust; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Email J. Flanders and D. Hunt re: dry weather inspection notice




                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders and D. Hunt re: motion for leave to serve Federal
                                          Rule of Civil Procedure 45 by alternative means




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00            $0.00                            $220.00                                      0.4




                                                                                                       Page 89 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 100 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft proposed order granting motion for leave to serve subpoena by
                                          alternative means.




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Revise MPA in support of motion for leave to serve subpoena by
                                          alternative means.




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email J. Flanders and D. Hunt re: motion for leave to serve subpoena by
                                          alternative means.




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Compile exhibits for T. Brett declaration in support of motion for leave to
                                          serve subpoena by alternative means.




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Compile exhibits; draft declaration in support of motion for leave to serve
                                          subpoena by alternative means; conform MPA to declaration.




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00                               $0.00                                      0

                                          Revise MPA in support of motion for leave to serve FRCP subpoena by
                                          alternative means.




                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                         0.8    $550.00           $440.00                               $0.00                                      0




                                                                                                         Page 90 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 101 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise factual background section in MPA in support of motion for leave
                                          to file Federal Rule of Civil Procedure 45 subpoenas by alternative
                                          means



                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: ex parte application for order to shorten time.




                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Call with TT re: filing motion for alternative service of Carol Anderson
                                          Ward subpoena and ex parte app for OST




                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Communicate in firm at staff meeting re: dry weather inspection.




                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: filing motion for alternative service of Carol
                                          Anderson Ward subpoena and ex parte app for OST




                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft Ex Parte Application for order shortening time to hear Carol
                                          Anderson Ward subpoena motion; email J. Flanders re: the same.




                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     Tom Brett                                                                                       1.4    $550.00           $770.00                               $0.00                                      0




                                                                                                           Page 91 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 102 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Draft email to J. Flanders and E. Bustos re: next steps for filing Carol
                                          Anderson Ward subpoena motion




                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $0.00                            $165.00                                     0.3

                                          Create and label exhibits for motion for alternative service and
                                          application for OST.




                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $0.00                            $165.00                                     0.3

                                          Call with J. Flanders re: hearing and briefing schedule for motion for
                                          alternative service.




                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $0.00                            $110.00                                     0.2

                                          Review and analyze in firm communications re: Defendant's production;
                                          organize into correspondence folder.




                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Review email from opposing counsel re: meet and confer w/r/t to motion
                                          schedule; email J. Flanders re: the same




                   Murieta
                   Equestrian
  5/20/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Review and analyze case law re: motions for alternative service of
                                          Federal Rule of Civil Procedure 45 subpoena and docket filings in those
                                          matters on ECF



                   Murieta
                   Equestrian
  5/23/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $0.00                            $220.00                                     0.4




                                                                                                         Page 92 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 103 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft expert deposition notice.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                     0.7    $550.00           $385.00                               $0.00                                     0

                                          Complete draft of Dr. Paulsen (def's expert) deposition notice.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft deposition notice of defendant's expert witness.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Research location requirements for Federal Rule of Civil Procedure 45
                                          depositions; email J. Flanders re: the same.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: expert witness deposition notice and RFP, set
                                          four.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: whether to add additional requests to
                                          requests for production set four




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 93 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                      Page 104 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email J. Flanders re: 30(b)(6) deposition notice.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Email J. Flanders re: place of 30(b)(6) deposition and expert deposition.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Email CH re: defendant's failure to provide a privilege log.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Revise draft 30(b)(6) deposition notice.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Email D. Hunt and J. Flanders re: RFP, Set Fourt.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with CH re: defendant's prior production and records on shared
                                          folder.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                          Page 94 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 105 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise draft RFP, Set Four




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: deposition notice to defs expert witness.




                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: service of discovery devices on defendant to day.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft R34 request for production of documents at deposition.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to 30 (b)(6) notice.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 95 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                       Page 106 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise expert deposition subpoena and notice; email E. Bustos and J.
                                          Flanders re: the same.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                  0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise Federal Rule of Civil Procedure 45 expert deposition notice.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Email D. Hunt and J. Flanders re: revisions to RFP, Set Four.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Email J. Flanders and D. Hunt re: Rule 34 subpoena




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Email J. Flanders and D. Hunt re: Rule 34 subpoena for production of
                                          documents, and 30(b)(6) notice.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Review 30(b)(6) deposition notice




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 96 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 107 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email D. Hunt and J. Flanders re: revisions to 30(b)(6) deposition notice.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: service of requests for production and deposition
                                          notices




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review RFP, Set Four; email E. Bustos re: service of the same.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review 30(b)(6) notice and R 34 subpoena; email E. Bustos re: the
                                          same.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: drafting RFP, Set Five and service of 30(b)(6)
                                          deposition notice.




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: rule 30(b)(6) subpoena and accompanying rule
                                          34 subpoena




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 97 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                     Page 108 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise 30(b)(6) notice




                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft attachment A to thunder mountain subpoena (.7); call with J.
                                          Flanders re: the same (.1)




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                    0.8    $550.00             $0.00                            $440.00                                      0.8

                                          Revise task list




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft requests for production set five; email J. Flanders re: the same




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                    0.9    $550.00           $495.00                               $0.00                                      0

                                          Draft reply brief in support of motion for alternative service.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                      0

                                          Review and analyze practice guide re: service of Federal Rule of Civil
                                          Procedure 45 subpoena on corporate entity.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                            Page 98 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 109 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft J Brett declaration in support of reply brief; revise reply




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: Federal Rule of Civil Procedure 45 subpoena on
                                          Thunder Mountain Enterprises Inc., and next steps for Motion for
                                          Summary Judgment drafting



                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Pull Thunder Mountain corporate documents from SOS website; revise
                                          subpoena; email J. Flanders and D. Hunt re: the same.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze defendant's response to motion for alternative
                                          service.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise reply brief in support of motion for alternative service.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft notice of Federal Rule of Civil Procedure Subpoena to Thunder
                                          Mountain Ent. Inc.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                              Page 99 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 110 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise declaration in support of reply motion for leave to
                                          serve by alt. means; email J. Flanders and D. Hunt re: the same.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review defendant's production to locate storm water routine industrial
                                          inspection report in prep for drafting Federal Rule of Civil Procedure 45
                                          subpoena for production of documents.



                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm, client, and opposing counsel
                                          communications re: 30(b)(6) depo, deposition of defs expert, RFP, sets
                                          four and five, and motion for alt. service; organize into correspondence
                                          file


                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review Judge Barnes minute order and email J. Flanders re: hearing
                                          dates.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Compile exhibits for subpoena on thunder mountain requesting
                                          documents.




                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          File reply brief in support of motion for alternative service




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                          Page 100 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 111 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: need for SUF as part of Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze local rules and judge standing orders re: need for
                                          statement of undisputed facts for Motion for Summary Judgment
                                          motions.



                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Locate address of agent for service of process for thunder mountain ent.
                                          inc.




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Review reply brief in support of motion for service by alt. means prior to
                                          filing




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Communicate with E. Bustos re: service of requests for production set
                                          five.




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: service of subpoena on thunder mountain.




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                        Page 101 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 112 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Communicate with E. Bustos re: thunder mountain subpoena




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Email J. Flanders re: service of third party subpoena on thunder
                                          mountain and filing reply brief in support of motion for alt. service.




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review T. Brett Decl. in support of reply brief in support of motion for
                                          service by alt. means prior to filing




                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate I. Wren supplemental report.




                   Murieta
                   Equestrian
  5/29/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Format SUF' convert existing fact chart to draft SUF; review and
                                          annotate practice guide re: SUF




                   Murieta
                   Equestrian
  5/29/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and annotate Defendant's expert report.




                   Murieta
                   Equestrian
  5/29/2022 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0




                                                                                                          Page 102 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                           Page 113 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and annotate defendant's expert report.




                   Murieta
                   Equestrian
  5/30/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00            $165.00                                $0.00                                     0

                                          Continue to draft SUF




                   Murieta
                   Equestrian
  5/30/2022 CCKA   Center     Tom Brett                                                                                    0.2    $550.00            $110.00                                $0.00                                     0

                                          Continue to draft SUF.




                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     Tom Brett                                                                                    1.9    $550.00           $1,045.00                               $0.00                                     0

                                          Continue to draft SUF




                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     Tom Brett                                                                                    1.4    $550.00            $770.00                                $0.00                                     0

                                          Call with J. Flanders re: SUF and defendant's supplemental production.




                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00            $165.00                                $0.00                                     0

                                          Review and analyze in-firm and opposing counsel comms re: Motion for
                                          Summary Judgment separate statement, requests for production set five,
                                          third party subpoena's for def's expert and thunder mountain, and
                                          defendant's supplemental production; organize into correspondence
                                          folder.

                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                       Page 103 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 114 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Upload defendant's supplemental production to shared server




                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: next steps for remaining discovery




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                      1.1    $550.00           $550.00                             $55.00                                      0.1

                                          Draft attachment A to Clyde Ashley deposition subpoena




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and revise SUF; email J. Flanders and D Hunt re: the same.




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Conversation with J. Flanders re: Clyde Ashley deposition subpoena,
                                          30(b)(6) prep, and planned call with D. Hunt.




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft FRCP 45 deposition subpoena for service on Clyde Ashley of roto
                                          rooter




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                      Page 104 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 115 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Email J. Flanders and D. Hunt re: defendant's supplemental production.




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Call J. Flanders re: Clyde Ashley deposition subpoena and 30(b)(6)
                                          deposition prep




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze defendant production re: work performed by roto
                                          rooter to clean drain system at Facility; outline questions for J. Flanders
                                          re: the same



                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Email D. Hunt and J. Flanders re: defendant's supplemental document
                                          production.




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze practice guide re: combined deposition and
                                          document subpoenas pursuant to Federal Rule of Civil Procedure 45




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 105 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                             Page 116 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze client correspondence re: responses to def's
                                          request for production; organize into correspondence folder




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft notice of Clyde Ashely subpoena; revise subpoena.




                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with J. Flanders re: document review in prep for 30(b)(6) deposition




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00              $0.00                             $110.00                                      0.2

                                          Review defendant's production, and identify / tag documents for us in
                                          30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                       2.2    $550.00           $1,210.00                               $0.00                                      0

                                          Continue to review defendant's production, and identify / tag documents
                                          for us in 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                       0.9    $550.00            $495.00                                $0.00                                      0

                                          Combine files tagged / reviewed from defendant's supplemental
                                          production into single file; upload to shared.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                       0.7    $550.00            $385.00                                $0.00                                      0




                                                                                                       Page 106 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 117 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Create tag tree; email J. Flanders and D. Hunt re: the same.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze practice guide re: objections to requests for
                                          production based on undue burden.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: document review in prep for 30(b)(6) depo




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0

                                          Email D. Hunt and J. Flanders re: duplicate defendant production.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: document review in prep for
                                          30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Email D. Hunt re: 30(b)(6) deposition prep.




                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 107 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 118 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze comms with California Coastkeeper Alliance re:
                                          document review in prep for 30(b)(6) depo; email client re: the same.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Call with clients re: document review in prep for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Email D. Hunt re: document review in prep for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Review documents in defendant's production in prep for 30(b)(6)
                                          deposition.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                      2.2    $550.00           $1,210.00                               $0.00                                      0

                                          Meeting with California Coastkeeper Alliance re: document review in prep
                                          of 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                      1.1    $550.00            $605.00                                $0.00                                      0

                                          Continue document review in prep for 30(b)(6) depo




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00            $385.00                                $0.00                                      0




                                                                                                        Page 108 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 119 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Compile correspondence with state and fed agencies re: subpoenas and
                                          Public Records Act requests; email firm re: the same.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                        0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and analyze practice guide re: whether opposing party must
                                          identify, in advance, 30(b)(6) designee; email J. Flanders and D. Hunt re:
                                          the same.



                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Review current document production in Murieta Equestrian Center
                                          Everlaw site in prep for call with client re: document review in prep for
                                          30(b)(6) deposition.



                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Email C. Capps at California Coastkeeper Alliance re: document review
                                          in prep for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: deposition prep




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                        0.7    $550.00             $0.00                            $385.00                                      0.7

                                          Call with J. Flanders re: drafting deposition questions for Paulsen
                                          deposition re: weather stations.




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 109 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 120 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review photos of storm drains and discharges pipes to stream




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                     2.1    $550.00           $1,155.00                               $0.00                                      0

                                          Call with D. Hunt re: document review and deposition prep.




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                     0.5    $550.00            $275.00                                $0.00                                      0

                                          Draft deposition questions for Paulsen deposition.




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00            $165.00                                $0.00                                      0

                                          Call with J. Flanders Re: Paulsen deposition prep.




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00            $110.00                                $0.00                                      0

                                          Call with J. Flanders re: next steps for deposition prep and motion for
                                          alternative service.




                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00            $110.00                                $0.00                                      0

                                          Calls with E. Bustos and J. Flanders re: exhibit compilation (.3); and
                                          printing for Paulsen depo




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                     0.8    $550.00              $0.00                             $440.00                                      0.8




                                                                                                       Page 110 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 121 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Extract pages from deposition exhibits that are not referenced in J.
                                          Flanders deposition outline.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                      0.6    $550.00             $0.00                            $330.00                                      0.6

                                          Call with E. Bustos re: arranging for printing documents.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Call with E. Bustos re: document printing




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review Everlaw production to identify photos for use in 30(b)(6) and
                                          Paulsen depositions




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                      1.1    $550.00           $605.00                               $0.00                                      0

                                          Complete review of document production to identify documents to use in
                                          deposition.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                      0

                                          Locate additional documents for D. Hunt in prep for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                       Page 111 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 122 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review defendant's production to locate photos showing sampling by Ian
                                          Wren.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with E. Bustos re: document printing and production for depositions
                                          (Paulsen and 30(b)(6))




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: exhibits for expert and 30(b)(6) depositions.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Email D. Hunt re: exhibit list for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Excerpt documents for production for use in Paulsen depo




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Email E. Bustos re: production of electronic exhibits to opposing counsel
                                          and court reporter.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 112 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                    Page 123 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: deposition prep and document printing.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                      0

                                          Email D. Hunt re: need for final exhibit list for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: printing documents for depo




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                      0

                                          Review complaint to determine whether IGP needs to be included as
                                          exhibit for Paulsen depo




                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm, and client comms re: deposition of
                                          defendant's expert witness and 30(b)(6) deposition preparation.




                   Murieta
                   Equestrian
   6/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze correspondence with opposing counsel re:
                                          defendant's discovery responses; organize into correspondence folder.




                   Murieta
                   Equestrian
   6/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                          Page 113 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 124 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft and file withdrawal of motion for leave to serve subpoena by
                                          alternative means.




                   Murieta
                   Equestrian
  6/10/2022 CCKA   Center     Tom Brett                                                                                         0.4    $550.00             $0.00                            $220.00                                      0.4

                                          Review and analyze in firm and opposing counsel comms re: discovery
                                          requests and responses, scheduling of settlement dates; plaintiff
                                          document production; organize into correspondence folder.



                   Murieta
                   Equestrian
  6/10/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: last week's deposition and objections to
                                          interrogatory responses




                   Murieta
                   Equestrian
  6/13/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise task list




                   Murieta
                   Equestrian
  6/14/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list




                   Murieta
                   Equestrian
  6/14/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: revisions to case to-do / deadline tracking sheet




                   Murieta
                   Equestrian
  6/14/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 114 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 125 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and annotate Defs interrogatory set two responses; incorporate
                                          into draft SUF




                   Murieta
                   Equestrian
  6/14/2022 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise Murieta Equestrian Center Project Outline on shared




                   Murieta
                   Equestrian
  6/16/2022 CCKA   Center     Tom Brett                                                                                   0.8    $550.00             $0.00                            $440.00                                      0.8

                                          Review service history of third-party subpoena on thunder mountain.




                   Murieta
                   Equestrian
  6/16/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise Murieta Equestrian Center project outline




                   Murieta
                   Equestrian
  6/17/2022 CCKA   Center     Tom Brett                                                                                   0.7    $550.00             $0.00                            $385.00                                      0.7

                                          Draft email to J. Flanders and D. Hunt re: project outline.




                   Murieta
                   Equestrian
  6/17/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze practice guide re: timing of motion to compel




                   Murieta
                   Equestrian
  6/17/2022 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 115 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 126 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Incorporate tags from document review into draft SUF to assist with
                                          designating reviewed documents to specific facts / topics in SUf




                   Murieta
                   Equestrian
  6/21/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze J. Flanders email re: SUF draft; call J. Flanders re:
                                          the same




                   Murieta
                   Equestrian
  6/21/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: modified scheduling order




                   Murieta
                   Equestrian
  6/28/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Search prior filings / drafts for summary of stipulated schedule; email J.
                                          Flanders re: the same.




                   Murieta
                   Equestrian
  6/28/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          zoom meeting re: work load and upcoming deadlines




                   Murieta
                   Equestrian
  6/29/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: final versions of Rancho Murieta Community
                                          Services District subpoenas; review the same.




                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 116 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 127 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review deposition notice, subpoena, and exhibits for Rancho Murieta
                                          Community Services District deposition.




                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: service of subpoena and notice for Rancho
                                          Murieta Community Services District subpoena; email J. Flanders and D.
                                          Hunt re: the same.



                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review prior service history of deposition notices to third parties; email D.
                                          Hunt and J. Flanders re: the same.




                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and client comms re: deposition of Rancho
                                          Murieta Community Services District; email D. Hunt and J. Flanders re:
                                          the same.



                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze practice guide re: requirement to file deposition
                                          materials (notice etc.) with court, email J. Flanders and D. Hunt re: the
                                          same.



                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft meet and confer in response to Defendant's objections to requests
                                          for production set four.




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                           0.7    $550.00           $385.00                               $0.00                                      0




                                                                                                         Page 117 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 128 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise 7/5/2022 meet and confer letter




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft meet and confer in response to Defendant's objections to requests
                                          for production set five




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Review, annotate, and analyze defendant's responses to Plfs requests
                                          for production set four




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Make final revisions to 7.5.22 meet and confer letter; send to opposing
                                          counsel




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft introduction to meet and confer letter re: defendant's responses to
                                          requests for production set four and five.




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Outline meet and confer letter section re: defendant's responses to RFP,
                                          set four.




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 118 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                     Page 129 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm, opposing counsel, and client comms re:
                                          Defendant's requests for production responses and Rancho Murieta
                                          Community Services District deposition notice.



                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: meet and confer letter in response to defs'
                                          objections to requests for production set 4 and 5




                   Murieta
                   Equestrian
   7/5/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                     0

                                          Teleconference with E. Bustos re: subpoena and subsequent service of
                                          same.




                   Murieta
                   Equestrian
   7/6/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer scheduling.




                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: scheduling meet and confer on
                                          requests for production sets 4 and 5.




                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                     0

                                          Review second supplemental expert disclosure; email E. Bustos re: the
                                          same.




                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 119 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                            Page 130 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: I Wren second supplemental expert disclosure.




                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: meet and confer with defendant




                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review calendared events for today; send invite to J. Flanders and D.
                                          Hunt re: meet and confer with defendants'




                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: rescheduling meet and confer on
                                          requests for production, sets four and five.




                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze defendant's most recent production (DEF-049949 to
                                          049965).




                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: meet and confer on requests for production Sets
                                          4 and 5.




                   Murieta
                   Equestrian
  7/12/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                      Page 120 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 131 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: meet and confer scheduled for 7.13.22




                   Murieta
                   Equestrian
  7/12/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to opposing counsel circulating call in number for meet and
                                          confer.




                   Murieta
                   Equestrian
  7/12/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Prep for and call with opposing counsel re: requests for production 4 and
                                          5




                   Murieta
                   Equestrian
  7/13/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft follow up email to opposing counsel re: meet and confer.




                   Murieta
                   Equestrian
  7/13/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Locate and send J. Flanders CIA operations manual and memo from
                                          Rancho Murieta Community Services District re: use of Laguana Joaquin
                                          water.



                   Murieta
                   Equestrian
  7/13/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list




                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                      Page 121 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 132 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders in prep for call re: mediation statement.




                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Draft meet and confer to defendant's re: ROG, set two responses. plus
                                          30




                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Tom Brett                                                                                    2.1    $550.00           $1,155.00                               $0.00                                      0

                                          Call with J. Flanders, D. Hunt, EAM, and co-counsel re: preparation of
                                          mediation brief and SUF




                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Tom Brett                                                                                    0.8    $550.00            $440.00                                $0.00                                      0

                                          Review and annotate defendant's responses to Roges.




                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00            $165.00                                $0.00                                      0

                                          Revise meet and confer re: Ds interrogatory responses; send to
                                          opposing counsel.




                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with J. Flanders re: prep of SUF




                   Murieta
                   Equestrian
  8/10/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00              $0.00                              $55.00                                      0.1




                                                                                                        Page 122 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 133 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call J. Flanders re: revisions to SUF and Wren Decl.




                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: document review in prep for SUF




                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders, CH, D. Hunt re: tagging next steps for Motion for
                                          Summary Judgment / SUF




                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     Tom Brett                                                                                       1.0    $550.00           $550.00                               $0.00                                      0

                                          Call with J. Flanders re: document review.




                   Murieta
                   Equestrian
   9/8/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: Murieta Equestrian Center SUF / mediation brief
                                          prep




                   Murieta
                   Equestrian
   9/8/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list




                   Murieta
                   Equestrian
  9/12/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 123 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 134 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise SUF




                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     Tom Brett                                                                                     1.3    $550.00            $715.00                                $0.00                                      0

                                          Call with J. Flanders re: SUF and settlement statement prep




                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00            $110.00                                $0.00                                      0

                                          Continue to revise settlement brief (adding portions re: County of Maui
                                          factors, and add info re: relative permanence of unnamed stream)




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     1.9    $550.00           $1,045.00                               $0.00                                      0

                                          Draft section in mediation brief applying Maui factors.




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     0.7    $550.00            $385.00                                $0.00                                      0

                                          Draft section of mediation brief re: unnamed stream as point source.




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     0.5    $550.00            $275.00                                $0.00                                      0

                                          Call with J. Flanders re: mediation brief




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00            $110.00                              $55.00                                      0.1




                                                                                                      Page 124 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 135 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze email from D. Hunt re: Maui factors; organize into
                                          correspondence folder.




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and analyze I. Wren expert report in prep for revising mediation
                                          brief.




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: mediation brief revisions.




                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Begin drafting I. Wren declaration.




                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list




                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise mediation brief sections on county of Maui and unnamed stream
                                          as a point source.




                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                     Page 125 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                            Page 136 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft I. Wren declaration.




                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                       1.1    $550.00           $605.00                               $0.00                                      0

                                          Continue to draft I. wren declaration.




                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                       1.1    $550.00           $605.00                               $0.00                                      0

                                          Review and analyze practice guide re: expert declarations in Motion for
                                          Summary Judgment proceedings; continue to draft Wren declaration.




                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                      0

                                          Review and analyze client comms re: D PMQ testimony regarding
                                          cleaning stalls; and re: LR on Maui factors; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with MCM re: I. Wren declaration in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to draft Wren declaration; incorporate SUF statements.




                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     Tom Brett                                                                                       1.3    $550.00           $715.00                               $0.00                                      0




                                                                                                      Page 126 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 137 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise mediation brief




                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                      0

                                          Add language re: transit time and decay rates of pollutants to the
                                          Cosumnes river preserve to standing section of mediation brief.




                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: wren declaration.




                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise mediation brief.




                   Murieta
                   Equestrian
  9/23/2022 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $330.00                               $0.00                                      0

                                          Calendar internal and court deadlines for completing Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
  9/27/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to C. Hudak re: document review to populate SUF; calendar
                                          call.




                   Murieta
                   Equestrian
  9/27/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 127 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 138 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: Motion for Summary Judgment prep




                   Murieta
                   Equestrian
  9/27/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Review LR and standing orders re: SUFs in eastern district of CA.




                   Murieta
                   Equestrian
  9/27/2022 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list




                   Murieta
                   Equestrian
  9/28/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: mediation / settlement conference.




                   Murieta
                   Equestrian
  9/30/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to draft I. Wren declaration in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  10/3/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to CH re: document tagging project for Motion for Summary
                                          Judgment SUF.




                   Murieta
                   Equestrian
  10/4/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                         Page 128 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 139 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze filed order granting stipulation to extend briefing
                                          schedule; calendar newly established dates.




                   Murieta
                   Equestrian
 10/12/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: settlement status and time line for Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
 10/21/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: Motion for Summary Judgment prep.




                   Murieta
                   Equestrian
  11/2/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: document review / tagging in prep for drafting
                                          SUF




                   Murieta
                   Equestrian
  11/4/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $165.00                             $55.00                                      0.1

                                          Draft task list re: document review and tagging in prep for completing
                                          SUF / Motion for Summary Judgment




                   Murieta
                   Equestrian
  11/6/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review calendar and schedule call with D. Hunt re: document review in
                                          prep for SUF.




                   Murieta
                   Equestrian
  11/7/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 129 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 140 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with D. Hunt re: document review in prep for drafting SUF




                   Murieta
                   Equestrian
  11/7/2022 CCKA   Center     Tom Brett                                                                                     0.8    $550.00           $385.00                             $55.00                                      0.1

                                          Continue document review of Murieta Equestrian Center production to
                                          create exhibit list for SUF and Motion for Summary Judgment




                   Murieta
                   Equestrian
  11/7/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Continue document review of Murieta Equestrian Center production in
                                          prep for exhibit list and Motion for Summary Judgment / SUF (rows 4278-
                                          5230)



                   Murieta
                   Equestrian
  11/8/2022 CCKA   Center     Tom Brett                                                                                     1.1    $550.00           $605.00                               $0.00                                      0

                                          Complete document review of Murieta Equestrian Center production in
                                          prep for exhibit list and Motion for Summary Judgment / SUF (rows 5231-
                                          6988)



                   Murieta
                   Equestrian
  11/8/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Review and analyze case law re: retroactive effect of supreme court
                                          case law




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                      0

                                          Calendar and draft task list re: opp to defendants' motion to stay and
                                          motion to shorten time




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 130 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 141 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Search for draft opposition to mtn to stay on shared; email J. Flanders re:
                                          the same.




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze draft opp to motion to stay




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                      0

                                          Review and analyze defendants' motion to stay




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to J. Flanders re: potential forthcoming motion for OST from
                                          Defendant to hear motion for stay




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: opposition to Defs' motion to stay.




                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft legal background and argument sections to opp. to Defs ex parte
                                          app for OST.




                   Murieta
                   Equestrian
 11/14/2022 CCKA   Center     Tom Brett                                                                                         1.1    $550.00           $605.00                               $0.00                                      0




                                                                                                       Page 131 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 142 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft procedural background section to opposition to Defendants' ex
                                          parte application for OST.




                   Murieta
                   Equestrian
 11/14/2022 CCKA   Center     Tom Brett                                                                                    0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and analyze Defendant's application for OST to hear motion to
                                          stay; review and analyze case law re: the same




                   Murieta
                   Equestrian
 11/14/2022 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: opposition to Defs' app for OST on hearing
                                          motion for stay.




                   Murieta
                   Equestrian
 11/14/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze caselaw cited in defendant's motion to defer / stay




                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     Tom Brett                                                                                    0.9    $550.00           $495.00                               $0.00                                     0

                                          Continue to revise draft opposition to ex parte application for OST to
                                          hear motion to defer.




                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                     0

                                          Continue to review and annotate case law cited by Defendants in mtn to
                                          stay / defer




                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                     0




                                                                                                       Page 132 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                             Page 143 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to outline opp to defs mtn to stay / defer




                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     Tom Brett                                                                                            0.5    $550.00           $275.00                               $0.00                                      0

                                          Make final revisions to opposition to ex parte application for OST




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                            0.9    $550.00             $0.00                            $495.00                                      0.9

                                          Call with J. Flanders re: strategy for drafting opposition to stay / defer
                                          motion




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Continue to outline opposition to Defendant's motion to stay / defer




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Draft to do list re: opp to def's motion to stay, and outlining next steps for
                                          Motion for Summary Judgment to do list.




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft legal argument section to opposition to motion to stay / defer




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                            1.0    $550.00           $550.00                               $0.00                                      0




                                                                                                          Page 133 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 144 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft procedural back ground to opp to motion to stay.




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                    0.7    $550.00            $385.00                                $0.00                                     0

                                          Revise ex parte application for OST to hear Defs Motion to Stay.




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                    0.6    $550.00            $330.00                                $0.00                                     0

                                          Draft legal background to opp to stay / defer




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                    0.5    $550.00            $275.00                                $0.00                                     0

                                          Review Judge Barnes order denying ex parte app.; call with D. Hunt re:
                                          the same and opp to motion to stay and schedule for next steps.




                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $55.00                                $0.00                                     0

                                          Continue to revise draft opp to mtn to stay /defer




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                    1.9    $550.00           $1,045.00                               $0.00                                     0

                                          Research case law re: retroactive effect of supreme court precedent in
                                          civil cases.




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                    0.3    $550.00            $165.00                                $0.00                                     0




                                                                                                     Page 134 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 145 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft legal argument section to opp to mtn to stay / defer




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders attaching draft opp to mtn to stay /
                                          defer.




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders and D. Hunt re: document review in prep for
                                          Motion for Summary Judgment briefing.




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Calculate LDTF opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze scouts case law re: retroactive effect of Scotus
                                          decisions.




                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Calendar call re: document review with D. Hunt.




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 135 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 146 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise opp to motion to stay / defer




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.9    $550.00           $495.00                               $0.00                                     0

                                          Conduct additional legal research re: estoppel of party to modify
                                          scheduling order where it previously agreed to deadlines / scope of
                                          discovery; incorporate into opp to motion to stay.



                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise legal background section re: waters of the United States in opp to
                                          motion to defer / stay.




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Review documents relied on by I. Wren in preparing expert report




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: opp to mtn to stay, and document review in prep
                                          for SUF




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: opposition to stay
                                          motion; organize into correspondence folder.




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 136 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                        Page 147 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: document review.




                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Search files to locate latest version of waters of the United States memo
                                          to assise with Motion for Summary Judgment briefing




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: filing of Opp to Mtn to stay / defer.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Send email to J. Flanders ad D. Hunt attaching opp to stay, declaration,
                                          and RJN




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list re: review of I. Wren documents for Motion for Summary
                                          Judgment briefing and completion of Opp to mtn to stay.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to revise opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                      0




                                                                                                          Page 137 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 148 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft decl. in support of opp to Def's mtn to stay / defer




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with D. Hunt re: I Wren document review.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft RJN for 2008 U.S. Environmental Protection Agency guidance.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: SUF and Motion for Summary Judgment prep
                                          next steps; and revisions to opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to opp to motion to stay / defer.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Research case law re: harm from additional briefing if stay is not granted
                                          and if that provides basis for stay




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                         Page 138 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 149 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise declaration in support of RJN and opp to mtn to defer / stay;
                                          Revise RJN




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: document review in prep for Motion for Summary
                                          Judgment / SUF




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue review of I. Wren documents in prep for Motion for Summary
                                          Judgment and SUF




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: most recent draft of waters of the United
                                          States memo in prep for Motion for Summary Judgment briefing.




                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow-up email to D. Hunt re: revisions to opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 139 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 150 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: revisions to opp to mtn to stay.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: filing opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders and D. Hunt re: revisions to opp to mtn to stay.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Incorporate D. Hunt revisions to opp to mtn to stay / defer




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00                               $0.00                                      0

                                          Continue to revise opp to Def's motion to defer / stay.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.5    $550.00           $275.00                               $0.00                                      0

                                          Continue to make additional revisions to opp to mtn to stay / defer




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 140 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 151 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: revisions to and time line for completing opp to
                                          mtn to stay.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Revise RJN to file concurrently with opp to mtn to stay / defer.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: opp to mtn to stay.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Revise Declaration of T. Brett in support of opp to mtn to stay / defer and
                                          RJN.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: filing opp to mtn to stay.




                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: revisions to opp to mtn to stay / defer




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                        Page 141 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                     Page 152 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Call with E. Bustos re: filing of opp to defs mtn to stay / defer.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to J. Flanders re: revisions to opp to mtn to stay.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call with E. Bustos re: filing opp to mtn to stay and revisions to TOC /
                                          TOA




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call with E. Bustos re: final revisions to opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call with E. Bustos re: missing Fed Reg cite in opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Confirm D. Hunt comments have been incorporated into opp.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                          Page 142 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 153 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: final revisions to opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise exhibits to declaration in support of opp to motion to stay.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: next steps for filing opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Send email to D. Hunt and J. Flanders re: opp to mtn to stay.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review I wren documents for inclusion in Motion for Summary Judgment
                                          / SUF




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                        1.8    $550.00           $990.00                               $0.00                                      0

                                          Incorporate D. Hunt revisions to opp to mtn to stay; revise format of opp.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                         Page 143 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 154 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue review of I Wren documents in prep for Motion for Summary
                                          Judgment / SUF




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Conduct final review of filing versions of opp to mtn to stay; conduct
                                          revisions




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Continue to review I Wren documents in prep for SUF / Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Assist E. Bustos in locating missing Fed Reg site in opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt in response to email re: incorporating edits /
                                          comments




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with E. Bustos re: citation question in opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 144 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 155 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call J. Flanders re: revisions to opp to mtn to stay.




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Follow up call with E. Bustos re: citation issue in opp to mtn to stay




                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Continue to review I. Wren expert file documents for inclusion in Motion
                                          for Summary Judgment / SUF




                   Murieta
                   Equestrian
 11/27/2022 CCKA   Center     Tom Brett                                                                                      1.3    $550.00            $715.00                                $0.00                                      0

                                          Draft task list w/r/t document review in prep for Motion for Summary
                                          Judgment and SUF and drafting I. Wren Decl.




                   Murieta
                   Equestrian
 11/28/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Complete initial document review of wren production in prep for SUF /
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
 11/28/2022 CCKA   Center     Tom Brett                                                                                      2.0    $550.00           $1,100.00                               $0.00                                      0

                                          Continue to review I Wren documents in prep for SUF / Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
 11/28/2022 CCKA   Center     Tom Brett                                                                                      0.3    $550.00            $165.00                                $0.00                                      0




                                                                                                        Page 145 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 156 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: completing Wren declaration.




                   Murieta
                   Equestrian
 11/29/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt and J. Flanders re: Motion for Summary Judgment
                                          and SUF prep.




                   Murieta
                   Equestrian
 11/30/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt re: SUF / Motion for Summary Judgment Prep




                   Murieta
                   Equestrian
  12/1/2022 CCKA   Center     Tom Brett                                                                                    1.0    $550.00           $550.00                               $0.00                                      0

                                          Compile rain data and Laguna Joaquin discharge data into spreadsheet.




                   Murieta
                   Equestrian
  12/1/2022 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Call with J. Flanders re: Motion for Summary Judgment / SUF prep




                   Murieta
                   Equestrian
  12/1/2022 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: discharge to waters of the
                                          United States violations analysis spreadsheet.




                   Murieta
                   Equestrian
  12/1/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                      Page 146 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 157 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to D. Hunt and J. Flanders re: days of discharge to
                                          waters of the United States analysis spreadsheet.




                   Murieta
                   Equestrian
  12/1/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Prep for call with D. Hunt; review SUF / Motion for Summary Judgment
                                          task list




                   Murieta
                   Equestrian
  12/1/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft I. Wren Declaration in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center     Tom Brett                                                                                       1.9    $550.00           $1,045.00                               $0.00                                     0

                                          Call with J. Flanders re: drafting I Wren declaration.




                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                     0

                                          Call J. Flanders re: drafting wren declaration.




                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft email to J. Flanders re: location of drone footage of unnamed
                                          stream on shared server.




                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                       Page 147 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 158 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze client and in firm comms re: Motion for Summary
                                          Judgment prep; organize into correspondence folder.




                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list for completing draft of Wren Decl. and SUF




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to draft I. Wren Declaration




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                   1.0    $550.00           $550.00                               $0.00                                      0

                                          Call with CH and J. Flanders re: Motion for Summary Judgment exhibit
                                          prep




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                   0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Review and analyze client and in firm comms re: Motion for Summary
                                          Judgment prep; organize into correspondence folder.




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Follow up call with CH re: Motion for Summary Judgment / SUF prep and
                                          review of documents used by Wren in prep of expert opinion.




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 148 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                              Page 159 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with CH re: Motion for Summary Judgment / SUF prep




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Review and analyze case law applying Maui factors in prep for Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                      0

                                          Call with J. Flanders re: Motion for Summary Judgment / SUF prep




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                      0

                                          Research case law applying Maui factors.




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: sig nexus briefing in Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                      0

                                          Continue to draft I. Wren Declaration




                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center     Tom Brett                                                                                         3.0    $550.00           $1,650.00                               $0.00                                      0




                                                                                                       Page 149 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                     Page 160 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue drafting declaration of I. Wren.




                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                      0

                                          Draft task list w/r/t SUF and Motion for Summary Judgment prep




                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: SUF / Motion for Summary Judgment prep
                                          and I. Wren declaration.




                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review document / exhibit pool for Motion for Summary Judgment;
                                          review SUF.




                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: declaration prep / revisions.




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Email J. Flanders and D. Hunt re: revisions to I. Wren declaration.




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                      Page 150 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 161 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise I. Wren Declaration to include citations to expert reports and
                                          useful authority.




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                    2.8    $550.00           $1,540.00                               $0.00                                      0

                                          Continue to revise I. Wren decl. in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                    0.9    $550.00            $495.00                                $0.00                                      0

                                          Email D. Hunt re: I. Wren declaration prep.




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $55.00                                $0.00                                      0

                                          Zoom meeting with D. Hunt and J. Flanders re: SUF and Motion for
                                          Summary Judgment prep.




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                    0.9    $550.00            $495.00                                $0.00                                      0

                                          Research / locate case law applying Maui factors.




                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft D. Hunt and J. Flanders follow up email re: revisions to I. Wren
                                          declaration.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                    0.1    $550.00              $0.00                              $55.00                                      0.1




                                                                                                       Page 151 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 162 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: possible revisions to I. Wren
                                          Declaration.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: possible revisions to Wren Decl.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to I Wren re: declaration draft / revisions.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise I. Wren Declaration (draft authenticating paragraphs for photos;
                                          and summarize sample locations).




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                      0

                                          Call with CH re: revisions to I Wren declaration adding descriptions of
                                          sampling locations.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with CH re: adding sample data to SUF




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 152 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 163 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders summarizing case law applying functional
                                          equivalent case law (county of Maui decision)




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to CH and J. Flanders re: drafting portions of SUF
                                          summarizing sample results.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: Motion for Summary
                                          Judgment and SUF drafting; organize into correspondence folder.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with CH re: revisions to SUF




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze comms from D. Hunt re: next steps for SUF / Motion
                                          for Summary Judgment drafting; organize into correspondence folder.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: SUF and Motion for Summary Judgment




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 153 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 164 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: county of Maui decision LR and authentication of
                                          exhibits to wren decl.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with CH re: SUF revisions.




                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise SUF to add additional facts re: re-alignment of Unnamed Stream




                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     Tom Brett                                                                                        1.2    $550.00           $660.00                               $0.00                                     0

                                          Add supporting evidence to facts in SUF re: sampling.




                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     Tom Brett                                                                                        0.9    $550.00           $495.00                               $0.00                                     0

                                          Call with J. Flanders re: SUF / Motion for Summary Judgment Revisions.




                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Review waters of the United States section of draft Motion for Summary
                                          Judgment in prep for drafting / revising SUF




                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                      Page 154 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 165 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Court's ruling denying Defs' motion to stay.




                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Review I. Wren comments / revisions to declaration; revise accordingly.




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00                               $0.00                                      0

                                          Draft follow up email to D. Hunt re: compiling exhibits for Motion for
                                          Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with D. Hunt re: numbering exhibits to Motion for Summary
                                          Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Locate and email J. Flanders map with sample locations and results from
                                          March 2021 inspection.




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt and J. Flanders re: compiling exhibits for citation in
                                          Motion for Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 155 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 166 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Call with D. Hunt re: revisions to citations in SUF / Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call D. Hunt re: next steps for completing SUF / compiling final exhibit
                                          pool




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to J. Flanders and D. Hunt re: compilation of exhibits for use
                                          in Motion for Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft comms with D. Hunt re: questions regarding compilation and
                                          naming of exhibits for use in Motion for Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to D. Hunt re: next steps for compiling exhibits for Motion for
                                          Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call with CH re: SUF / Motion for Summary Judgment revisions and
                                          ID'ing photos taken by Wren.




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                        Page 156 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 167 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: revised I. Wren declaration.




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt re: strategy for revising SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt and J. Flanders re: next steps for compiling
                                          exhibits to Motion for Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with D. Hunt to continue to compile exhibits for SUF / Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                        3.2    $550.00           $660.00                           $1,100.00                                      2

                                          Compile exhibits to Motion for Summary Judgment / SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                        1.7    $550.00           $935.00                               $0.00                                      0

                                          Continue to revise SUF (break large facts into smaller indisputable facts,
                                          and add citations to evidence in support).




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                      0




                                                                                                       Page 157 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                      Page 168 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with D. Hunt re: compiling exhibit pool for SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for revising SUF




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft comms with D. Hunt re: compilation of exhibits for SUF / Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to revise I. Wren Declaration




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                       1.2    $550.00           $660.00                               $0.00                                     0

                                          Continue to revise I. Wren Declaration.




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to I wren dec.




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                     Page 158 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 169 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with CH re: revisions to I. Wren Decl.




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise SUF; add exhibits and supporting evidence plus




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft email to D. Hunt and CH re: waters of the United States discharges
                                          spreadsheet




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to I Wren re: access to exhibits cited in Wren declaration.




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with D. Hunt re: discharge to waters of the United States
                                          spreadsheet.




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: SUF and Motion for
                                          Summary Judgment prep; organize into correspondence folder.




                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 159 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                  EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                     Page 170 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze external and in firm comms re: supplemental
                                          document production and privilege log production; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise SUF and I. Wren Decl; add cites to supporting evidence to SUF.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                   1.5    $550.00           $825.00                               $0.00                                     0

                                          Revise I. Wren Decl; add citations to Flanders Decl.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                   1.1    $550.00           $605.00                               $0.00                                     0

                                          Review all tracked changes and comments in I. Wren declaration;
                                          resolve to create clean version.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                   0.9    $550.00           $495.00                               $0.00                                     0

                                          Revise I. Wren declaration; formal photographs




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                   0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to I. Wren decl.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                    Page 160 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 171 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with CH re: revisions to I. Wren decl.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Call D. Hunt re: revisions to I. Wren declaration.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: revisions to I. Wren
                                          declaration.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with D. Hunt re: adding citations to J. Flanders decl in I. Wren decl.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: revisions to I Wren Decl.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and CH re: citation question in Wren Declaration.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 161 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                   Page 172 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with CH re: revisions to Wren Declaration




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft comms with CH re: formatting of photos in I. Wren declaration.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft I. Wren email re: declaration revisions.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with D. Hunt re: revisions to I. Wren declaration.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft task list to complete SUF / Motion for Summary Judgment




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and client comms re: drafting Motion for
                                          Summary Judgment and supporting documents; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                     Page 162 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 173 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: clean copy of declaration.




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: completing / revising exhibit
                                          pool for citation in SUF




                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0

                                          Continue revisions to I. Wren Declaration.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                      2.3    $550.00           $1,265.00                               $0.00                                     0

                                          Continue to revise I. Wren decl.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                      1.7    $550.00            $935.00                                $0.00                                     0

                                          Call with D. Hunt re: revisions to I. Wren Decl.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft comms with J. Flanders and D. Hunt re: revisions to Wren Dec.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                       Page 163 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                    Page 174 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: revisions to I Wren declaration citations.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with I. Wren re: revisions to declaration.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with J. Flanders re: revisions to SUF and I. Wren Dec.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with J. Flanders re: revisions to Wren Decl.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $55.00                                $0.00                                      0

                                          Review MPA in support of Motion for Summary Judgment for formatting
                                          issues; call E. Bustos re: the same.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                  0.4    $550.00              $0.00                             $220.00                                      0.4

                                          Populate SUF with evidence; revise formatting




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                  3.0    $550.00           $1,650.00                               $0.00                                      0




                                                                                                         Page 164 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 175 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to populate SUF with evidence.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                       1.2    $550.00           $660.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for completing SUF .




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with CH re: next steps for revisions to SUF.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms with J. Flanders re: next steps to complete SUF.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: citations to exhibit Q




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders, CH, E. Bustos, and D. Hunt re: next steps for
                                          populating SUF.




                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 165 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                        Document 189-10                                                         Page 176 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Upload Defs Motion for Summary Judgment from ECF and email to self.




                   Murieta
                   Equestrian
 12/19/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze Defendant's Motion for Summary Judgment




                   Murieta
                   Equestrian
 12/30/2022 CCKA   Center     Tom Brett                                                                                   0.8    $550.00           $440.00                               $0.00                                      0

                                          Review and annotate Ds SUF




                   Murieta
                   Equestrian
 12/30/2022 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: Motion for Summary
                                          Judgment briefing; organize into correspondence folder.




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review, analyze, and distinguish Simon v. E Ky... 426 US 26 cited by
                                          Def's in Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                   0.7    $550.00           $385.00                               $0.00                                      0

                                          Review, analyze, and distinguish Summers c. Earth Island 555 U.S. 488
                                          cited by Def's in Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                   0.7    $550.00           $385.00                               $0.00                                      0




                                                                                                    Page 166 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 177 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review, analyze, and distinguish LA v. Lyons (461 US 95) cited by Def's
                                          in Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Review and analyze case law cited by Defs in Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Review, analyze, and distinguish Hunt v. Wash States 432 US 333 cited
                                          by Def's in Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Review, analyze, and distinguish Sierra Club v. Andrus 610 F.2d 581
                                          cited by Def's in Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Review allegations re: organizational standing in Second Amended
                                          Complaint




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: work on opp to Defs' Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 167 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 178 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review, analyze and distinguish case law cited by Def in
                                          Motion for Summary Judgment.




                   Murieta
                   Equestrian
   1/3/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with MCM re: opp to defs Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/4/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Summarize and distinguish case law cited by Def in Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
   1/4/2023 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                      0

                                          Call with EAM re: drafting opp to Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/4/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list (for opp to Def's Motion for Summary Judgment)




                   Murieta
                   Equestrian
   1/4/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: time line for drafting opp to Defs Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
   1/4/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                         Page 168 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                     Page 179 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: next steps for drafting opposition to defs
                                          Motion for Summary Judgment.




                   Murieta
                   Equestrian
   1/4/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze SF Baykeeper v. Sunny Vale (other matter) Motion
                                          for Summary Judgment briefing to identify cases and argument to pull
                                          into opposition to Def's Motion for Summary Judgment.



                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                   0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Review and outline arguments of Ds Motion for Summary Judgment and
                                          brief outline of responses.




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                   0.6    $550.00           $330.00                               $0.00                                      0

                                          Begin outline of Opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                   0.4    $550.00           $220.00                               $0.00                                      0

                                          Draft legal background section on standing.




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                   0.4    $550.00           $220.00                               $0.00                                      0

                                          Begin drafting opp to Motion for Summary Judgment; format pleading
                                          and draft legal background section.




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                        Page 169 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 180 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft summary judgment legal standard section in Opp to def's Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze cases cited by Def in Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and annotate settlement statement in prep for drafting opp to
                                          Motion for Summary Judgment.




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to D. Hunt in response to email re: Opp to Def's Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review email from D. Hunt re: informational standing and respond to the
                                          same.




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 170 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 181 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to EAM re: drafting opp to Def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to review Defendant's Motion for Summary Judgment to identify
                                          cases to summarize and distinguish.




                   Murieta
                   Equestrian
   1/5/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Revise task list re: completing opp to Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft legal background section re: standing in opp to Def's Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                      0

                                          Continue to draft Opp to def's Motion for Summary Judgment; revise
                                          legal background section and draft argument section.




                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Tom Brett                                                                                    0.7    $550.00           $385.00                               $0.00                                      0

                                          Review, analyze and summarize corona clay decision.




                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                       Page 171 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 182 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue outlining opp to def's Motion for Summary Judgment.




                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $110.00                                $0.00                                      0

                                          Call with EAM re: strategy for responding to def's opp to Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Revise outline for opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/8/2023 CCKA   Center     Tom Brett                                                                                      0.7    $550.00            $385.00                                $0.00                                      0

                                          Draft task list re: completing opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Continue to draft opp to Def's Motion for Summary Judgment (injury in
                                          fact section to California Coastkeeper Alliance member's; plus revisions
                                          to legal backgrounds section and being drafting traceability section)



                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      3.1    $550.00           $1,705.00                               $0.00                                      0

                                          Review and analyze case law re: traceability requirements for standing;
                                          revise legal background section on standing.




                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      0.8    $550.00            $440.00                                $0.00                                      0




                                                                                                       Page 172 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 183 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          continue to outline and draft opp to Def's Motion for Summary Judgment.




                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      0.8    $550.00            $440.00                                $0.00                                      0

                                          Call with J. Flanders re: drafting opp to Def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $110.00                                $0.00                                      0

                                          Research case law re: traceability element of standing.




                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $110.00                                $0.00                                      0

                                          Review and analyze in firm and client comms re: opposition to Motion for
                                          Summary Judgment; organize into correspondence folder




                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft task list re: completing opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Draft section in opp to Motion for Summary Judgment re: traceability.




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                      2.0    $550.00           $1,100.00                               $0.00                                      0




                                                                                                      Page 173 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                  EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                      Page 184 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review SUF an outline traceability section of opp to Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                     1.0    $550.00           $550.00                               $0.00                                     0

                                          Review and analyze case law re: redress; outline redress argument for
                                          opp to Defendant's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                     0

                                          Research case law re: redressability.




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Revise legal background section re: redressability.




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Continue to research case law re: redressability




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Revise outline to opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                    Page 174 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 185 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: next steps for completing opp to Def's Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: plans for filing opp to Def's Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft informational injury section in opp to defs Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                         0.8    $550.00           $440.00                               $0.00                                     0

                                          Draft redress section.




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0

                                          Revise outline to informational injury argument




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                         Page 175 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 186 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                      0

                                          Continue to revise opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list re: completing draft opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for drafting opp to Def's Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/11/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to EAM re: drafting Opp to Def's Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list for revisions to opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 176 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 187 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos w/r/t uploading Defs Motion for Summary Judgment
                                          to shared (plus supporting exhibits)




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Outline revisions to opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                      0

                                          Call with EAM re: plans / next steps for revisions to opp to def's Motion
                                          for Summary Judgment




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email with EAM re: location of Def's Motion for Summary
                                          Judgment on shared.




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to revise oppn to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to revise opp to Motion for Summary Judgment.




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 177 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 188 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise Opp to Def's Motion for Summary Judgment.




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                    1.3    $550.00           $715.00                               $0.00                                     0

                                          Incorporate J. Flanders suggested revisions to opp to Def's Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                    1.0    $550.00           $550.00                               $0.00                                     0

                                          Review and summarize case law relied on by Defendant in Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise task list re: revisions to opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and organize in firm comms re: next steps for drafting opp to
                                          Def's Motion for Summary Judgment; organize into correspondence
                                          folder



                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 178 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 189 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and EAM re: revisions to opp to def's Motion
                                          for Summary Judgment.




                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft factual background; and revise injury in fact section.




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                     1.8    $550.00           $990.00                               $0.00                                     0

                                          Continue to revise opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                     1.7    $550.00           $935.00                               $0.00                                     0

                                          Distinguish / expound on Murieta Equestrian Center cites to Bothwell
                                          deposition




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                     1.4    $550.00           $770.00                               $0.00                                     0

                                          Review Def's Motion for Summary Judgment cites to Bothwell deposition
                                          and cross reference with deposition transcript.




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                     0.7    $550.00           $385.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                         Page 179 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 190 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms with J. Flanders re: revisions to opp to def's Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: next steps for completing opp to def's
                                          Motion for Summary Judgment.




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: revisions to opp to def's Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list for completing opp to Def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: revisions to opp to def's
                                          Motion for Summary Judgment; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 180 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 191 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Call with J. Flanders re: drafting second Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call with E. Bustos re: filing opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to J. Flanders and D. Hunt re: second Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft follow up comms with E. Bustos re: second Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to E. Bustos re: second Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to D. Hunt re: second Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                       Page 181 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                     Page 192 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to D. Hunt re: second Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Continue revisions to opp to Def's Motion for Summary Judgment;
                                          respond to comment / incorporate changes; check cites to record.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                    2.9    $550.00           $1,595.00                               $0.00                                      0

                                          Continue to revise opp to def's Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                    0.6    $550.00            $330.00                                $0.00                                      0

                                          Draft second declaration for Sean Bothwell.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                    0.4    $550.00            $220.00                                $0.00                                      0

                                          Draft email to client re: S. Bothwell declaration.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00            $110.00                                $0.00                                      0

                                          Call with J. Flanders re: revisions to opp to def's Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00            $110.00                                $0.00                                      0




                                                                                                      Page 182 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                      Page 193 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: revisions to Motion for Summary Judgment opp.




                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: strategy call to respond to
                                          Def's opp to California Coastkeeper Alliance Motion for Summary
                                          Judgment.



                   Murieta
                   Equestrian
  1/19/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze Defs opp to Motion for Summary Judgment.




                   Murieta
                   Equestrian
  1/20/2023 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for drafting reply to def's opp to
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/20/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review case law cited by Defendant in opp to Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/20/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze ECF notifications and in firm / client comms re:
                                          Motion for Summary Judgment and Opp to Def's Motion for Summary
                                          Judgment; organize into correspondence folder.



                   Murieta
                   Equestrian
  1/20/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                          Page 183 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 194 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list w/r/t drafting reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review and summarize case law cited by Defendant in opp to
                                          Motion for Summary Judgment.




                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Review and summarize case law cited by Defendant in opp to Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                      0

                                          Review and analyze informational requirements as part of permitting
                                          process for all Concentrated Animal Feeding Operations




                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                      0

                                          Outline informational injury section to reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/23/2023 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: Motion for Summary Judgment reply strategy.




                   Murieta
                   Equestrian
  1/24/2023 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                         Page 184 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 195 of 481
Date      Client   Matter     Staff       Description                                                           Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to outline reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/25/2023 CCKA   Center     Tom Brett                                                                                 0.7    $550.00            $385.00                                $0.00                                      0

                                          Continue to outline reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/25/2023 CCKA   Center     Tom Brett                                                                                 0.7    $550.00            $385.00                                $0.00                                      0

                                          Call with E. Bustos re: formatting pleading paper.




                   Murieta
                   Equestrian
  1/25/2023 CCKA   Center     Tom Brett                                                                                 0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft task list re: drafting reply in support of Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
  1/26/2023 CCKA   Center     Tom Brett                                                                                 0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Draft info injury section to reply in support of Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
  1/26/2023 CCKA   Center     Tom Brett                                                                                 2.4    $550.00           $1,320.00                               $0.00                                      0

                                          Continue to review reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/26/2023 CCKA   Center     Tom Brett                                                                                 0.4    $550.00            $220.00                                $0.00                                      0




                                                                                                        Page 185 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 196 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/26/2023 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                      0

                                          Continue to revise reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/27/2023 CCKA   Center     Tom Brett                                                                                          0.9    $550.00           $495.00                               $0.00                                      0

                                          Continue to draft informational injury section in reply in support of Motion
                                          for Summary Judgment




                   Murieta
                   Equestrian
  1/27/2023 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                      0

                                          Draft task list re: drafting reply in support of Motion for Summary
                                          Judgment and SUF responses




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise injury-in-fact section in reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                          1.3    $550.00           $715.00                               $0.00                                      0

                                          Continue drafting reply in support of Motion for Summary Judgment.




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                          1.0    $550.00           $550.00                               $0.00                                      0




                                                                                                         Page 186 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 197 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft Reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Revise / redline reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft causation section in reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Fill in missing citations to case law and prior opp in reply in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Outline section in reply in support of Motion for Summary Judgment
                                          responding to defendant's argument re: sham affidavit.




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          draft comms to J. Flanders re: revisions to reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 187 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 198 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: formatting and revisions to reply in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze case law cited by defendant in opp to Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  1/30/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to revise reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                       0.9    $550.00           $495.00                               $0.00                                     0

                                          Draft section in reply in support of Motion for Summary Judgment
                                          responding to Def's argument re: new waters of the United States rule




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and analyze case law re: use of expert opinion to est. undisputed
                                          facts in Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                     0




                                                                                                         Page 188 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                             Page 199 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: reply SUF




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                            0.4    $550.00           $220.00                               $0.00                                     0

                                          Research case law re: retroactive effect of regs and expert opinion to
                                          establish facts in Motion for Summary Judgment




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                            0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze case law re: retroactive effect of change in Clean
                                          Water Act regulations




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                            0.3    $550.00           $165.00                               $0.00                                     0

                                          Outline reply in support of Motion for Summary Judgment section re:
                                          newly promulgated waters of the United States regulation.




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for drafting reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze in firm email re: drafting reply SUF; organize into
                                          correspondence folder.




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 189 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                      Page 200 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: drafting / revising reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze client and in firm comms re: Def's ag. exemption
                                          argument; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft section in reply in support of Motion for Summary Judgment re: use
                                          of expert opinion to establish facts on motion for summary judgment.




                   Murieta
                   Equestrian
   2/1/2023 CCKA   Center     Tom Brett                                                                                      1.1    $550.00           $605.00                               $0.00                                     0

                                          Draft section in reply in support of Motion for Summary Judgment re:
                                          retroactive effect of new waters of the United States regulations.




                   Murieta
                   Equestrian
   2/1/2023 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze case law re: use of expert testimony to establish
                                          conclusions of law




                   Murieta
                   Equestrian
   2/1/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for revisions to reply SUF




                   Murieta
                   Equestrian
   2/1/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                            Page 190 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                   Page 201 of 481
Date      Client   Matter     Staff       Description                                                           Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: strategy for drafting reply SUF




                   Murieta
                   Equestrian
   2/2/2023 CCKA   Center     Tom Brett                                                                                 0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: citations to evidence in reply SUF




                   Murieta
                   Equestrian
   2/2/2023 CCKA   Center     Tom Brett                                                                                 0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise reply SUF




                   Murieta
                   Equestrian
   2/2/2023 CCKA   Center     Tom Brett                                                                                 0.4    $550.00           $220.00                               $0.00                                      0

                                          Continue to revise reply SUF




                   Murieta
                   Equestrian
   2/2/2023 CCKA   Center     Tom Brett                                                                                 0.3    $550.00           $165.00                               $0.00                                      0

                                          Revise citation in reply in support of Motion for Summary Judgment.




                   Murieta
                   Equestrian
   2/3/2023 CCKA   Center     Tom Brett                                                                                 0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: reply suf revisions.




                   Murieta
                   Equestrian
   2/3/2023 CCKA   Center     Tom Brett                                                                                 0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 191 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                             Page 202 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft reply SUF.




                   Murieta
                   Equestrian
   2/3/2023 CCKA   Center     Tom Brett                                                                                       2.8    $550.00           $1,540.00                               $0.00                                     0

                                          Continue to draft reply SUF




                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                       3.2    $550.00           $1,760.00                               $0.00                                     0

                                          Draft Reply SUF




                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                       0.9    $550.00            $495.00                                $0.00                                     0

                                          Call with J. Flanders re: reply SUF




                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                     0

                                          Briefly review newly filed docket entries from Def for Motion for Summary
                                          Judgment Opp




                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Review and analyze in firm comms re: next steps / plan for completing
                                          reply Motion for Summary Judgment and SUF; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                      Page 192 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 203 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: draft reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with J. Flanders re: plan for drafting reply SUF




                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0

                                          Continue to draft reply SUF




                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Tom Brett                                                                                      2.2    $550.00           $1,210.00                               $0.00                                     0

                                          Continue to draft reply SUF




                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Tom Brett                                                                                      1.1    $550.00            $605.00                                $0.00                                     0

                                          Review and analyze I. Wren deposition transcript re: 1907 map
                                          presented by Defendant; revise reply brief in support of Motion for
                                          Summary Judgment to incorporate those facts / citations.



                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Tom Brett                                                                                      0.6    $550.00            $330.00                                $0.00                                     0

                                          Call with J. Flanders re: locating I. Wren deposition testimony re: 1907
                                          USGS Map presented by Defendant




                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                       Page 193 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 204 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: Wren testimony at deposition re: Defendant's
                                          1907 map




                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $55.00                                $0.00                                      0

                                          Continue to draft reply SUF




                   Murieta
                   Equestrian
   2/8/2023 CCKA   Center     Tom Brett                                                                                    3.8    $550.00           $2,090.00                               $0.00                                      0

                                          Continue to draft SUF Reply




                   Murieta
                   Equestrian
   2/8/2023 CCKA   Center     Tom Brett                                                                                    1.1    $550.00            $605.00                                $0.00                                      0

                                          Call with J. Flanders re: revisions to SUF reply




                   Murieta
                   Equestrian
   2/8/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00            $110.00                                $0.00                                      0

                                          Locate prior replies to evidentiary objections in prior matter




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00              $0.00                             $110.00                                      0.2

                                          Revise Reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00              $0.00                              $55.00                                      0.1




                                                                                                           Page 194 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 205 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze client and in-firm comms re: Reply in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list re: next steps for reply in support of Motion for Summary
                                          Judgment / SUF




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Send California Coastkeeper Alliance intern AK operative reply SUF




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders and D. Hunt, and California Coastkeeper
                                          Alliance intern re: responding to def's evidentiary objections to SUF.




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to draft reply SUF.




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                       1.8    $550.00           $990.00                               $0.00                                      0

                                          Revise and redline reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                        Page 195 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                      Page 206 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise record cites in Reply in support of Motion for Summary Judgment.




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to reply SUF




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for drafting reply SUF




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders re: next steps for revising reply SUF.




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: authenticating Paulsen and
                                          Pearson photos.




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Call and text with J. Flanders and C. Hudak re: authenticating Paulsen
                                          photos




                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                        Page 196 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                             Page 207 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to AK (CCKA Intern) re: responding to def evidence
                                          objections to SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                            0.5    $550.00             $0.00                            $275.00                                      0.5

                                          Call with J. Flanders re: revisions to reply SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                            0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Call with CH re: authentication of photos




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list re: remaining / additional declarations to draft in support of
                                          reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to AK (intern) at California Coastkeeper Alliance re:
                                          assistance with Reply SUF.




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft responses to Defendant's evidentiary objections to SUF.




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                            1.7    $550.00           $935.00                               $0.00                                      0




                                                                                                          Page 197 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 208 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft responses to evidentiary objections in SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                       0.9    $550.00           $495.00                               $0.00                                     0

                                          Incorporate redlines and revisions to Reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for reply SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with CH re: authenticating certain photos cited in SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: defendant's objections to evidence in
                                          SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: evidentiary objection
                                          responses in Reply SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 198 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 209 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: evidentiary objections by Defendant in SUF




                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to AK (CCKA intern) re: responding to Def's objections.




                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list re: reply SUF




                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft follow up email to AK (CCKA intern) re: responding to Def's
                                          objections.




                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with AK (CCKA intern) re: revisions to objection responses.




                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for drafting / revising reply SUF and
                                          reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 199 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 210 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: drafting reply SUF and
                                          reply in support of Motion for Summary Judgment; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft comms with J. Flanders re: next steps for revising reply in support
                                          of Motion for Summary Judgment and Reply SUF




                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to citations in Reply in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: citations to reply SUF in reply in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with AK (CCKA intern) re: revisions to SUF reply




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and client comms re: drafting reply SUF and
                                          reply in support of Motion for Summary Judgment; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                          Page 200 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 211 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise Reply in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       2.2    $550.00           $1,210.00                               $0.00                                     0

                                          Continue to revise and locate citations in reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.9    $550.00            $495.00                                $0.00                                     0

                                          Revise objection responses to Reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00            $165.00                                $0.00                                     0

                                          Call with J. Flanders re: revisions to Reply in support of Motion for
                                          Summary Judgment.




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft email to CH re: compilation of additional photos that need to be
                                          authenticated.




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft email to AK (CCKA intern) re: revisions to Reply SUF




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                        Page 201 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 212 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: lack of discussion on Mr. Wren's sampling
                                          techniques in opposition.




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with AK (CCKA intern) re: revisions to reply SUF




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: completing Reply SUF and revisions to reply in support
                                          of Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call E. Bustos re: help compiling exhibits for J Brett declaration.




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: assistance compiling declaration exhibits




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and reply to email from E. Bustos re: compilation of declaration
                                          exhibits.




                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 202 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 213 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to CH re: next steps for compiling and authenticating photos
                                          cited in SUF.




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft T. Brett declaration in support of Reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                       1.3    $550.00           $715.00                               $0.00                                      0

                                          Revise / locate record cites for Reply in support of Motion for Summary
                                          Judgment.




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                       0.8    $550.00           $440.00                               $0.00                                      0

                                          Call with D. Hunt re: revisions to Reply SUF




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                      0

                                          Review Everlaw file to locate date and time meta data for photos cited in
                                          SUF.




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: revision to Reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 203 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 214 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise reply SUF




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with CH re: locating meta data for photos cited in SUF and
                                          authenticated in T. Brett Dec.




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: revisions to reply suf




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to CH re: missing information / metadata for documents cited
                                          in SUF.




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: completing Reply SUF and Reply in support of Motion
                                          for Summary Judgment




                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft declaration of S. Bothwell in support of reply Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                      Page 204 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 215 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: authenticating photos cited in SUF.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft follow up email to CH re: identification of meta data for
                                          authentication of documents in Reply SUF.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt and J. Flanders re: next steps / remaining tasks to
                                          complete before filing.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review record evidence, compile additional evidence to authenticate
                                          documents in Reply SUF, draft T. Brett declaration adding missing
                                          exhibits.



                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        1.6    $550.00           $880.00                               $0.00                                      0

                                          Complete revisions to T. Brett Dec in support of Reply Motion for
                                          Summary Judgment; incorporate cites into Reply SUF.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                      0

                                          Continue to daft T. Brett Declaration in support of Reply Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                            Page 205 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 216 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Shepardize case law re: exhibit authentication.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: declaration in support of Reply
                                          Motion for Summary Judgment.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: revisions to SUF.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft follow up email to J. Flanders and D. Hunt re: revisions to Reply
                                          SUF




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: next steps for completing reply suf and reply Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with E. Bustos re: creating unsecured version of Fritschi deposition.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 206 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 217 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with CH re: locating meta data to authenticate certain exhibits cited
                                          in SUF




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to T. Brett declaration in support of
                                          Reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with D. Hunt re: visions to Reply SUF




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to E. Bustos re: filing next plan for tomorrow (reply Motion
                                          for Summary Judgment)




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze client and in firm comms re: revisions to reply suf
                                          and reply Motion for Summary Judgment; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze D. Hunt revisions to S Bothwell dec. in support of
                                          reply Motion for Summary Judgment; upload to share point.




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 207 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 218 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: caselaw discussing
                                          authentication requirements on Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: responses to objections




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: revisions to Reply SUF and T.
                                          Brett dec in support of reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to S. Bothwell and D. Hunt re: declaration of S. Bothwell in
                                          support of Reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Finalize declaration of S. Bothwell in support of reply Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: drafting TOA / TOC for Reply in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 208 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 219 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise Reply in support of Motion for Summary Judgment
                                          TOC / TOA




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Complete revisions to Reply SUF and Reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       3.5    $550.00           $1,925.00                               $0.00                                      0

                                          Complete compilation of exhibits and finalize T. Brett declaration in
                                          support of reply Motion for Summary Judgment.




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.4    $550.00            $220.00                                $0.00                                      0

                                          Call with D. Hunt re: revisions to SUF and reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with J. Flanders re: further revisions to reply Motion for Summary
                                          Judgment and reply suf




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with D. Hunt re: revisions to reply SUF




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0




                                                                                                        Page 209 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                            Page 220 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: drafting TOC / TOA for reply in support of Motion
                                          for Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Call w/ D. Hunt re: revisions to reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to T. Brett declaration in support of
                                          reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Resolve comments from D. Hunt to T. Brett declaration in support of
                                          reply Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for filing reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: filing reply SUF and reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                          Page 210 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 221 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: next steps for filing Motion for Summary Judgment
                                          reply documents.




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with E. Bustos re: drafting TOC / TOA for reply in support
                                          of Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: cite check issue




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with E. Bustos re: filing reply Motion for Summary
                                          Judgment documents




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: revisions to reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to Reply SUF




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 211 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 222 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: revisions to reply in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: revision to reply in support of Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: Motion for Summary
                                          Judgment reply and reply SUF; organize into correspondence folder.




                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Upload Defendant's reply to shared




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review minute order taking def's Motion for Summary Judgment into
                                          consideration without oral argument.




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: Defendant's reply in support of
                                          Motion for Summary Judgment and possible need for sur reply.




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 212 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 223 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: defendant's reply brief and possible need to file
                                          sur reply.




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Review docket to determine whether we requested hearing / set hearing
                                          date; and whether defendant requested a hearing.




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: Court's minute order taking
                                          def's motion under consideration w/out hearing.




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: review and analysis of defendant's reply SUF and reply
                                          in support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze Defendant's reply brief in support of Motion for
                                          Summary Judgment




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft J. Flanders and D. Hunt re: Defendant's reply brief in support of
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 213 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 224 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Defendant's reply SUF




                   Murieta
                   Equestrian
  2/28/2023 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: State Water Resources
                                          Control Board NOV to facility; organize into correspondence folder.




                   Murieta
                   Equestrian
  5/11/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: Notice of Supplemental Authority




                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze Sackett v U.S. Environmental Protection Agency
                                          decision




                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Tom Brett                                                                                   0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft notice of supplemental authority




                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Tom Brett                                                                                   0.5    $550.00           $275.00                               $0.00                                      0

                                          Send email to J. Flanders re: notice of supplemental authority.




                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 214 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 225 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: filing supplemental authority.




                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze defendant's supplemental notice of authority




                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze client and in firm comms re: strategy for responding
                                          to defendant's notice of supplemental authority.




                   Murieta
                   Equestrian
  5/26/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to review and analyze Sackett v U.S. Environmental Protection
                                          Agency SCOTUS decision




                   Murieta
                   Equestrian
  5/29/2023 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Review and analyze minute order permitting supplemental briefing;
                                          organize ECF notice into correspondence folder.




                   Murieta
                   Equestrian
  5/31/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: prep of supplemental brief.




                   Murieta
                   Equestrian
  6/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                     Page 215 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 226 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise supplemental Sackett v U.S. Environmental
                                          Protection Agency Briefing.




                   Murieta
                   Equestrian
  6/21/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to supplemental briefing on Sackett v
                                          U.S. Environmental Protection Agency .




                   Murieta
                   Equestrian
  6/21/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and TT re: filing supplemental brief on Sackett v
                                          U.S. Environmental Protection Agency decision.




                   Murieta
                   Equestrian
  6/21/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to revise supplemental brief re: Sackett v U.S. Environmental
                                          Protection Agency




                   Murieta
                   Equestrian
  6/22/2023 CCKA   Center     Tom Brett                                                                                        1.5    $550.00           $825.00                               $0.00                                     0

                                          Revise citations in supplemental brief re: Sackett v U.S. Environmental
                                          Protection Agency




                   Murieta
                   Equestrian
  6/22/2023 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Draft email to D. Hunt re: supplemental brief on Sackett v U.S.
                                          Environmental Protection Agency




                   Murieta
                   Equestrian
  6/22/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 216 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 227 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise supplemental brief re: Sackett v U.S. Environmental
                                          Protection Agency




                   Murieta
                   Equestrian
  6/22/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: revisions to supp. brief on Sackett v U.S.
                                          Environmental Protection Agency




                   Murieta
                   Equestrian
  6/22/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email or opposing counsel re: access to admin record.




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with D. Hunt re: revisions to supplemental brief




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                      0

                                          Draft email to D. Hunt re: revisions to supplemental brief on Sackett v
                                          U.S. Environmental Protection Agency




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review local rules in ED Cal re: TOC and TOA requirements.




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 217 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                    Page 228 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: filing supplemental brief




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Text E. Bustos re: Sackett v U.S. Environmental Protection Agency
                                          citation format; teleconference with E. Bustos re: further brief edits.




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Teleconference with E. Bustos re: formatting of docket cites.




                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: order from court granting Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
  8/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze client and external comms re: court order granting
                                          Motion for Summary Judgment; organize into correspondence folder.




                   Murieta
                   Equestrian
  8/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze order granting Motion for Summary Judgment




                   Murieta
                   Equestrian
  8/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 218 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                     Page 229 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze opposing counsel comms re: meet and confer post-
                                          MSJ order in California Coastkeeper Alliance's favor; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  8/21/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for mediation / settlement.




                   Murieta
                   Equestrian
  8/24/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze opposing counsel comms re: proposed scheduling
                                          order; organize into correspondence folder.




                   Murieta
                   Equestrian
  8/25/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze opposing counsel comms re: Phase II scheduling;
                                          organize into correspondence folder.




                   Murieta
                   Equestrian
  8/28/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: dry weather inspection request




                   Murieta
                   Equestrian
  8/29/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft dry weather inspection (R. 34 request)




                   Murieta
                   Equestrian
  8/29/2023 CCKA   Center     Tom Brett                                                                                  0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                          Page 219 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 230 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: R 34 dry weather inspection request.




                   Murieta
                   Equestrian
  8/29/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze client comms re: site inspection request; organize
                                          into correspondence folder




                   Murieta
                   Equestrian
  8/30/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze client and opposing counsel comms re: R 34 site
                                          inspection request; organize into correspondence folder.




                   Murieta
                   Equestrian
  8/31/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze court Phase II scheduling order and external / in firm
                                          comms re: the same; organize into correspondence folder.




                   Murieta
                   Equestrian
   9/5/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: creating discovery plan for Phase II




                   Murieta
                   Equestrian
   9/7/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to J. Flanders re: Phase II discovery plan.




                   Murieta
                   Equestrian
  9/11/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                           Page 220 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 231 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue drafting / outlining discovery plan for Phase II




                   Murieta
                   Equestrian
  9/11/2023 CCKA   Center     Tom Brett                                                                                      1.6    $550.00           $880.00                               $0.00                                     0

                                          Begin drafting / outlining discovery plan for Phase II




                   Murieta
                   Equestrian
  9/11/2023 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Call with D. Hunt and J. Flanders re: meeting to discuss scheduling
                                          order and next steps




                   Murieta
                   Equestrian
  9/12/2023 CCKA   Center     Tom Brett                                                                                      1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: meeting to discuss scheduling
                                          order and next steps.




                   Murieta
                   Equestrian
  9/12/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Begin prepping meet and confer re: outstanding Concentrated Animal
                                          Feeding Operation and finance discovery




                   Murieta
                   Equestrian
  9/13/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: meet and confer with defendant regarding
                                          outstanding Concentrated Animal Feeding Operation-related and finance
                                          related discovery requests.



                   Murieta
                   Equestrian
  9/13/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 221 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 232 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Create phase II discovery time line.




                   Murieta
                   Equestrian
  9/15/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                      0

                                          Draft task list re: meet and confer re: phase I discovery responses.




                   Murieta
                   Equestrian
  9/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                      0

                                          Outline meet and confer letter (review prior discovery and responses) re:
                                          Phase I discovery




                   Murieta
                   Equestrian
  9/16/2023 CCKA   Center     Tom Brett                                                                                       0.8    $550.00            $440.00                                $0.00                                      0

                                          Outline, draft, and revise meet and confer letter re: defendant's
                                          production and responses to Phase I discovery requests.




                   Murieta
                   Equestrian
  9/19/2023 CCKA   Center     Tom Brett                                                                                       2.0    $550.00           $1,100.00                               $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: next steps for discovery plan




                   Murieta
                   Equestrian
  9/19/2023 CCKA   Center     Tom Brett                                                                                       1.1    $550.00            $550.00                              $55.00                                      0.1

                                          Continue to revise meet and confer re: Phase I discovery




                   Murieta
                   Equestrian
  9/19/2023 CCKA   Center     Tom Brett                                                                                       0.6    $550.00            $330.00                                $0.00                                      0




                                                                                                       Page 222 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 233 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: meet and confer on Phase I
                                          discovery responses.




                   Murieta
                   Equestrian
  9/19/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: next steps for Phase II discovery




                   Murieta
                   Equestrian
  9/19/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: discovery time line and meet and confer re: prior
                                          discovery.




                   Murieta
                   Equestrian
  9/19/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze J. Barnes informal dispute resolution procedures.




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Revise meet and confer letter re: Phase I discovery responses from
                                          defendant




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft fifth R.34 request for inspection of land and things.




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 223 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 234 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze client and in firm comms re: discovery schedule,
                                          budget, and meet and confer to Def's re: Phase I discovery responses;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze J. Barnes informal dispute resolution procedures.




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: 5th R 34 request and M&C re: Phase I discovery
                                          responses




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: meet and confer on Def's Phase I discovery
                                          responses.




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: 5th R. 34 inspection request.




                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to revise M&C letter re: Def's Phase I discovery responses.




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                       0.8    $550.00           $440.00                               $0.00                                     0




                                                                                                      Page 224 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 235 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: fifth R. 34 inspection request.




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Review, analyze, and incorporate J. Flanders's revisions to R 34 site
                                          inspection (no 5)




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with E. Bustos re: revisions to R. 34 inspection request.




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: Phase I discovery M&C Letter and Letter
                                          re: informal dispute resolution.




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm and external comms re: 5th Rule 34
                                          inspection; organize into correspondence folder




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: service of 5th R. 34 Inspection request.




                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                           Page 225 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 236 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: drafting Phase II written discovery (RFP, Set Six)




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: M&C letter on fourth R. 34 request.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms with J. Flanders re: service of meet and confer letters.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft meet and confer re: informal dispute resolution on 4th R. 34
                                          request.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                      0

                                          Finalize M&C letters re: Def's Phase I discovery responses and informal
                                          dispute resolution.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to M&C re: Phase I discovery
                                          responses.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 226 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                  Page 237 of 481
Date      Client   Matter     Staff       Description                                                        Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise M&C Re: Def's Phase I discovery responses.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                              0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise M&C re: Phase I discovery




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                              0.2    $550.00           $110.00                               $0.00                                     0

                                          Make final revisions to M&C re: Defendant's Phase I discovery
                                          responses.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                              0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: M&C re: Def's Phase I
                                          discovery responses.




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                              0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: M&C letters to Defendant




                   Murieta
                   Equestrian
  9/22/2023 CCKA   Center     Tom Brett                                                                              0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft RFP, set six




                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center     Tom Brett                                                                              1.1    $550.00           $605.00                               $0.00                                     0




                                                                                                     Page 227 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 238 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: RFP, Set Six.




                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with opposing counsel re: R. 34 site inspection




                   Murieta
                   Equestrian
  9/26/2023 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze in firm comms re: requests for production Set Six,
                                          meet and confer with opposing counsel regarding site inspection;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  9/26/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with opposing counsel re: meet and confer on site inspection.




                   Murieta
                   Equestrian
  9/26/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: failure of opposing counsel to respond to
                                          discovery M&C letters and next steps for drafting requests for
                                          production.



                   Murieta
                   Equestrian
  9/26/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: meet and confer with opposing counsel
                                          regarding site inspection.




                   Murieta
                   Equestrian
  9/26/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 228 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 239 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Meet and confer with opposing counsel re: site inspection (4th and 5th R.
                                          34 requests).




                   Murieta
                   Equestrian
  9/28/2023 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and analyze in firm comms re: site inspection dispute and scope
                                          of "production area" and revisions to RFP, Set Six; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  9/29/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise requests for production Set Six




                   Murieta
                   Equestrian
  9/29/2023 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to requests for production Set Six.




                   Murieta
                   Equestrian
  9/29/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise / continue to draft RFP, Set Six




                   Murieta
                   Equestrian
  10/2/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: revisions to RFP, Set Six.




                   Murieta
                   Equestrian
  10/2/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 229 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 240 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: defendant's time to respond to R34
                                          inspection request no. 4




                   Murieta
                   Equestrian
  10/2/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to MCM and client re: organizing call to discuss notice letter
                                          revisions.




                   Murieta
                   Equestrian
  10/2/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Review prior discovery / docket to confirm existence of stipulation re:
                                          electronic service.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00            $0.00                            $110.00                                      0.2

                                          Review and analyze in firm comms re: response to defendant's
                                          objections to 4th and 5th R. 34 inspection request and re: RFP, Set 6;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft follow up email to D. Hunt re: time for Defendant to respond to 4th
                                          R. 34 inspection request.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Confirm LD for Defendant to respond to 4th R 34 inspection request.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                        Page 230 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 241 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise RFP, Set Six.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Make final revisions to RFP, Set Six.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze Def's response to 4th and 5th R. 34 inspection
                                          request.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to RFP, Set Six




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise RFP, Set Six




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: whether parties have stipulation to consent to
                                          electronic service.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 231 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 242 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: timing for Defendant's
                                          response to R 34 inspection request.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: service of RFP, Set Six.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Begin research and analysis of waiver or objections by failure to respond
                                          to R 34 inspection request.




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to RFP, Set Six




                   Murieta
                   Equestrian
  10/3/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm and opposing counsel comms re: site
                                          inspection meet and confer and RFP, Set Six; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  10/4/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders attaching RFP, Set Six to inform document
                                          requests to event organizers at Murieta Equestrian Center




                   Murieta
                   Equestrian
  10/5/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 232 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 243 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: prep of third party subpoenas on event managers




                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer on Phase I
                                          discovery.




                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: follow up with Def on meet and confer on Phase
                                          I discovery




                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm and external comms re: meet and confer on
                                          phase I discovery and site inspection; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Telephone call with E. Bustos re: Murieta Equestrian Center subpoenas




                   Murieta
                   Equestrian
  10/6/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: written discovery on third party event managers




                   Murieta
                   Equestrian
 10/10/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 233 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 244 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: meet and confer with
                                          opposing counsel on site inspection; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
 10/10/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email to E. Bustos re: third party subpoenas (to event
                                          managers)




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt in response to question about meet and confer
                                          letter on phase I discovery.




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft attachment A to Federal Rule of Civil Procedure 45 subpoenas to
                                          event managers




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Research and analyze case law / rules re: time for production of
                                          documents pursuant to Federal Rule of Civil Procedure 45




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Meet and confer with opposing counsel re: dispute over upcoming site
                                          inspection and outstanding Phase I discovery




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                       Page 234 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 245 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: status of Attachment A to event manager
                                          Federal Rule of Civil Procedure 45 subpoenas.




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer to discuss Def's
                                          Phase I discovery.




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: event manager Federal Rule of Civil
                                          Procedure 45 subpoena.




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to client and J. Flanders re: strategy for filing Phase II Motion
                                          for Summary Judgment.




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: time and location for production of
                                          documents to include in Federal Rule of Civil Procedure 45 subpoena
                                          and re: required notice of subpoena to defendant.



                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: meet and confer with opposing counsel on
                                          dry weather site inspection.




                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 235 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                             Page 246 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: videography of site inspection and next steps for
                                          completing Federal Rule of Civil Procedure 45 subpoenas on event
                                          managers.



                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: videography for site inspection (Nov. 2023
                                          inspection).




                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with E. Bustos re: locating and ID'ing agent for service of process for
                                          event managers as well as principal place of business (for Federal Rule
                                          of Civil Procedure 45 discovery)



                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and opposing counsel comms re: discovery
                                          meet and confer process (site inspection, Phase I discovery production;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze draft third party subpoena and notice on shared




                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer / dispute resolution
                                          on site inspection.




                   Murieta
                   Equestrian
 10/13/2023 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                        Page 236 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 247 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Research and identify additional event managers to serve Federal Rule
                                          of Civil Procedure 45 subpoenas on




                   Murieta
                   Equestrian
 10/13/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: following up with opposing counsel w/r/t site
                                          inspection and Phase I discovery disputes.




                   Murieta
                   Equestrian
 10/13/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer on defendant's
                                          phase I discovery responses (CAFO and financial discovery)




                   Murieta
                   Equestrian
 10/13/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: meet and confer request to defendant
                                          over Phase I discovery responses.




                   Murieta
                   Equestrian
 10/13/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze case law discussing permissible scope of site
                                          inspections pursuant to Federal Rule of Civil Procedure 34




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                      1.4    $550.00           $770.00                               $0.00                                     0

                                          Continue to identify event participants to serve Federal Rule of Civil
                                          Procedure 45 subpoena




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                        Page 237 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 248 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft ROGs, set three and revise RFP, set seven.




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft RFP, Set Seven




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze in firm and opposing counsel comms re: site
                                          inspection meet and confer and strategy w/r/t timing for filing of Motion
                                          for Summary Judgment



                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: location business information and agent for
                                          service of process info (for event managers) on Lexis.




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: strategy for interrogatory set three
                                          (questions re: mortality)




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: interrogatory set three and
                                          requests for production set seven.




                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 238 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 249 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm, opposing counsel, and client comms re: site
                                          inspection meet and confer, event manager subpoena next steps, and
                                          proposed strategy / schedule for Motion for Summary Judgment briefing;
                                          organize into correspondence folder.


                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: assistance pulling map of Murieta Equestrian
                                          Center facility in prep for meet and confer on scope of site inspection.




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: extracted Murieta Equestrian Center facility
                                          map




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: subpoenas to event managers.




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: next steps for service of subpoenas on event
                                          managers and status of meet and confer over site inspection




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Extract Murieta Equestrian Center Facility map as part of meet and
                                          confer over scope of site inspection.




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                        Page 239 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 250 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review Proof of Service for Requests for Production 6 and calculate
                                          Def's last day to respond.




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: completing subpoenas to event managers




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos and J. Flanders re: locating address for event
                                          managers to serve subpoenas on.




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: Def's LDT respond to RFP, Set Six




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with E. Bustos re: Federal Rule of Civil Procedure 45
                                          subpoenas on event managers.




                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze further correspondence with opposing counsel re:
                                          meet and confer over site inspection; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
 10/18/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                      Page 240 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 251 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze opposing counsel comms in response to meet and
                                          confer request on 5th site inspection.




                   Murieta
                   Equestrian
 10/18/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Review opposing counsel and in firm comms re: meet and confer over
                                          site inspection and next steps for informal DR




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: service of subpoenas on event mangers.




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: revisions to Attachment A to Federal Rule of Civil
                                          Procedure 45 subpoena to event managers.




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: service of Federal Rule of Civil Procedure
                                          45 subpoena's on event managers and questions raised by EB.




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft comms to E. Bustos re: questions about service of Federal Rule of
                                          Civil Procedure 45 subpoenas to event managers.




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 241 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 252 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: service of requests for production Set Seven




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to E. Bustos re: service of RFP, Set Seven




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and revise attachment A to Federal Rule of Civil Procedure 45
                                          subpoenas to event managers.




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: revisions to requests for production set
                                          seven and interrogatory set three




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review, analyze, and revise draft requests for production Set Seven




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: 3rd party
                                          subpoena, meet and confer on site inspection, informal DR, and RFP,
                                          set seven



                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                        Page 242 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 253 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review current service list to make sure up to date.




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to Attachment A of Federal Rule of
                                          Civil Procedure 45 subpoena to event managers and strategy for next
                                          batch of subpoenas.



                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: revisions / status of Attachment A




                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: scheduling informal DR to resolve
                                          disagreements regarding November site inspection.




                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Leave voicemail with Steward Fried re: informal dispute resolution for
                                          upcoming site inspection.




                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: contacting J. Barnes to set up informal DR




                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 243 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 254 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Leave voicemail with opposing counsel (cell) re: setting time for J.
                                          Barnes informal DR




                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Follow up call wit J. Flanders re: setting up informal DR




                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze RFP, Set Seven; respond to email from E. Bustos
                                          re: the same.




                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm comms re: discovery on defendants and meet
                                          and confer / DR to resolve site inspection issues; organize into
                                          correspondence folder



                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: booking videographer for site inspection.




                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: Phase I discovery dispute




                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                        Page 244 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 255 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: scheduling informal DR with J
                                          Barnes to resolve dispute over site inspection.




                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with Real Time Legal Video re: site inspection.




                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders and D. Hunt re: Phase I written discovery meet
                                          and confer.




                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: site
                                          inspection meet and confer and Federal Rule of Civil Procedure 45
                                          subpoenas; organize into correspondence folder



                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for Phase I discovery meet and
                                          confer




                   Murieta
                   Equestrian
 10/24/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to opposing counsel re: meet and confer over defendant's
                                          Phase I discovery responses




                   Murieta
                   Equestrian
 10/24/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                      Page 245 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                      Page 256 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to court depute re: setting up informal dispute resolution
                                          (Nov. 3 site inspection)




                   Murieta
                   Equestrian
 10/24/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to court deputy and opposing counsel re: informal telephonic
                                          dispute resolution.




                   Murieta
                   Equestrian
 10/24/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: informal DR over site inspection.




                   Murieta
                   Equestrian
 10/24/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Call court deputy re: setting time for informal dispute resolution




                   Murieta
                   Equestrian
 10/24/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: booking real time legal video




                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Follow up call with real time legal video re: site inspection




                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                          Page 246 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 257 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: availability for informal DR




                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft follow up email to J. Flanders and D. Hunt re: scheduling informal
                                          DR (re: site inspection)




                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm, external, and opposing counsel comms re:
                                          informal dispute resolution regarding the Nov. 3 site inspection; organize
                                          into correspondence folder.



                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze opposing counsel, client and in firm comms re:
                                          informal DR to resolve dispute over site inspection




                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to real time legal video re: setting up videography for site
                                          inspection.




                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: meeting with videographer to discuss site
                                          inspection.




                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                         Page 247 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 258 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to opposing counsel re: follow up on proposal to resolve
                                          Phase I discovery dispute.




                   Murieta
                   Equestrian
 10/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: proposed agreement to resolve
                                          Phase I discovery dispute




                   Murieta
                   Equestrian
  11/2/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: site
                                          inspection meet and confer and Phase I discovery dispute resolution;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  11/2/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: responding to Defendant's email regarding
                                          Phase I discovery dispute.




                   Murieta
                   Equestrian
  11/2/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: defendant
                                          request for extension to respond to discovery and service dates on third
                                          part event managers: organize into correspondence folder



                   Murieta
                   Equestrian
  11/2/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: next steps for further discovery and amending
                                          scheduling order.




                   Murieta
                   Equestrian
  11/3/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 248 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 259 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and opposing counsel comms re: request for
                                          extension to respond to discovery requests, site inspection, and third
                                          party subpoenas; organize into correspondence folder.



                   Murieta
                   Equestrian
  11/3/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: next steps for discovery on defendant and
                                          motion to amend scheduling order.




                   Murieta
                   Equestrian
  11/3/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Draft follow up email to opposing counsel re: Phase I discovery dispute




                   Murieta
                   Equestrian
  11/3/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list re: drafting PMQ deposition notice and further discovery




                   Murieta
                   Equestrian
  11/6/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and opposing counsel comms re: Federal
                                          Rule of Civil Procedure 45 3rd party subpoenas and Phase I discovery
                                          dispute; organize into correspondence folder.



                   Murieta
                   Equestrian
  11/6/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email to opposing counsel re: Phase I discovery dispute.




                   Murieta
                   Equestrian
  11/6/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 249 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 260 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: strategy / next steps for re-propounding
                                          discovery and noticing PMQ deposition notice.




                   Murieta
                   Equestrian
  11/7/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to E. Bustos re: service of Federal Rule of Civil Procedure 45
                                          subpoenas on event organizers and tracking the same.




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft Interrogatories, Set 3




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                      0

                                          Outline key dates for completing discovery and collecting info necessary
                                          for Motion for Summary Judgment




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                      0

                                          Draft RFP, Set eight




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: strategy for next discovery steps and for motion
                                          to amend scheduling order.




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 250 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 261 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: written discovery drafts.




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to J. Flanders Re: PMQ deposition notice and
                                          comms with opposing counsel re: the same.




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to J. Flanders re: notice period in ED Cal for motion
                                          for leave to amend




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up comms with J. Flanders re: next steps for meet and
                                          confer on motion for leave to amend scheduling order




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: PMQ deposition notice and comms to
                                          opposing counsel re: the same.




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to E. Bustos re: Federal Rule of Civil Procedure 45
                                          subpoenas on third party event organizers




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 251 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 262 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: comms with opposing counsel about
                                          service status of Federal Rule of Civil Procedure 45 subpoenas (event
                                          managers)



                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: current key discovery and
                                          motion dates




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft task list re: motion for leave to amend and PMQ deposition notice




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: ROGs, Set Three.




                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Send updated calendar invite re: Def's LD to serve requests for
                                          production set six responses.




                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm comms re: plan for next discovery and motion
                                          practice; organize into correspondence folder




                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                      Page 252 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 263 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft PMQ deposition notice




                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Tom Brett                                                                                         1.3    $550.00           $715.00                               $0.00                                      0

                                          Begin review of U.S. Environmental Protection Agency guidance on
                                          relatively permanent definition




                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: Draft PMQ deposition notice.




                   Murieta
                   Equestrian
  11/9/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with MCM re: strategy for determining whether insurance limit of D
                                          has been reached.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: possibility of serving Federal Rule of Civil
                                          Procedure 45 subpoenas on Defendant's insurance co




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: service of RFP, set eight and start for
                                          tracking next steps.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                          Page 253 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 264 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to outline key dates / next steps in master case list.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00                               $0.00                                     0

                                          Continue to revise RFP, Set Eight




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                     0

                                          Compile, review, and analyze expert reports re: econ benefit from prior
                                          actions.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Outline motion for leave to amend scheduling order




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Review PMQ deposition notice.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders re: strategy for requesting financial information
                                          in requests for production




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 254 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 265 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Incorporate J. Flanders revisions to definitions in 30(b)(6) deposition
                                          notice.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to PMQ deposition notice and next
                                          steps for serving.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: deadlines for defendant to respond to
                                          certain written discovery; revise calendared deadlines of the same.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: next steps for completing RFP, Set Eight, contacting
                                          expert, and moving to amend scheduling order.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm and opposing counsel comms re: amending
                                          scheduling order, requests for production / interrogatory revisions / key
                                          dates and remaining tasks in case; organize into correspondence folder.



                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: finance requests for production, and
                                          contacting econ experts.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 255 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 266 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise RFP, Set Eight.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Revise RFP, Set Eight




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to J. Flanders re: requesting financial information in
                                          RFP, set eight




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email re: agreement for electronic service with opposing counsel




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: next steps for service of PMQ deposition /
                                          date for deposition




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: inclusion of definition of forage in ROG, Set
                                          Three.




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 256 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                             Page 267 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: setting up call to discuss strategy / time line
                                          for next discovery and deliverables




                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: proposal to opposing counsel
                                          regarding amendments to scheduling order.




                   Murieta
                   Equestrian
 11/14/2023 CCKA   Center     Tom Brett                                                                                            0.7    $550.00           $385.00                               $0.00                                     0

                                          Call with D. Hunt re: strategy for amending scheduling order / seeking
                                          stipulation with opposing counsel re: the same.




                   Murieta
                   Equestrian
 11/14/2023 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for filing motion to amend scheduling
                                          order




                   Murieta
                   Equestrian
 11/14/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: draft comms to opposing counsel regarding
                                          amending scheduling order




                   Murieta
                   Equestrian
 11/14/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze opposing counsel and in firm comms re: scheduling
                                          PMQ deposition and meet and confer over motion for leave to amend
                                          scheduling order; organize into correspondence folder.



                   Murieta
                   Equestrian
 11/14/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 257 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                          Page 268 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: motion to amend scheduling
                                          order




                   Murieta
                   Equestrian
 11/14/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: amending scheduling order




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Make final revisions to RFP, Set Eight.




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm, opposing counsel, and client comms re:
                                          RFP, set 8, 3rd party subpoenas, and offer to amend scheduling order;
                                          organize into correspondence folder



                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: completing and serving RFP, Set Eight




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: proposal to amend scheduling
                                          order




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                     Page 258 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 269 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise RFP, Set Eight




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up comms to J. Flanders re: offer to amend schedule to
                                          opposing counsel




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: comms with opposing counsel regarding
                                          amending scheduling order.




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Send D. Hunt link to current scheduling order.




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: next discovery steps (PMQ, additional Federal Rule of
                                          Civil Procedure 45 subpoenas on third parties) and motion to amend
                                          scheduling order.



                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos and J. Flanders re: service of Federal Rule of
                                          Civil Procedure 45 subpoena on Fox Farms




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 259 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 270 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt in response to comms regarding scheduling order.




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to E. Bustos re: service of RFP, Set Eight




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft follow up email to D. Hunt re: proposal to opposing counsel w/r/t
                                          amending the scheduling order.




                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: notice of
                                          PMQ depo; organize into correspondence folder




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: where to make location of second PMQ
                                          depo




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: motion to amend scheduling order and PMQ
                                          deposition notice




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 260 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                     Page 271 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise 2nd PMQ notice and draft Proof of Service for the same




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                  0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft email to opposing counsel serving PMQ deposition notice and
                                          requesting meet and confer re: the same.




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                  0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: setting date for PMQ
                                          deposition




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: scheduling PMQ deposition
                                          notice.




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: scheduling meet and confer with
                                          opposing counsel over PMQ deposition notice.




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: contacting expert witness.




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 261 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 272 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review opposing counsel comms re: availability for PMQ deposition.




                   Murieta
                   Equestrian
 11/16/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Begin compiling documents for Shefftz (Econ expert, Phase II)




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Prepare for call with J Schefftz re: consulting




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call MCM re: econ expert out reach




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: compiling documents for expert review.




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J Shefftz re: compilation of documents for review in prep
                                          for drafting expert report.




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 262 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 273 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: next steps for econ expert
                                          report




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Schefftz re: prep of expert report




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with J. Shefftz re: consulting work




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm, client, and expert comms re: expert
                                          economic report; organize into correspondence folder




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: retaining expert witness.




                   Murieta
                   Equestrian
 11/17/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze D prior production to identify materials to provide to
                                          expert




                   Murieta
                   Equestrian
 11/20/2023 CCKA   Center     Tom Brett                                                                                       1.1    $550.00           $605.00                               $0.00                                     0




                                                                                                       Page 263 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 274 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Begin review and analysis of schefftz expert report in CSI




                   Murieta
                   Equestrian
 11/20/2023 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze Federal Rule of Civil Procedure 30 meet and confer
                                          requirements.




                   Murieta
                   Equestrian
 11/20/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: meet and confer over PMQ
                                          deposition and amendment to scheduling order.




                   Murieta
                   Equestrian
 11/20/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: Phase II econ report




                   Murieta
                   Equestrian
 11/20/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Upload def's requests for production set 6 and 7 responses and
                                          production.




                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to opposing counsel re: meeting and conferring over PMQ
                                          deposition notice and proposal to amend the schedule




                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                   0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                       Page 264 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 275 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and analyze Shefftz expert report




                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for compiling information /
                                          documents to provide to expert; and response to opposing counsel's
                                          email regarding meeting and conferring over proposed amendment to
                                          schedule and PMQ deposition.


                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze opposing counsel comms re: defendant's responses
                                          to RFP, Sets 6 and 7; organize into correspondence folder.




                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Finalize and send email to opposing counsel re: meet and confer w/r/t
                                          PMQ notice and amendments to scheduling order.




                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: follow up meet and confer with
                                          opposing counsel regarding PMQ deposition and M&C w/r/t proposed
                                          amendment to schedule.



                   Murieta
                   Equestrian
 11/21/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Create calendar invite for meet and confer over PMQ and scheduling
                                          order; send to opposing counsel, J. Flanders, and D. Hunt




                   Murieta
                   Equestrian
 11/22/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                      Page 265 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 276 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Paulsen expert report re: drainage area / runoff
                                          volume from facility; annotate and compile to folder to provide to Ian
                                          Wren.



                   Murieta
                   Equestrian
 11/22/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze prior production to identify documents evidencing
                                          cost of Best Management Practices




                   Murieta
                   Equestrian
 11/22/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list re: next steps for responding to defendant objections to
                                          PMQ deposition notice and requests for production, and preparing
                                          documents for expert witness.



                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and organize documents to provide to econ consultant and I.
                                          Wren (BMP report); upload to shared.




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze defendant document production in response to
                                          requests for production Set 6




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                      0

                                          Draft Phase II task list / work plan




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                        Page 266 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 277 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review prior production from Defendant to provide to Shefftz
                                          as part of expert report.




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze defendant responses to RFP, Sets 6 and 7




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Investigate and identify potential storm water contractors / construction
                                          companies to cost out BMP implementation at Facility.




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Begin drafting meet and confer regarding defendant's objections to RFP,
                                          Sets 6 & 7




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze West Coast Equestrian Foundation Federal Rule of
                                          Civil Procedure 45 subpoena responses and production




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: M&C with opposing counsel to discuss
                                          amending schedule and PMQ deposition notice




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 267 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 278 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to opposing counsel re: responses to RPF, Set Six.




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders re: work plan / project outline spreadsheet.




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to compile documents to provide to J. Shefftz




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: meet and confer with opposing counsel
                                          regarding amending schedule and PMQ depo




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: review of document file to send to J. Shefftz.




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: revisions to PMQ notice, meet and confer letter on
                                          requests for production sets six and seven, next steps for providing info
                                          to Econ Expert



                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 268 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 279 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: third party production (W.
                                          Coast Equestrian Foundation) pursuant to Federal Rule of Civil
                                          Procedure 45 subpoena.



                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email to J. Flanders re: meet and confer with opposing
                                          counsel regarding amending schedule




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Listen and summarize voicemail from J. Flanders re: revisions to PMQ
                                          deposition notice and schedule for motion for leave to amend;




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: meet and confer and document production




                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: scheduled PMQ deposition.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft meet and confer re: Def's responses to requests for production set
                                          six and seven




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                      1.3    $550.00           $715.00                               $0.00                                      0




                                                                                                       Page 269 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 280 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to locate and identify contractors for BMP construction at
                                          facility and to provide cost estimate for BMP installation.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for PMQ depo, requests for
                                          production meet and confer, and leave to amend scheduling order




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for comms with expert witness (econ),
                                          meet and confer letter in response to defendant's requests for production
                                          responses etc.



                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                     0

                                          Complete revisions to PMQ definitions for "animal confinement" "raw
                                          materials storage areas" and "manure storage areas"




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J Shefftz re: preparation of expert report (provide
                                          compilation of materials, and tee up next steps)




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Review prior discovery definitions of confinement; revise 2nd PMQ
                                          deposition definitions




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                        Page 270 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 281 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: potential firms / consultants to provide
                                          estimates for stormwater BMP construction at the Facility.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: revised PMQ definitions.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze Let's Show production in response to Federal Rule
                                          of Civil Procedure 45 subpoena.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Call E. Bustos re: setting up remote PMQ depo




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Shefftz re: time line / schedule for completion of expert report.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: Let's Show production in response to
                                          Federal Rule of Civil Procedure 45 subpoena.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 271 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 282 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and co-counsel comms re: expert report prep,
                                          Federal Rule of Civil Procedure 45 subpoena responses, and meet and
                                          confer re: RFP, Sets six and seven; organize into correspondence folder.



                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: materials provided to econ expert, and def's
                                          document production in response to RFP, Set Six




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Shefftz re: compiled materials for review and prep of
                                          econ report.




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Calculate Defendant's LD to Respond to requests for production Set
                                          Eight and calendar date




                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Revise / update project outline




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: locating firms to cost out BMP
                                          implementation at Facility.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                          Page 272 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 283 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft meet and confer over requests for production sets 6 and 7




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                       1.6    $550.00           $880.00                               $0.00                                     0

                                          Revise Meet and Confer re: requests for production Sets 6 and 7




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                     0

                                          Continue to identify contractors to provide cost estimates for BMP
                                          construction




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft finance 30(b)(6) PMQ deposition notice.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze CFR requirements for Concentrated Animal Feeding
                                          Operations governed by NPDES permit.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Continue to identify and assess construction / stormwater consultants to
                                          cost out / provide cost estimates for BMP implementation at the Facility.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                      Page 273 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 284 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: finance PMQ deposition notice.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: locating contractor to cost out BMP
                                          implementation.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: revisions to PMQ deposition notice




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: drafting J. Flanders declaration in support of
                                          motion for leave to amend schedule




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Revise task list re: completing PMQ (finance) notice and RFP, set 6 and
                                          7 meet and confer, and outlining CFR and WDR remedies




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for meet and confer on RPF sets 6
                                          and 7, finance PMQ depo, and analysis of remedies (CFR and WDR
                                          requirements).



                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 274 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 285 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: next steps for completing M&C re: requests for
                                          production sets 6 and 7, motion for leave to amend schedule, and de-
                                          designating confidential documents.



                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: meet and confer draft re: requests for
                                          production sets 6 & 7




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: finance deposition notice.




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: time for defendant to respond to ROG, Set
                                          Three




                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review, analyze, and summarize permit application, BMP, and nutrient
                                          management plan requirements for Concentrated Animal Feeding
                                          Operations



                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                    1.7    $550.00           $935.00                               $0.00                                     0

                                          Continue to review and analyze region 2 WDR Concentrated Animal
                                          Feeding Operation requirements




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                       Page 275 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                        Page 286 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Begin review and analysis of Region 2 Concentrated Animal Feeding
                                          Operation WDR




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and revise declaration in support of motion for leave to amend
                                          scheduling order.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                   0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze facility and surrounding parcel ownership
                                          information; compile / copy to CAFP PMQ deposition exhibits.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                     0

                                          Revise M&C letter re: RFP, Sets 6 and 7




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for Concentrated Animal Feeding
                                          Operation PMQ depo, CFR / WDR Concentrated Animal Feeding
                                          Operation requirements, locating consultant to estimate BMP
                                          implementation costs.


                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise Finance PMQ deposition notice




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                     Page 276 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 287 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to J. Flanders re: RFP, Sets 6 and 7 meet and
                                          confer.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm comms re: ID'ing contractors to cost out BMP
                                          implementation, PMQ deposition notice, motion for leave to amend
                                          scheduling order; organize into correspondence folder.



                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer over RFP, Sets 6 &
                                          7




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: finance PMQ deposition notice.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: review of WDR requirements for Concentrated Animal
                                          Feeding Operations and comparison to CFR requirements; review of
                                          process for de-designating confidential documents per protective order;
                                          and completing finance PMQ deposition notice.


                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to E. Bustos re: scheduling call to discuss drafting
                                          J. Flanders declaration in support of motion for leave to amend schedule.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                      Page 277 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 288 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: J. Flanders Decl in support of motion for leave to
                                          amend scheduling order.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: WDR Region 2 Concentrated Animal
                                          Feeding Operation requirements and Sonoma Horse Park nutrient
                                          management plan



                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: additional potential contractors to provide
                                          BMP cost estimates.




                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Update project outline




                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review and analyze Concentrated Animal Feeding Operation
                                          WDR requirements; compare with CFR requirements; summarize in
                                          spreadsheet



                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                        1.6    $550.00           $880.00                               $0.00                                      0

                                          Review and analyze Murieta Equestrian Center production to pull
                                          expenditures on Best Management Practices to provide to expert




                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                        1.4    $550.00           $770.00                               $0.00                                      0




                                                                                                         Page 278 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 289 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze protective order and procedures for de-designating
                                          as confidential.




                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to finance PMQ deposition notice.




                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: summary of and comparison of
                                          Concentrated Animal Feeding Operation CFR and WDR requirements.




                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to review and analyze prior Murieta Equestrian Center
                                          production to pull documents to provide to expert witness (econ)




                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                    1.1    $550.00           $605.00                               $0.00                                     0

                                          Continue to review and analyze prior Murieta Equestrian Center
                                          production to pull documents to provide to expert witness (econ)




                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                     0

                                          Revise 3rd PMQ deposition notice; draft POS




                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                      Page 279 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 290 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to opposing counsel re: 3rd PMQ notice




                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email to D. Hunt re: review and revisions to PMQ
                                          deposition notice(finance)




                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: review and revisions to PMQ deposition notice
                                          (finance)




                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: completing review of prior production (compiling expert
                                          file), continue to locate / identify contractor to provide BMP cost estimate,
                                          and next steps for following up on discovery (RFP 6 and 7, and Federal
                                          Rule of Civil Procedure 45 subpoenas)


                   Murieta
                   Equestrian
  12/4/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Revise task list re: further comms with econ expert / prepping expert file




                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review, analyze, and compile documents for econ expert




                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Tom Brett                                                                                           1.3    $550.00           $715.00                               $0.00                                      0




                                                                                                         Page 280 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 291 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze prior production to pull documents to provide to
                                          econ expert.




                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for completing review of documents
                                          to provide to expert, locating BMP contractor to provide cost estimates
                                          etc.



                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to opposing counsel re: meet and confer over PMQ
                                          deposition notice




                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Create calendar invite to opposing counsel for meet and confer re: PMQ
                                          deposition notice.




                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze Federal Rule of Civil Procedure 45 third party (west
                                          palms) production re: horse count




                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: third party (west palms)
                                          production re: horse count




                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 281 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 292 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and opposing counsel comms re: 3rd PMQ
                                          deposition notice meet and confer, 2nd PMQ deposition prep / dates;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  12/6/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze financial documents located / pulled from Everlaw to
                                          provide to econ expert.




                   Murieta
                   Equestrian
  12/7/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and analyze client, in firm, and external comms re: preparation of
                                          expert report (econ); organize into correspondence folder.




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review and analyze Federal Rule of Civil Procedure
                                          requirements of expert witness to file expert report and opportunity to
                                          supplement report; summarize findings in email to J. Flanders and D.
                                          Hunt.


                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                      0

                                          Review and analyze Federal Rule of Civil Procedure requirements of
                                          expert witness to file expert report and opportunity to supplement report.




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for preparing expert report.




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 282 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                      Page 293 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft summary of call with J Shefftz




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to D. Hunt re: Shefftz expert report.




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Prep for call with J. Shefftz re: expert report.




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Shefftz re: prep of expert report and strategy to calculate
                                          economic benefit




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer on RFP, Sets 6 and
                                          7




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Compile materials and report from prior Concentrated Animal Feeding
                                          Operation matter provided by Shefftz; upload to shared.




                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 283 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 294 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and opposing counsel comms re: defendant's
                                          responses to discovery responses; organize into correspondence folder




                   Murieta
                   Equestrian
 12/11/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: call with Water Quality expert to discuss
                                          BMP implementation




                   Murieta
                   Equestrian
 12/11/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with R. Horner re: expert services.




                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Review, analyze and annotate Defendant's responses and objections to
                                          ROG, Set Three




                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze in opposing counsel, firm and external comms re:
                                          Concentrated Animal Feeding Operation PMQ deposition and
                                          Defendant's responses to ROG, set 3; organize into correspondence
                                          folder.


                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders Re: finance PMQ meet and confer with Murieta
                                          Equestrian Center




                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 284 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 295 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: PMQ deposition meet and confer prep, and next steps
                                          for RFP, sets 6 & 7, and ROG, set 3 meet and confer.




                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Meet and confer with opposing counsel on PMQ deposition notice and
                                          RFP, Sets 6 and 7




                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Tom Brett                                                                                        0.7    $550.00           $385.00                               $0.00                                      0

                                          Prep for meet and confer with opposing counsel re: finance PMQ
                                          deposition notice




                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                      0

                                          Call with J. Flanders re: PMQ deposition prep.




                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and analyze opposing counsel and in form comms re: meet and
                                          confer of requests for production and third PMQ notice, and interrogatory
                                          set three verification; organize into correspondence folder; organize into
                                          correspondence folder


                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Upload documents to planet deposition for use at PMQ deposition (video
                                          of site inspection)




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                      Page 285 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 296 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: review of video from site inspection to
                                          locate video of horses eating for use in deposition.




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Review and analyze supplemental production provided by opposing
                                          counsel




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                    1.9    $550.00           $1,045.00                               $0.00                                      0

                                          Attend Concentrated Animal Feeding Operation PMQ deposition




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                    1.0    $550.00            $550.00                                $0.00                                      0

                                          Review and analyze video from November site inspection to identify
                                          video showing horses feeding.




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                    0.6    $550.00            $330.00                                $0.00                                      0

                                          Call with D. Hunt re: strategy for review of supplemental production
                                          provided by opposing counsel




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                    0.3    $550.00            $165.00                                $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: deposition prep




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                    0.3    $550.00            $165.00                                $0.00                                      0




                                                                                                      Page 286 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 297 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: strategy for review of
                                          supplemental document production.




                   Murieta
                   Equestrian
 12/14/2023 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Upload supplemental production from Defendant's in response to RFP,
                                          sets 6 to shared server




                   Murieta
                   Equestrian
 12/15/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and opposing counsel comms re: Defendant
                                          document production and PMQ deposition (CAFO 30(b)(6)); organize
                                          into correspondence folder



                   Murieta
                   Equestrian
 12/15/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: next steps for meeting and conferring w/r/t def's
                                          discovery responses (ROG, set three and RFP, set eight), and review of
                                          shefftz materials on prior Concentrated Animal Feeding Operation
                                          matter.


                   Murieta
                   Equestrian
 12/15/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze opposing counsel comms re: request for extension
                                          to respond to RFP, set 8 and Defendant's discovery requests; organize
                                          into correspondence folder



                   Murieta
                   Equestrian
 12/18/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to E. Bustos and J. Flanders re: Def's interrogatories set two
                                          and requests for admission set one




                   Murieta
                   Equestrian
 12/20/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 287 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 298 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze opposing counsel comms re: RFP, set 8 responses
                                          and production; organize into correspondence folder.




                   Murieta
                   Equestrian
 12/20/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: communications with opposing counsel
                                          w/r/t RFP, set 8 production and finance PMQ deposition timing.




                   Murieta
                   Equestrian
 12/27/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: date for 30(b)(6) deposition (finance)




                   Murieta
                   Equestrian
 12/27/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: document production in response to
                                          RFP, Set 8




                   Murieta
                   Equestrian
 12/27/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: scheduling finance PMQ deposition.




                   Murieta
                   Equestrian
 12/29/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to opposing counsel re: 30(b)(6) deposition schedule




                   Murieta
                   Equestrian
 12/29/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 288 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 299 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze order granting motion for leave to amend scheduling
                                          order.




                   Murieta
                   Equestrian
 12/29/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and opposing counsel comms re: motion for
                                          leave to amend scheduling order, PMQ for finance deposition schedule,
                                          RPF, Set 8 production; organize into correspondence folder.



                   Murieta
                   Equestrian
 12/29/2023 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to draft deposition outline and review documents produced by
                                          defendant




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                    1.6    $550.00           $880.00                               $0.00                                     0

                                          Review Murieta Equestrian Center financial production in prep for
                                          30(b)(6) deposition.




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                    1.1    $550.00           $605.00                               $0.00                                     0

                                          Continue to review documents produced by defendant in prep for depo




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                     0

                                          Call with J. Flanders re: Finance 30(b)(6) deposition prep




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 289 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 300 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: deposition prep and outline.




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders and D. Hunt re: finance deposition duration.




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm comms re: finance 30(b)(6) deposition prep
                                          and scheduling




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to E. Bustos re: scheduling deposition reporter.




                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list to completing deposition prep.




                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: assistance with document review for deposition
                                          prep.




                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 290 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 301 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: deposition prep and document review.




                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Continue to review and analyze defendant document production in prep
                                          for 30(b)(6) deposition.




                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: 30(b)(6)
                                          deposition prep; Defendant's discovery responses (RFP, set 8), and
                                          Plaintiff's response to Def's discovery requests; organize into
                                          correspondence folder.


                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Call with MCM re: deposition prep




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00              $0.00                             $110.00                                      0.2

                                          Draft email to opposing counsel re: deposition logistics and scheduling.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Draft deposition outline and prep for deposition




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                      3.3    $550.00           $1,815.00                               $0.00                                      0




                                                                                                      Page 291 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 302 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue deposition prep.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Call with J. Shefftz re: deposition prep and documents to ask questions
                                          regarding.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Follow up call with J. Shefttz re: questions to ask at deposition.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders and D. Hunt re: deposition prep




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: deposition prep.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: deposition time line and stipulation as
                                          to authenticity of documents.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 292 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 303 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: deposition prep




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with E. Bustos re: uploading exhibits for deposition tomorrow.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with J. Flanders re: deposition prep and convo with econ expert.




                   Murieta
                   Equestrian
   1/4/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                     0

                                          Attend deposition (Velez - Finance 30(b)(6))




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                   3.0    $550.00           $1,650.00                               $0.00                                     0

                                          Prep for depo




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                   0.6    $550.00            $330.00                                $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer over requests for
                                          production responses and data stored in Murieta Equestrian Center
                                          QuickBooks re: BMP cost.



                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                   0.6    $550.00            $330.00                                $0.00                                     0




                                                                                                       Page 293 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 304 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Prep for deposition.




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft email to J. Shefftz re: finance documents produced by Defendant in
                                          response to RFP, Set 8




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: deposition and next steps.




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Follow up call with D. Hunt re: deposition




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm, opposing counsel and external comms re:
                                          Velez deposition strategy and scheduling; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: comms with opposing counsel
                                          regarding production of QuickBooks data as supplement to requests for
                                          production .



                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 294 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 305 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to planet deposition re: transcript copy and exhibits.




                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders and E. Bustos re: service of subpoena on
                                          CAW




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders attaching topographic map prepared by
                                          thunder mountain for use by T. Simpson




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: locating documents for expert (T.
                                          Simpson)




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft task list re: next steps for assisting with / coordinating expert
                                          reports.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: next steps for expert report prep, and time line
                                          for future discovery, motion for leave to amend, and Motion for Summary
                                          Judgment



                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                          Page 295 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 306 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to opposing counsel re: production of additional documents
                                          showing expenditures on BMPs.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Attempt to locate in Def's production info on rates paid to Rancho
                                          Murieta Community Services District for sanitary sewer.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: extension of time to respond to
                                          discovery requests.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Shefftz re: expert report preparation.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: following up with opposing counsel w/r/t
                                          requesting additional summary / documents showing BMP expenditures.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze comms with expert re: financial production from
                                          defendant; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 296 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 307 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: responses to Def's discovery responses.




                   Murieta
                   Equestrian
  1/10/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Begin research into time limit for consideration of economic benefit for
                                          Clean Water Act penalties.




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Compile drone footage of Murieta Equestrian Center to provide to T.
                                          Simpson; email T. Simpson re: the same




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Draft task list re: next steps for assisting with expert reports




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft follow up email to T. Simpson re: document access / materials for
                                          expert report.




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review Def document production and Rancho Murieta Community
                                          Services District Code for information on rates paid by defendant for
                                          sanitary sewer service.



                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                      0




                                                                                                             Page 297 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 308 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft expert disclosures




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for completion of expert reports.




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Call with J. Schefftz re: info needed from T. Simpson to complete expert
                                          report.




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: non-residential sanitary sewer rates.




                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm, opposing counsel, expert, and client comms
                                          re: defendant's discovery requests, prep of expert report, remedies
                                          briefing; organize into correspondence folder.



                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze case law discussing timeframe for calculating
                                          economic benefit under Clean Water Act penalty factors.




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                        Page 298 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 309 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze image outlining proposed production areas for T.
                                          Simpson expert report




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with T. Simpson re: prep of expert report.




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                    1.4    $550.00           $770.00                               $0.00                                      0

                                          Review and analyze Federal Rule of Civil Procedure 45 and 30 notice
                                          requirements for notice of deposition on other parties.




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                      0

                                          Review and analyze corona clay remedies order




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Review permitted Concentrated Animal Feeding Operation facilities in
                                          prep for call with T. Simpson




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: prep for call with T. Simpson and service of
                                          subpoena on CAW




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00            $55.00                             $55.00                                      0.1




                                                                                                        Page 299 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 310 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Schefftz re: expert report prep




                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and E. Bustos re: Federal Rule of Civil
                                          Procedure 45 provisions governing notice to opposing counsel / notice
                                          requirements.



                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Research and analyze case law discussing need to respond to
                                          interrogatories exceeding numeric limit.




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                   0.9    $550.00           $495.00                               $0.00                                     0

                                          Continue to draft / revise RFAs




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                   0.7    $550.00           $385.00                               $0.00                                     0

                                          Revise requests for admission responses




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for discovery responses




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                       Page 300 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 311 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: requests for admission draft.




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: next steps for coordinating with econ expert and
                                          responding to defendant discovery.




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to D. Hunt re: responses to RFA, Set One.




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: responses to Def's RFA, Set One.




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to RFAs, Set One




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up email to J. Flanders and D. Hunt re: response to ROGs,
                                          set three




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 301 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 312 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and D. Hunt re: response to ROGs, set three.




                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in form and external comms re: responses to Def
                                          discovery, prep of expert reports, and service of subpoena on CAW;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  1/17/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: expert reports and discovery responses




                   Murieta
                   Equestrian
  1/17/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: cost of compliance estimates from T.
                                          Simpson and providing those to J. Shefftz.




                   Murieta
                   Equestrian
  1/17/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call J. Schefftz re: econ benefit calculations




                   Murieta
                   Equestrian
  1/17/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: assumptions to provide J. Shefftz
                                          for prep of expert report; and discovery responses.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $220.00                            $110.00                                      0.2




                                                                                                      Page 302 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                 Page 313 of 481
Date      Client   Matter     Staff       Description                                                          Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: prep of econ expert report and estimate
                                          timeline for implementation of compliance measures.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt re: prep of expert report.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                0.1    $550.00            $55.00                               $0.00                                      0

                                          Leave voicemail with Tim Simpson to discuss expert report.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft responses to ROGs, Set Two




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                1.5    $550.00           $825.00                               $0.00                                      0

                                          Continue to draft responses to RFP, Set one




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                0.6    $550.00           $330.00                               $0.00                                      0

                                          Call with J. schefftz re: prep of expert report.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                       Page 303 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 314 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Compare table prepared by J. Shefftz re: econ benefit with T. Simpson
                                          table re: construction costs to ensure that figures align




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: interrogatory responses.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm, client, and external comms re: completion of
                                          expert reports, and responses to Defendant's discovery requests;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: expert report / recurring costs of
                                          compliance.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with T. Simpson re: estimates of O&M / ongoing costs.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: follow up comms with J. Schefftz on expert
                                          report draft.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 304 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 315 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Follow up call with J. Shefftz re: expert report / econ benefit calculation.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to L. Chase re: non-dairy Concentrated Animal Feeding
                                          Operation consent decrees.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Def's requests for production




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with J. Schefftz re: expert report / recurring costs of
                                          compliance.




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call J. Shefftz re: prep of expert report




                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate draft expert report (Shefftz)




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                         Page 305 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 316 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft revised language for inclusion in Schefftz expert report (referencing
                                          Motion for Summary Judgment Order)




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Call with J. Flanders and D. Hunt re: revisions to expert report (Shefftz)




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: revised language for inclusion in Schefftz
                                          expert report (referencing Motion for Summary Judgment Order)




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Shefftz re: revisions to Shefftz expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: revisions to Shefftz expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 306 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 317 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: service of expert reports




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to J. Flanders re: expert disclosures.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft follow up email with J. Flanders re: completing and serving expert
                                          reports and disclosures.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to D. Hunt and J. Flanders re: status of Simpson expert
                                          report




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to E. Bustos re: service of subpoena on CAW; organize into
                                          correspondence folder and deposition notice to opposing counsel




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Review and organize in firm and client comms re: prep of econ expert
                                          report and service of subpoena on CAW; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                      Page 307 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                   Page 318 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze PO to determine if JS needs to sign agreement to
                                          be bound in Exhibit A




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to E. Bustos and J. Flanders are: service of subpoena on
                                          CAW; organize into correspondence folder




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Compile documents for requests for production responses.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                  1.1    $550.00           $605.00                               $0.00                                      0

                                          Call with J. Schefftz and J. Flanders re: prep of expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                  0.4    $550.00           $220.00                               $0.00                                      0

                                          Call with J. Schefftz re: prep of expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                  0.3    $550.00           $165.00                               $0.00                                      0

                                          Compile documents for production in response to Def's RFP, Set Three




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                  0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                        Page 308 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 319 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Finalize expert disclosure and combine Attachment Page with Shefftz
                                          report and save to shared.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review draft expert witness disclosures.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review J. Flanders revisions to additional / revised language for use in
                                          expert report summarizing Phase I Motion for Summary Judgment Order,
                                          incorporate revisions, add missing citations to Order.



                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call J Shefftz to schedule time schedule call to discuss report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Shefftz re: revisions to expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Compare cost figures used in Simpson and Schefftz report to ensure that
                                          they are consistent




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 309 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 320 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: service of expert disclosures




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to and call J. Schefftz re: agreement to be bound by
                                          protective order.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: bates stamping RFP, Set Two document
                                          production and serving expert disclosures.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: requests for production responses




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: confidential nature of balance sheets and P&Ls
                                          reviewed by Johnathan Shefftz




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Schefftz re: additional materials to review (MSJ Order)




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 310 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 321 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: draft expert report.




                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to T. Simpson re: providing references / materials cite in
                                          expert report.




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to draft interrogatory and requests for production responses




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                    1.2    $550.00           $660.00                               $0.00                                      0

                                          Continue to draft / revise responses to requests for production and
                                          ROGs




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                    1.1    $550.00           $605.00                               $0.00                                      0

                                          Call with D. Hunt and J. Flanders re: revisions to discovery responses




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                    0.9    $550.00           $495.00                               $0.00                                      0

                                          Review and analyze Def's Concentrated Animal Feeding Operation
                                          expert report




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                        Page 311 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 322 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise interrogatory responses.




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                   0.5    $550.00           $275.00                               $0.00                                     0

                                          Continue to revise requests for admission responses




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise responses to Def's RFA, Set One




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders re: service of subpoena on CAW




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders and D. Hunt re: strategy for responding to
                                          defendant requests for admission / interrogatories / requests for
                                          production



                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: interrogatory and requests for production
                                          responses.




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 312 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 323 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: discovery responses
                                          and service of subpoena on CAW; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Review and analyze in firm, client and opposing counsel comms re:
                                          expert disclosures and discovery responses; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Continue revisions to discovery requests for production and RFAs




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                      1.9    $550.00           $1,045.00                               $0.00                                      0

                                          Continue to revise requests for admission responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                      1.2    $550.00            $660.00                                $0.00                                      0

                                          Review and analyze case law and practice guide re: Federal Rule of Civil
                                          Procedure 45 subpoena service requirements.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                      0.4    $550.00            $220.00                                $0.00                                      0

                                          Call with J. Flanders re: revisions to discovery responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00            $110.00                                $0.00                                      0




                                                                                                        Page 313 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 324 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: discovery responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: service of discovery responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: revisions to interrogatory
                                          responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and revise ROGs




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call EAM re: discovery responses




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to requests for production responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 314 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 325 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Follow up call with E. Bustos re: revisions to and service of discovery
                                          responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders and D. Hunt re: revisions to interrogatory
                                          responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft task list re: next steps for service on Carol Anderson Ward and
                                          further LR re: the same.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: revisions to interrogatory responses.




                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze Carol Anderson Ward skip trace order.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call HB re: piercing corporate veil




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                        Page 315 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 326 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: process server cost for Carol Anderson
                                          Ward subpoena service.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and external comms re: service of subpoena
                                          on CAW; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to E. Bustos re: process server costs.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze case law re: alterative service of Federal Rule of
                                          Civil Procedure 45 subpoenas




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                   0.9    $550.00           $495.00                               $0.00                                      0

                                          Revise project outline




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                   0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and analyze responsible corporate officer doctrine in Clean
                                          Water Act cases




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                   0.7    $550.00           $385.00                               $0.00                                      0




                                                                                                      Page 316 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 327 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and analyze case law discussing Federal Rule of Civil
                                          Procedure 45 service requirements and geographic limitation.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: expert report and service of subpoena on CAW




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze prior draft pleadings on alternative service of
                                          Federal Rule of Civil Procedure 45 subpoena




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: project outline; Swickard deposition notice and
                                          corporate veil LR




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Begin LR into RCOD in Clean Water Act cases in federal court.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: further LR in RCOD and corporate veil LR




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 317 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 328 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to E. Bustos J. Flanders, and D. Hunt re: service of
                                          Carol Anderson Ward subpoena.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Return J. Shefftz phone call.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: project outline revisions.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze notice requirements from Federal Rule of Civil
                                          Procedure 45




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: service of subpoena on CAW.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and E. Bustos re: service of Carol Anderson
                                          Ward subpoena.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                        Page 318 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 329 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to J. Flanders and D. Hunt re: service of Carol
                                          Anderson Ward subpoena.




                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Schefftz re: possible dates for deposition and next steps for
                                          drafting supplemental expert report (if possible)




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Follow up call with J. Schefftz re: possible dates for deposition and next
                                          steps for drafting supplemental expert report (if possible)




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: revisions to Carol Anderson Ward subpoena.




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review and analyze case law re: responsible corporate officer
                                          doctrine in Clean Water Act cases.




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                        1.2    $550.00           $660.00                               $0.00                                      0

                                          Review, analyze, and annotate Finance 30(b)(6) transcript




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                        1.2    $550.00           $660.00                               $0.00                                      0




                                                                                                        Page 319 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 330 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Swickard expert report (ID legal conclusions and
                                          opinions) in prep for MIL




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Continue to review Swickard report (ID opinions and conclusions of law);
                                          review case law re: inability of expert to provide legal opinions




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for drafting MIL (to exclude Swickard
                                          testimony)




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to J. Flanders re: review and analysis of Swickard report.




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: revisions to Carol Anderson Ward subpoena




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: possible expert rebuttal / deposition /
                                          supplemental report time line




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 320 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 331 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Carol Anderson Ward subpoena revisions




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft follow up comms to J. Flanders re: revisions to Carol Anderson
                                          Ward subpoena




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: revisions to Carol Anderson Ward
                                          subpoena.




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: revisions to subpoena to include California
                                          Coastkeeper Alliance offices as location for depo




                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft follow up email to D. Hunt and J. Flanders re: deposition schedule
                                          for J Shefftz.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm, opposing counsel, and client comms re:
                                          expert depos, Carol Anderson Ward subpoena service, and MIL
                                          (Swickard); organize into correspondence folder



                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 321 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                        Page 332 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Shefftz re: deposition schedule




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders and D. Hunt re: scheduling Schefftz deposition.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Shefftz re: availability for deposition.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review and analyze T. Swickard expert report.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                        1.2    $550.00           $660.00                               $0.00                                      0

                                          Review and analyze case law re: exclusion of expert opinion beyond the
                                          scope of phased discovery.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                        0.9    $550.00           $495.00                               $0.00                                      0

                                          Review and analyze case law re: location of expert deposition.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                       Page 322 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 333 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: motion in limine strategy and deposition
                                          schedule for J. Shefftz.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft spreadsheet outlining Swickard "expert" opinions, basis therefore,
                                          and analysis.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to D. Hunt, J. Flanders, and EAM re: next steps for motion to
                                          strike Swickard expert opinion.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Leave voicemail with J. Shefftz re: deposition schedule.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: scheduling deposition for J. Shefftz.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: Swickard expert report.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 323 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 334 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: location of expert deposition.




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Begin outline of MIL to exclude Swickard opinion




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft task list re: next steps for drafting MIL to exclude Swickard opinion




                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to L. Ice re: service of Carol Anderson Ward subpoena in
                                          Texas.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Daubert standard for admitting expert opinions;
                                          apply to Swickard opinions and incorporate into spreadsheet re: the
                                          same.



                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                         1.1    $550.00           $605.00                               $0.00                                     0

                                          Research and analyze case law discussing motions to strike were
                                          moving party failed to depose expert witness.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                         0.7    $550.00           $385.00                               $0.00                                     0




                                                                                                        Page 324 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 335 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze case law re: effect of failure to depose expert
                                          witness on motion to strike / exclude testimony




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                     0

                                          Call with J. Flanders re: Defendant's expert report and service of
                                          subpoena on CAW.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft email to opposing counsel re: Shefftz deposition




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Revise email to D. Hunt, J. Flanders, and EAM re: analysis of Swickard
                                          opinion; send.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with D. Hunt re: defense of shefftz deposition.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: T. Simpson deposition




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 325 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                      Page 336 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: service of Carol Anderson Ward subpoena, LR on
                                          motion to strike / exclude expert testimony, and scheduling expert depos.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J Shefftz re: deposition schedule.




                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Shefftz re: deposition scheduling.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft follow up email to opposing counsel re: Tim Simpson deposition
                                          schedule




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt and J. Flanders re: Shefftz deposition schedule.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to T. Simpson re: scheduling deposition.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                      Page 326 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                     Page 337 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Review and analyze in firm comms re: Def's expert report and scheduling
                                          Plaintiff's expert depo; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to opposing counsel re: scheduling T. Simpson deposition.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to opposing counsel re: scheduling expert deposition.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft comms to J. Flanders re: Shefftz invoice




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to J. Shefftz re: invoicing




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft follow up email to D. Hunt re: Shefftz invoice.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                      Page 327 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 338 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze opposing counsel and in firm comms re: strategy for
                                          Swickard report, service on CAW; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft follow up email to T. Simpson re: deposition dates.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Continue to review and analyze case law re: effect of failure to depose
                                          expert on motion to strike / motion to exclude expert testimony.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: Carol Anderson Ward service and Swickard
                                          deposition strategy.




                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt re: Swickard expert report and definition of
                                          "confine"




                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: engaging process server to serve Carol Anderson
                                          Ward




                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 328 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 339 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Review and analyze in firm and external comms re: service of subpoena
                                          on CAW; organize into correspondence folder.




                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft comms to opposing counsel re: deposition scheduling




                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to T. Simpson re: deposition schedule.




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Review and analyze upcoming calendar to schedule Simpson and
                                          Shefftz depo




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to J. Flanders re: Shefftz and Simpson deposition scheduling.




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft comms to J. Flanders re: stipulation to extend discovery deadlines.




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                      Page 329 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 340 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and external comms re: service of Federal
                                          Rule of Civil Procedure 45 subpoena on Carol Anderson Ward and
                                          Shefftz and Simpson deposition schedules; organize into
                                          correspondence folder.


                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt and J. Flanders re: Simpson and Hunt deposition
                                          schedules.




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: dates for site inspection.




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Shefftz re: deposition schedule




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: scheduling Shefftz deposition and T. Simpson
                                          Depo




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: deposition schedules (Simpson and
                                          Shefftz)




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                      Page 330 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                     Page 341 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: scheduling deposition schedule and comms with
                                          opposing counsel re: the same; and service of Carol Anderson Ward
                                          subpoena



                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: stipulation to extend discovery
                                          deadlines.




                   Murieta
                   Equestrian
   2/1/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: locating and scheduling deposition space in
                                          Hartford




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and opposing counsel comms re: deposition
                                          schedules (Shefftz and Simpson); organize into correspondence folder




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft follow up email to opposing counsel re: Simpson deposition
                                          location.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Shefftz re: deposition schedule




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 331 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                  Page 342 of 481
Date      Client   Matter     Staff       Description                                                           Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Draft email to T. Simpson re: deposition date.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft follow up email to T. Simpson re: location of deposition.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft follow up email to T. Simpson re: deposition schedule.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to opposing counsel re: Simpson and Shefftz depos.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to T. Simpson re: deposition location.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Follow up call with J. Flanders re: Shefftz deposition




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $0.00                             $55.00                                     0.1




                                                                                                         Page 332 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 343 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to D. Hunt and J. Flanders re: deposition schedule




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders and D. Hunt re: strategy for Shefftz and Simpson
                                          depos




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                      0

                                          Call with D. Hunt re: deposition of Mr. Shefftz.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to opposing counsel re: Shefftz deposition schedule




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with S. Fried re: deposition schedules.




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft follow up email to Stewart re: deposition locations




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                      Page 333 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                               Page 344 of 481
Date      Client   Matter     Staff       Description                                                        Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: deposition scheduling




                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00           $55.00                               $0.00                                      0

                                          Review flight options to Hartford for depo




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                              0.3    $550.00            $0.00                            $165.00                                      0.3

                                          Book flight and reservation (Hartford Shefftz depo)




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                              0.2    $550.00            $0.00                            $110.00                                      0.2

                                          Call hotel to set up conference room




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft comms to E. Bustos re: reserving deposition space.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Follow up call with E. Bustos re: flight and hotel.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                      Page 334 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 345 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Teleconference with E. Bustos re: reserving conference room, flight and
                                          lodging for 2/13/24 deposition




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: strategy for Carol Anderson Ward service /
                                          motion for alt service and shefftz depo




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: Shefftz deposition




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: Shefftz deposition.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with opposing counsel re: scheduling T. Simpson




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: Shefftz deposition and Carol Anderson Ward
                                          subpoena service.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                      Page 335 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                      Page 346 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to E. Bustos re: status of service on Carol Anderson Ward
                                          and next steps.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft follow up comms to E. Bustos re: service of Carol Anderson Ward
                                          in Texas.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to T. Simpson re: deposition schedule.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders and D. Hunt re: Shefftz deposition.




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Shefftz re: deposition schedule




                   Murieta
                   Equestrian
   2/5/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm, external, and opposing counsel comms re:
                                          service of Carol Anderson Ward subpoena, deposition of Plaintiff's
                                          expert witnesses; organize into correspondence folder.



                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                       Page 336 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 347 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: discovery and expert deposition prep




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders and D. Hunt re: strategy for additional discovery




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                         0.9    $550.00           $440.00                             $55.00                                      0.1

                                          Draft email to opposing counsel re: Carol Anderson Ward subpoena
                                          service, and draft deposition notice / Proof of Service for CAW




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                         0.8    $550.00           $440.00                               $0.00                                      0

                                          Draft email to opposing counsel re: service of Carol Anderson Ward
                                          subpoena.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and annotate prior declaration in support of motion for alternative
                                          service.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with E. Bustos re: drafting declaration in support of motion for leave
                                          to serve by alternative means.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 337 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 348 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to T Simpson re: deposition prep.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for service on Carol Anderson Ward
                                          and prep for J. Shefftz depo




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to Texas process server re: Carol Anderson Ward subpoena
                                          service.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: drafting deposition notice for Carol Anderson
                                          Ward subpoena




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: Carol Anderson Ward subpoena service.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Shefftz re: deposition prep.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 338 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 349 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: drafting declaration in support of motion for
                                          alternative service.




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to T. Simpson re: deposition notice / prep




                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and edit T. Brett Decl in support of motion for leave to serve by
                                          Alt means.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Revise task list re: discovery and expert deposition prep




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Leave voicemail with J. Shefftz re: deposition prep.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and external comms re: service of Carol
                                          Anderson Ward subpoena and expert deposition preparation.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                        Page 339 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 350 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to E. Bustos re: service of subpoena on CAW




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft motion for leave to serve by alternative means.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Call with J. Flanders and T. Simpson re: deposition prep.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $165.00                             $55.00                                      0.1

                                          Create folder for T. Simpson to upload documents; email T. Simpson re:
                                          the same.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to process server re: service of subpoena on CAW




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to E. Bustos and J. Flanders re: service of subpoena on
                                          CAW




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                      Page 340 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 351 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders and E. Bustos re: service of subpoena on
                                          CAW




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Shefftz re: deposition prep.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for discovery and motion for
                                          alternative service on CAW




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: drafting dec in support of motion for leave to serve
                                          by alterative means




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: travel to Hartford for
                                          deposition.




                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft comms to E. Bustos re: revisions to decl in support of motion for
                                          leave to serve by alternative means.




                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                        Page 341 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 352 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm comms re: Carol Anderson Ward subpoena
                                          and motion for alternative service; organize into correspondence folder.




                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call re: revisions to reply to resp. supplemental brief.




                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Tom Brett                                                                                      0.6    $550.00             $0.00                            $330.00                                      0.6

                                          Draft follow up email to E. Bustos re: service of Carol Anderson Ward
                                          subpoena




                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: service of Carol Anderson Ward
                                          subpoena




                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for discovery and service of CAW




                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft objections to Shefftz deposition notice




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                      1.7    $550.00           $935.00                               $0.00                                      0




                                                                                                      Page 342 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 353 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft final sets of requests for admission / requests for production /
                                          ROGS




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                    1.0    $550.00           $550.00                               $0.00                                     0

                                          Review and compile all comms between J. Shefftz and ATA re: report
                                          and litigation; compile draft reports; compile documents relied on by
                                          Shefftz (in response to opposing counsel deposition notice)



                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                    0.9    $550.00           $495.00                               $0.00                                     0

                                          Continue to compile documents in response to Defendant's request for
                                          prod as part of J. Shefftz deposition notice




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and serve documents responsive to Ds deposition notice
                                          (Shefftz)




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with opposing counsel re: service of subpoena on CAW




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: completing final discovery




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                        Page 343 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                       Page 354 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Prep for Shefftz depo




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze practice guide sections re: discoverable materials
                                          and comms in expert discovery.




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer on service of
                                          subpoena on CAW




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: response to Defendant's request for prod (J
                                          Shefftz deposition notice)




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for discovery and completing J.
                                          Shefftz document production.




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to HB and J. Flanders re: Velez transcript




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 344 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 355 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Follow up call with J Shefftz re: invoice / timekeeping records.




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: service of Carol Anderson Ward subpoena and
                                          call with opposing counsel re: the same




                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze practice guide sections re: deposition procedures
                                          and permitted objections.




                   Murieta
                   Equestrian
  2/10/2024 CCKA   Center     Tom Brett                                                                                   0.3    $550.00           $165.00                               $0.00                                      0

                                          Draft email to opposing counsel re: rescheduling Shefftz deposition.




                   Murieta
                   Equestrian
  2/11/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Shefftz re: rescheduling deposition.




                   Murieta
                   Equestrian
  2/11/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: rescheduling Shefftz deposition.




                   Murieta
                   Equestrian
  2/11/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 345 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 356 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to opposing counsel re: rescheduling Shefftz
                                          deposition.




                   Murieta
                   Equestrian
  2/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: reply to Resp's
                                          supplemental brief; organize into correspondence folder.




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm, client and opposing counsel comms re: Carol
                                          Anderson Ward service, Shefftz deposition and document production,
                                          and final set of discovery; organize into correspondence folder.



                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Begin drafting motion for leave to serve by alternative means




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                     1.7    $550.00           $935.00                               $0.00                                      0

                                          Call with J. Flanders and D. Hunt re: service of Carol Anderson Ward
                                          subpoena and next steps for final discovery.




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                     1.4    $550.00           $715.00                             $55.00                                      0.1

                                          Continue to draft requests for admission / requests for production /
                                          ROGs




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                     0.6    $550.00           $330.00                               $0.00                                      0




                                                                                                       Page 346 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 357 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: Simpson depo




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: Carol Anderson Ward service.




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: accessing T. Simpson documents




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to requests for admission set two




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: service history of Carol Anderson Ward
                                          subpoena.




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: Shefftz deposition.




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 347 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 358 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Follow up call with E. Bustos re: service history (CAW subpoena)




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email to opposing counsel re: rescheduling Shefftz depo




                   Murieta
                   Equestrian
  2/12/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Shefftz and J. Flanders re: possible requests for admission
                                          revisions and corp veil revisions




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                      0

                                          Leave voicemail with J. Shefftz




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft meet and confer letter on ROG, Set 3




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      1.1    $550.00           $605.00                               $0.00                                      0

                                          Revise RFA, Set Two and RFP, Set Three




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      1.0    $550.00           $550.00                               $0.00                                      0




                                                                                                       Page 348 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 359 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review document production from T. Simpson




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                     0

                                          Draft 30(b)(1) deposition notice for CAW




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Flanders re: Carol Anderson Ward deposition




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: 30(b)(1) deposition notice to
                                          CAW




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: service of last set of discovery




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: parcel ownership map




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 349 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 360 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm, client, and opposing counsel comms re:
                                          Carol Anderson Ward subpoena / deposition notice and T. Simpson
                                          deposition document production; organize into correspondence folder.



                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft task list re: next steps for discovery (expert rebuttal designation,
                                          timing of 30(b)(1) depo, stipulation to extend scheduling order etc.)




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up comms to J. Flanders re: revisions to requests for
                                          admission set two




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: document review for T.
                                          Simpson.




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders and D. Hunt re: document production and
                                          objections to T. Simpson deposition notice.




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: revisions to requests for admission set
                                          two




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 350 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 361 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: service of Carol Anderson Ward subpoena.




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: 30(b)(1) deposition notice (CAW)




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: requests for admission / requests for production
                                          / interrogatory revisions.




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: revisions to requests for production and
                                          RFAs




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: revisions to RFA, Set Two




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J Shefftz re: setting up call with J. Flanders to discuss Murieta
                                          Equestrian Center balance sheets.




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                         Page 351 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 362 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: analysis of Defendant's balance sheets (drafting
                                          RFA, Set Two)




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up email to D. Hunt re: revisions to requests for admission
                                          set two




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to E. Bustos re: service of last set of discovery




                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Leave voicemail with D. Hunt re: document production (T. Simpson
                                          depo)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue review of document production in response to Defendant's
                                          deposition notice (T. Simpson)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                        1.2    $550.00           $660.00                               $0.00                                      0

                                          Continue priv review for T. Simpson documents




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                        1.1    $550.00           $605.00                               $0.00                                      0




                                                                                                       Page 352 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                     Page 363 of 481
Date      Client   Matter     Staff       Description                                                           Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Complete revisions to objections to deposition notice and Proof of
                                          Service




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft objections to D document request and deposition notice for T.
                                          Simpson




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and revise 30(b)(1) deposition notice (CAW); draft email to
                                          opposing counsel re: the same




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.3    $550.00           $165.00                               $0.00                                     0

                                          Revise Rog, set three meet and confer letter




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.3    $550.00           $165.00                               $0.00                                     0

                                          Complete final review of T. Simpson document production




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with D. Hunt re: Simpson document production.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                      Page 353 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                        Page 364 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise 30(b)(1) deposition notice (CAW)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: T. Simpson document review and 30(b)(1)
                                          subpoena




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: document production to opposing counsel
                                          (T. Simpson depo)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with J. Flanders re: document production (T. Simpson depo)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze firm and client comms re: Carol Anderson Ward
                                          subpoena and T. Simpson document production; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: service of 30(b)(1) subpoena (CAW)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                     Page 354 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                    Page 365 of 481
Date      Client   Matter     Staff       Description                                                           Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to opposing counsel re: T. Simpson document production
                                          and objections (T. Simpson)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with T. Simpson re: documents received by GSI staff (doc
                                          production)




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and revise email to opposing counsel re: T. Simpson document
                                          production; organize into correspondence folder.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: T. Simpson document production.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: T. Simpson document production.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft 30(b)(1) deposition notice (CAW) proof of service.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                 0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 355 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 366 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: service of Carol Anderson Ward 30(b)(1)
                                          subpoena




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: service of 30(b)(1) deposition notice.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: objections to T. Simpson deposition notice and
                                          document request.




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: review of T. Simpson
                                          production in advance of depo




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: document production / priv review for T.
                                          Simpson depo




                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft / revise I. Wren rebuttal disclosure.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                       Page 356 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                       Page 367 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with D. Hunt re: T. Simpson unit calculations in Ex. E and runoff
                                          volume calculations.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise Murieta Equestrian Center project outline




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Draft email to D. Hunt and J. Flanders making sure GSI has space
                                          available for T. Simpson deposition.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to T. Simpson re: deposition space at GSI; review T.
                                          Simpson deposition notice.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Begin outline of MIL to exclude Swickard testimony.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft rebuttal witness disclosure.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                       Page 357 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                    Page 368 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: relative priority of tasks for California
                                          Coastkeeper Alliance




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze T. Simpson unit calculations in Ex. E and runoff
                                          volume calculations, and RS means spreadsheet.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: ROG, set three responses
                                          meet and confer letter




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: rebuttal expert disclosure.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email D. Hunt re: rebuttal disclosures.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze client and in firm comms re: T. Simpson deposition
                                          prep; organize into correspondence folder.




                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                            Page 358 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 369 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review Velez and Subbotin deposition transcripts; pull out references to
                                          Carol Anderson Ward Review deposition




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      1.3    $550.00           $715.00                               $0.00                                     0

                                          Continue to draft / revise I. Wren expert rebuttal disclosure.




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with D. Hunt re: T. Simpson deposition prep




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to D. Hunt re: deposition prep (T. Simpson)




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise and serve expert rebuttal disclosure




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: revisions to rebuttal disclosure.




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                           Page 359 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 370 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze case law discussion "appex deposition doctrine"




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: apex deposition doctrine




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: 30(b)(6) deposition summaries
                                          (extracting references to CAW)




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to opposing counsel serving I. Wren expert rebuttal
                                          disclosure.




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with D. Hunt re: revisions to expert rebuttal disclosure




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm comms re: deposition of CAW; organize into
                                          correspondence folder.




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                          Page 360 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 371 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft / outline MIL




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Email E. Bustos re: rebuttal expert disclosure




                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Continue to draft MIL (Swickard)




                   Murieta
                   Equestrian
  2/20/2024 CCKA   Center     Tom Brett                                                                                       2.0    $550.00           $1,100.00                               $0.00                                     0

                                          Create spreadsheet extracting legal conclusions from Swickard report
                                          and incorporate case law re: impermissible legal conclusions from expert.




                   Murieta
                   Equestrian
  2/20/2024 CCKA   Center     Tom Brett                                                                                       0.7    $550.00            $385.00                                $0.00                                     0

                                          Draft email to opposing counsel re: meet and confer regarding Carol
                                          Anderson Ward subpoena




                   Murieta
                   Equestrian
  2/20/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: opposing counsel meet and
                                          confer request regarding Carol Anderson Ward subpoena




                   Murieta
                   Equestrian
  2/20/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                     Page 361 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                         Page 372 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to opposing counsel re: meet and confer request regarding
                                          Carol Anderson Ward subpoena




                   Murieta
                   Equestrian
  2/20/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders and D. Hunt re: meet and confer over Carol
                                          Anderson Ward 30(b)(1) deposition notice.




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $385.00                             $55.00                                      0.1

                                          Continue to draft MIL to exclude Swickard testimony.




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                    0.7    $550.00           $385.00                               $0.00                                      0

                                          Prep and attend meet and confer re: Carol Anderson Ward 30(b)(6) depo




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Prep for meet and confer with opposing counsel re: Carol Anderson
                                          Ward 30(b)(1) depo




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: Swickard MIL, Wren Phase II
                                          depo, and Shefftz availability.




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                     Page 362 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 373 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and J. Flanders re: meet and confer and drafting
                                          MIL (Swickard)




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: Shefftz availability for depo




                   Murieta
                   Equestrian
  2/21/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Revise / update project outline




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to draft Swickard MIL




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                                     0.5    $550.00           $275.00                               $0.00                                      0

                                          Revise ROG, Set 3 meet and confer




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and analyze in firm, client, and opposing counsel comms re:
                                          deposition schedules, meet and confer re: 30(b)(1) deposition notice




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 363 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                     Page 374 of 481
Date      Client   Matter     Staff       Description                                                        Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to opposing counsel re: Shefftz deposition schedule.




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft email to opposing counsel re: ROG, Set 3 meet and confer




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with J. Flanders re: Swickard MIL




                   Murieta
                   Equestrian
  2/22/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00             $55.00                                $0.00                                     0

                                          Review and analyze firm and opposing counsel comms re: meet and
                                          confer over Carol Anderson Ward subpoena and wren deposition;
                                          organize into correspondence folder



                   Murieta
                   Equestrian
  2/23/2024 CCKA   Center     Tom Brett                                                                              0.1    $550.00             $55.00                                $0.00                                     0

                                          Review and analyze SFBK v Sunnyvale order on expert opinions /
                                          applying Daubert




                   Murieta
                   Equestrian
  2/23/2024 CCKA   Center     Tom Brett                                                                              0.3    $550.00            $165.00                                $0.00                                     0

                                          Continue to draft Swickard MIL




                   Murieta
                   Equestrian
  2/23/2024 CCKA   Center     Tom Brett                                                                              2.0    $550.00           $1,100.00                               $0.00                                     0




                                                                                                      Page 364 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                      Page 375 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J Shefftz re: deposition schedule




                   Murieta
                   Equestrian
  2/26/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: Shefftz deposition schedule




                   Murieta
                   Equestrian
  2/26/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze client, firm, and opposing counsel comms re: Carol
                                          Anderson Ward subpoena, deposition schedules, and outstanding
                                          discovery; organize into correspondence folder.



                   Murieta
                   Equestrian
  2/26/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to draft MIL to exclude Swickard testimony




                   Murieta
                   Equestrian
  2/26/2024 CCKA   Center     Tom Brett                                                                                     0.7    $550.00           $385.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: opposing counsel request for
                                          discovery extension.




                   Murieta
                   Equestrian
  2/26/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to Shefftz re: deposition schedule




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 365 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 376 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to J. Shefftz re: deposition schedule and prep




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review flight options to Hartford




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: Shefftz depo




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Shefftz re: deposition schedule and prep




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to opposing counsel re: Shefftz deposition and discovery
                                          extension; review prior stipulation for discovery extensions




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Draft follow up email to opposing counsel re: Shefftz deposition and
                                          discovery extension; review prior stipulation for discovery extensions




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 366 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 377 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to opposing counsel re: Shefftz deposition timing




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze expert and opposing counsel comms re: shefftz
                                          deposition and def rebuttal depo; organize into correspondence folder




                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Research and purchase ticket to Hartford for Shefftz deposition.




                   Murieta
                   Equestrian
  2/28/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00            $0.00                            $165.00                                      0.3

                                          Review and analyze in firm and expert comms re: deposition schedule
                                          and prep call; organize into correspondence folder.




                   Murieta
                   Equestrian
  2/28/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: Schefftz deposition and strategy for motion for
                                          leave to amend / notice letter




                   Murieta
                   Equestrian
  2/28/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Shefftz re: deposition prep




                   Murieta
                   Equestrian
  2/28/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                        Page 367 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 378 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to J. Shefftz re: deposition prep




                   Murieta
                   Equestrian
  2/28/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Calendar invite and call for deposition prep with Shefftz.




                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: MIL, discovery, and Motion for Summary
                                          Judgment strategy




                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $110.00                            $110.00                                      0.2

                                          Continue to draft MIL (Swickard)




                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                    0.8    $550.00           $440.00                               $0.00                                      0

                                          Draft comms to J. Flanders and D. Hunt re: defs need to supplemental
                                          discovery




                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: completing MIL (Swickard), drafting Carol Anderson
                                          Ward notice letter, and region 9 Concentrated Animal Feeding Operation
                                          research



                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 368 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 379 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: WCEF 990 forms, def
                                          supplemental discovery production, and def deposition notices.




                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review, analyze, and summarize 40 CFR s 135.12 Clean Water Act
                                          notice letter requirements




                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy on challenging Wren deposition notice
                                          and Swickard MIL




                   Murieta
                   Equestrian
   3/1/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to draft MIL to exclude Swickard testimony




                   Murieta
                   Equestrian
   3/1/2024 CCKA   Center     Tom Brett                                                                                      1.7    $550.00           $935.00                               $0.00                                     0

                                          Draft email to D. Hunt re: Swickard MIL draft.




                   Murieta
                   Equestrian
   3/1/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: Swickard MIL draft.




                   Murieta
                   Equestrian
   3/1/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 369 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                             Page 380 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and analyze case law re: effect of failure to depose
                                          expert witness on motion to exclude testimony




                   Murieta
                   Equestrian
   3/4/2024 CCKA   Center     Tom Brett                                                                                       0.7    $550.00            $385.00                                $0.00                                     0

                                          Review SWPPP and site maps from permitted non-dairy Concentrated
                                          Animal Feeding Operations in region 9; compile information into
                                          spreadsheet.



                   Murieta
                   Equestrian
   3/4/2024 CCKA   Center     Tom Brett                                                                                       2.0    $550.00           $1,100.00                               $0.00                                     0

                                          Call with J. Flanders re: research into permitted Concentrated Animal
                                          Feeding Operations and regulation under MS4 permits, and strategy w/r/t
                                          Wren deposition.



                   Murieta
                   Equestrian
   3/4/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00            $165.00                                $0.00                                     0

                                          Draft priorities for week re: Carol Anderson Ward notice letter, Region 9
                                          permitee information, SUF evidentiary work




                   Murieta
                   Equestrian
   3/4/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with J. Flanders re: protective order (Wren) and supplemental
                                          production to defendant.




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                       0.4    $550.00            $220.00                                $0.00                                     0

                                          Draft email to J. Flanders and D. Hunt re: obj to wren deposition notice




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                       Page 370 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 381 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: objections to I. Wren deposition notice and
                                          comms with opposing counsel re: protective order




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft follow up email to D. Hunt and J. Flanders re: objections to Wren
                                          deposition notice




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft objections to Wren deposition notice.




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                        1.7    $550.00           $935.00                               $0.00                                     0

                                          Manage Simpson and Shefftz production links




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze case law re: expert witness document production
                                          requirements




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze case law re: protective order




                   Murieta
                   Equestrian
   3/5/2024 CCKA   Center     Tom Brett                                                                                        1.1    $550.00           $605.00                               $0.00                                     0




                                                                                                       Page 371 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 382 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with I. Wren re: deposition prep / document production.




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: objections to wren deposition and meet
                                          and confer on motion for PO




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: meet and confer comms to
                                          opposing counsel re: motion for protective order (Wren Depo)




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to I. Wren re: Def deposition notice and document request.




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft follow up comms with J. Flanders re: meet and confer to opposing
                                          counsel re: motion for PO and Wren deposition notice objections.




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft meet and confer comms to opposing counsel re: motion for
                                          protective order (Wren Depo)




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.5    $550.00           $275.00                               $0.00                                     0




                                                                                                         Page 372 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 383 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: completing supplemental document prod to D, notice
                                          letter (CAW), and populating SUF w/ supporting evidence.




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with I. Wren re: deposition objections and document
                                          production




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and D. Hunt comms re: objections to wren
                                          deposition notice and meet and confer with opposing counsel re: motion
                                          for protective order (wren depo); organize into correspondence folder



                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and revise meet and cover comms to opposing counsel re:
                                          motion for protective order.




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Send meet and confer re: motion for protective order of opposing
                                          counsel and serve objections to wren deposition notice.




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and revise objections to Def's deposition notice (I. Wren)




                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                      Page 373 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 384 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Shefftz re: deposition prep and Defendant's ability to pay.




                   Murieta
                   Equestrian
   3/7/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: call with shefftz regarding deposition
                                          prep.




                   Murieta
                   Equestrian
   3/7/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: rescheduling meet and confer
                                          with opposing counsel regarding Wren protective order / deposition
                                          notice



                   Murieta
                   Equestrian
   3/8/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Calendar / circulate meeting invite re: Wren protective order; draft email
                                          to opposing counsel re: the same




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to opposing counsel re: meet and confer over I. Wren
                                          protective order




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Follow up call wit J. Flanders re: scheduling meet and confer with
                                          opposing counsel to discuss Wren protective order.




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 374 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                          Page 385 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Leave voicemail with and draft follow up comms to I. Wren re: prep of
                                          documents for deposition / responsive to document request.




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: Phase II Motion for Summary Judgment and
                                          Swickard MIL




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Begin review of Murieta Equestrian Center prior production to determine
                                          need for supplemental production.




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with D. Hunt re: meet and confer with opposing counsel on Wren
                                          protective order.




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: meet and confer on Wren protective order and
                                          drafting / populating SUF




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to D. Hunt and J. Flanders re: supplemental document
                                          production and possible production of Region 9 SWPPPs from non-dairy
                                          Concentrated Animal Feeding Operations located w/in localities subject
                                          to MS4 permits.


                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                     Page 375 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                   EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                           Page 386 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up comms to D. Hunt and J. Flanders re: meet and confer
                                          with opposing counsel regarding Wren protective order.




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft follow up emails to opposing counsel re: meet and confer of Wren
                                          protective order.




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Meet and confer with opposing counsel re: wren deposition and
                                          protective order




                   Murieta
                   Equestrian
  3/11/2024 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Review and analyze opposing counsel comms re: stipulation as to scope
                                          and duration of Wren deposition; organize into correspondence folder




                   Murieta
                   Equestrian
  3/12/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0
                                          call with D. Hunt re: compiling documents to produce to D in response to
                                          Wren Phase II deposition notice and document request.




                   Murieta
                   Equestrian
  3/13/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review, analyze, and summarize case law re: collateral estoppel




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                     Page 376 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 387 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review, analyze, and summarize case law re: responsible corp officer
                                          doctrine




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                     0

                                          Call with J. Flanders re: collateral estoppel LR and arguments re:
                                          defendant's ability to pay




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: collateral estoppel LR, Plaintiff's supplemental
                                          production, and Defendant's disc responses




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: research into collateral estoppel for inclusion in
                                          motion for leave to amend




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: conducting legal research into responsible
                                          corporate officer doctrine for use in motion for leave to amend complaint




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Research and analyze case law interpreting "privity" requirement for
                                          collateral estoppel as part of prep for motion for leave to amend.




                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                          Page 377 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                           Page 388 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm, client, and opposing counsel comms re: draft
                                          Motion for Summary Judgment status, Defendant discovery responses
                                          and request for extension of time to respond, and stipulation re: scope
                                          and duration of wren dep; organize into correspondence folder.


                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders and D. Hunt re: finalizing document
                                          production in response to Wren deposition notice




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders and D. Hunt and L Marshall re: defendant
                                          production of stall charts and requests for admission response re: horse
                                          count



                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft Proof of Service and cover email to opposing counsel re: serving
                                          documents responsive to wren deposition notice; serve.




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with D. Hunt re: compiling documents to produce to D in response to
                                          Wren Phase II deposition notice and document request.




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with Ian re: response to Defendant's Wren Phase II deposition
                                          notice and document request.




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                      Page 378 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                         Page 389 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: Wren document production and deposition prep




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0

                                          Compile, review, and redact documents produced in response to def's
                                          deposition notice and document request for I Wren Phase II depo




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                    1.2    $550.00           $660.00                               $0.00                                      0

                                          Follow up call with D. Hunt re: compiling documents to produce to D in
                                          response to Wren Phase II deposition notice and document request.




                   Murieta
                   Equestrian
  3/15/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with M. Maclear re: deposition defense prep




                   Murieta
                   Equestrian
  3/16/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00             $0.00                            $220.00                                      0.4

                                          Review and summarize federal case law and Clean Water Act case law
                                          applying responsible corporate officer doctrine.




                   Murieta
                   Equestrian
  3/16/2024 CCKA   Center     Tom Brett                                                                                    0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft email to D. Hunt re: agreement with opposing counsel on scope of
                                          Wren depo




                   Murieta
                   Equestrian
  3/16/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                     Page 379 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                             Page 390 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and opposing counsel comms re: stipulation
                                          to wren deposition and strategy for Murieta Equestrian Center Phase II
                                          expert MIL; organize into correspondence folder



                   Murieta
                   Equestrian
  3/18/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                      0

                                          Book hotel accommodations; and reserve parking at MSP (Shefftz depo)




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                           0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Call with E. Bustos re: ATA billing info for hotel reservation (shefftz depo)




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to opposing counsel re: expected length of Shefftz
                                          deposition.




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: whether to send meet and confer to opposing
                                          counsel on ROG, Set Three; and strategy for 60 day NOI




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                      0

                                          Continue to review and analyze of Shefftz report again in prep for
                                          deposition




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 380 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 391 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and summarize RCOD liability case law




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                       0.6    $550.00           $330.00                               $0.00                                     0

                                          Review and analyze cases re: definition of privity in collateral estoppel
                                          cases




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                       1.4    $550.00           $770.00                               $0.00                                     0

                                          Call with J. Flanders re: collateral estoppel LR and next steps for carol
                                          Anderson ward notice letter, motion for leave to amend, Swickard MIL
                                          etc.



                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to J. Flanders re: responsible corporate officer doctrine
                                          research




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze prior meet and confer correspondence with
                                          opposing counsel




                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Shefftz re: Defendant responses to RFA, Set Two




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 381 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 392 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with L. Marshall, D. Hunt, and J. Flanders re: MIL, further discovery,
                                          and motion for leave to amend strategy




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                         1.3    $550.00           $715.00                               $0.00                                     0

                                          Review and analyze defendant responses to RFA, Set Two




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and revise case summaries regarding responsible corporate
                                          officer doctrine and the meaning of privity of collateral estoppel




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Upload Defendant's interrogatory / requests for admission /RFPD
                                          responses to shared server




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Shefftz re: deposition prep, analyzing cash on hand for
                                          Defendant, and analyzing defendant responses to requests for admission
                                          / ROGs



                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: T. Simpson review of transcript.




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 382 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 393 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Shefftz re: and attaching deposition notice.




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft objections to defendant's second amended deposition notice




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.6    $550.00           $330.00                               $0.00                                     0

                                          Call with J. Shefftz re: response to defendant's deposition notice




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Defendant's responses to ROGs, Set Four




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: shefftz deposition
                                          strategy, defendant disc responses and document production, and
                                          strategy wrt Resource Conservation and Recovery Act claims; organize
                                          into correspondence folder


                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email serving document production and Plf's objections in response
                                          to deposition notice;




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                           Page 383 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                           Page 394 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and compile documents responsive to Defendant's notice of
                                          taking deposition (2nd amended, Shefftz)




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and finalize objections to defendant's 2nd amended deposition
                                          notice (Shefftz)




                   Murieta
                   Equestrian
  3/20/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for supplemental document production
                                          to defendant




                   Murieta
                   Equestrian
  3/21/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: strategy for supplemental document production
                                          in response to D discovery requests.




                   Murieta
                   Equestrian
  3/21/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Complete review and redaction of document production responsive to
                                          2nd amended deposition notice of sheffts; serve




                   Murieta
                   Equestrian
  3/21/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Continue to review and analyze Shefftz expert report in prep for depo




                   Murieta
                   Equestrian
  3/21/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                     Page 384 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 395 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: strategy for motion for leave to amend




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J Shefftz re: deposition prep and D's responses to RFAs




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to M. Maclear and J. Flanders re: Shefftz deposition history
                                          and location of deposition transcript.




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Defendant's responses to RFA, Set Two in prep for
                                          Shefftz deposition




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review correspondence with opposing counsel re: stipulated
                                          modifications to discovery deadlines; draft email to E. Bustos re: the
                                          same.



                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review, analyze, and annotate prior deposition in prep for Shefftz
                                          deposition




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      1.5    $550.00           $825.00                               $0.00                                     0




                                                                                                       Page 385 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 396 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: strategy for motion for leave to amend




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft notice of motion and motion for leave to file third amended
                                          complaint and legal background section




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      1.2    $550.00           $660.00                               $0.00                                     0

                                          Outline additional procedural background sections of motion for leave to
                                          amend.




                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                     0

                                          Continue to review and annotate J. Shefftz expert report




                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft email to B. Lee re: Shefftz deposition transcript.




                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Depo prep call with J. Shefftz




                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                      0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                       Page 386 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 397 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft teams comms to J. Flanders re: supplemental document production
                                          in advance of Shefftz deposition.




                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                      0

                                          Review and analyze expert comms evaluating opposing counsels
                                          proposal for iterative BMP deployment as part of Consent Decree;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                      0

                                          Continue to prep for Shefftz deposition (review prior deposition
                                          transcripts; outline objection list / bases)




                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                   0.7    $550.00            $385.00                                $0.00                                      0

                                          Travel to Hartford CN for Shefftz deposition.




                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center     Tom Brett                                                                                   5.0    $550.00           $1,375.00                           $1,375.00                                     2.5

                                          Call with J. Flanders following up on Shefftz deposition




                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                      0

                                          Outline main line of questioning by opposing counsel in Shefftz
                                          deposition.




                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $55.00                                $0.00                                      0




                                                                                                       Page 387 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 398 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Attend / defend J. Shefftz deposition




                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Tom Brett                                                                                       3.1    $550.00           $1,705.00                               $0.00                                       0

                                          Prep for Shefftz deposition (review report and objection outline / list)




                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Tom Brett                                                                                       0.5    $550.00            $275.00                                $0.00                                       0

                                          Travel home from Shefftz deposition




                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Tom Brett                                                                                       5.5    $550.00           $1,512.50                           $1,512.50                                     2.75

                                          Continue to draft motion for leave to amend complaint (TAC)




                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center     Tom Brett                                                                                       0.7    $550.00            $385.00                                $0.00                                       0

                                          Review and analyze in firm, external, and client comms re: Wren
                                          deposition transcript, drafting motion for leave to amend complaint
                                          (TAC), drafting Carol Anderson Ward NOI; organize into correspondence
                                          folder, Shefftz deposition transcript rough draft


                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00              $0.00                              $55.00                                       0.1

                                          Call with J. Flanders re: revisions / strategy for drafting to motion for
                                          leave to amend.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                       0.4    $550.00            $110.00                             $110.00                                       0.2




                                                                                                          Page 388 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 399 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: drafting motion for leave to amend and J. Brett
                                          declaration in support thereof




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze case law re: motion for leave to amend and impact
                                          of adding new causes of action




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: rough draft of Shefftz
                                          deposition transcript.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to L. Marshall and D. Hunt re: law and fact summary for use
                                          in third amended complaint.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Shefftz draft deposition transcript.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                     0

                                          Begin drafting declaration in support of motion for leave to amend;
                                          compile exhibits for the same.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0




                                                                                                         Page 389 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                              Page 400 of 481
Date      Client   Matter     Staff       Description                                                                      Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise motion for leave to amend complaint (TAC),
                                          specifically factual background / facts necessitating amending complaint.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                            1.1    $550.00           $605.00                               $0.00                                      0

                                          Draft factual background section to motion for leave to file third amended
                                          complaint (re: C. Anderson Ward's financial contributions and corporate
                                          control)



                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                            1.0    $550.00           $550.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: revisions to factual background section
                                          of motion for leave to amend.




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: revisions to factual background section
                                          of motion for leave to file TAC




                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise legal background section of motion for leave to file third amended
                                          complaint (add section on owner / corp officer liability under Clean Water
                                          Act and re: Motion for Summary Judgment order constituting final
                                          judgment on merits for purpose of collateral estoppel).


                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                            0.3    $550.00           $165.00                               $0.00                                      0

                                          Strategy call with firm re: filing deadlines and strategy for motion for leave
                                          to amend and motion for summary judgment




                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 390 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 401 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft motion for leave to amend complaint (TAC), specifically
                                          section re: facts necessitating leave to amend; and revise / draft J. Brett
                                          declaration in support of motion for leave to amend.



                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                         0.7    $550.00           $385.00                               $0.00                                      0

                                          Continue to draft motion for leave to file third amended complaint




                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                         0.5    $550.00           $275.00                               $0.00                                      0

                                          Draft email to J. Flanders and D. hunt re: scheduling meet and confer
                                          with opposing counsel on motion for leave to amend




                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list for completing factual background / facts necessitating
                                          motion for leave, and declaration in support of motion




                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and opposing counsel comms re: strategy for
                                          motion for leave to amend complaint and meet and confer with opposing
                                          counsel regarding the motion; organize into correspondence folder.



                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to motion for leave to amend complaint
                                          (TAC)




                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $110.00                             $55.00                                      0.1




                                                                                                        Page 391 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 402 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft J. Brett declaration in support of motion for leave to
                                          amend; authenticate exhibits, add paragraphs establishing facts set forth
                                          in brief, compile exhibits



                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Continue to draft motion for leave to amend complaint (TAC)




                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                     0

                                          Call w. client and J. Flanders re: revisions and next steps for motion for
                                          leave to amend (TAC)




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Attend meet and confer with opposing counsel regarding motion for leave
                                          to file third amended complaint




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to corporate veil section of brief
                                          (motion for leave to amend)




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Continue to draft motion for leave to amend; locate testimony from
                                          Subbotin supporting factual assertions in section re: facts necessitating
                                          leave to amend



                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                          Page 392 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 403 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt and L. Chase and J. Flanders re: adding Carol
                                          Anderson Ward trust as defendant.




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Highlight deposition excerpts for use in J. Brett Declaration in support of
                                          motion for leave to amend complaint (TAC)




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                         1.0    $550.00           $550.00                               $0.00                                     0

                                          Compile all exhibits for declaration of T. Brett in support of motion for
                                          leave to amend and mark with Exhibit label




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                     0

                                          Compile balance sheets as exhibits to T. Brett declaration in support of
                                          motion for leave to amend; find authenticating documentation from Velez
                                          testimony; highlight balance sheets to for use as exhibits



                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                         0.9    $550.00           $495.00                               $0.00                                     0

                                          Draft section in motion for leave to file TAC re: past attempts to discover
                                          D’s financial information and D’s objections to the same




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze case law re: inequitable prong of alter ego liability
                                          and application of alter ego liability to trust.




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                         Page 393 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 404 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: meet and confer on
                                          motion for leave to amend and strategy re: the same; organize into
                                          correspondence folder



                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Review Subbotin transcript to locate cites to discussion regarding hay
                                          barn and manure disposal; incorporate into brief




                   Murieta
                   Equestrian
  3/29/2024 CCKA   Center     Tom Brett                                                                                     0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: strategy for motion for
                                          leave to amend and next steps for drafting; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to revise motion for leave to file Third Amended Complaint




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J Flanders re: protective order requirements for filing
                                          confidential documents




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: completing motion for leave to file Third Amended
                                          Complaint




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                         Page 394 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 405 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze case law re: Federal Rule of Civil Procedure 20 and
                                          21 for permissive joinder; draft legal background section in brief re: the
                                          same.



                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                        0.9    $550.00           $495.00                               $0.00                                     0

                                          Review and analyze protective order requirements for filing confidential
                                          documents




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and annotate ED CAL local rules 141 re: request to file under
                                          seal




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders and D. Hunt re: strategy w/r/t parcel south of the
                                          7200 lone pine drive property and liability of trust.




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft email to J. Patterson re: missing Exhibit A to lease between Carol
                                          Anderson Ward Trust and Murieta Equestrian Center.




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Add PIN cites to exhibits in J. Brett declaration in support of motion for
                                          leave to amend in motion




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                         Page 395 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                           Page 406 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and analyze case law re: inequitable results
                                          requirement of alter ego liability, incorporate into motion for leave to file
                                          third amended complaint.



                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                           0.7    $550.00           $385.00                               $0.00                                     0

                                          Draft argument section on permissive joinder under Federal Rule of Civil
                                          Procedure 20




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                           0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft section in motion for leave to amend re: Plaintiff's requests for
                                          production Set one re: financial information and Defendant's responses.




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00                               $0.00                                     0

                                          Resolve to / incorporate client and firm comments in motion for leave to
                                          file TAC




                   Murieta
                   Equestrian
   4/1/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: inclusion in motion for leave to amend
                                          case law on adequacy of 60-day notice to corp officer for RCOD liability.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to L. Marshall re: RCOD liability research (no need to
                                          separately notice intent to sue).




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                           Page 396 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 407 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with TT re: strategy for request to file under seal




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: further revisions to motion for leave to
                                          amend.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze defendant's rebuttal expert opinion regarding
                                          defendant's ability to pay




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: strategy for further revisions to motion for leave
                                          to amend and motion to seal confidential documents




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                     0

                                          Continue to revise motion for leave to amend (TAC)




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: further revisions to motion to for leave to
                                          amend complaint (TAC)




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                         Page 397 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 408 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: documents relied on / referenced by D rebuttal
                                          econ expert that we do not have in our possession.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Shefftz re: review of and corrections to deposition
                                          transcript.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to L Marshall, D Hunt, and J. Flanders re: how to obtain
                                          records from recorders office (Sac county)




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft meet and confer email to opposing counsel re: filing documents
                                          under seal and whether D will stipulate to waiving that requirement.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze sources relied on by Murieta Equestrian Center
                                          econ rebuttal expert to determine if the expert uses any sources not
                                          already in our possession.



                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Save proposed TAC to shared, and draft email to client re: revisions to
                                          the same.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 398 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 409 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise motion for leave to amend and declaration in support thereof; add
                                          exhibits to declaration and conform cites in motion to the same.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Revise motion for leave to amend complaint (TAC); resolve / incorporate
                                          comments




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Revise motion for leave to amend per J. Flanders comments / suggested
                                          revisions.




                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                     0

                                          Draft email to client and J. Flanders re: strategy for deposing econ
                                          rebuttal expert.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: drafting Phase II SUF next steps




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: whether to depose econ rebuttal expert.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 399 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                          EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                        Page 410 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with T. Trillo re: further revisions to request to seal.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to draft Phase II SUF




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                     0

                                          Draft email to client and J. Flanders re: opposing counsel request re:
                                          timing of potential depositions of Defendant's expert witnesses.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: research into standard for granting request
                                          for joinder.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: request to seal documents.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Patterson re: missing Exhibit A to leas produced by D in
                                          response to requests for production, Set Nine.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                          Page 400 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 411 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Shefftz re: review of def's expert rebuttal report.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: deposition time line for Defendant's
                                          expert witnesses.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Make final revisions to T. Brett Declaration in support of motion for leave
                                          to amend.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze motion for leave to amend and T. Brett declaration
                                          exhibits to confirm what is w/in ambit of protective order.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze stipulated protective order requirements.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and revise motion for leave to amend complaint (TAC) and
                                          check citations to J. Brett declaration in support thereof




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                     0




                                                                                                          Page 401 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                         Page 412 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise Notice of Request to Seal documents.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and revise request to seal exhibits O and J to T. Brett Dec in
                                          support of motion for leave to amend.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Review, analyze, and summarize case law re: joinder under Federal Rule
                                          of Civil Procedure 21 and amendment under Federal Rule of Civil
                                          Procedure 15



                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft email to S. Fried re: deposition of econ rebuttal expert.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with T. Trillo and J. Flanders re: strategy for filing under seal




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $110.00                            $110.00                                      0.2

                                          Calls with J. Shefftz and J Flanders re: analysis of D rebuttal report and
                                          schedule for deposition.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                           Page 402 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 413 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and revise request to seal




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise exhibits to T. Brett declaration in support of motion for leave to
                                          amend




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise propose order and draft comms to TT re: the same.




                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: Def rebuttal expert
                                          schedule and notice; strategy for Phase II Motion for Summary Judgment
                                          and SUF; notice of intent to sue on CAW; motion for leave to amend ;
                                          organize into correspondence folder


                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to E. Bustos re: flight expenses (Shefftz depo)




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: revisions to request to seal, and next
                                          steps for completing motion for leave to amend.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 403 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 414 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to T. Trillo re: revisions to Request to Seal documents




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: scope of document request in deposition
                                          notice to Murieta Equestrian Center rebuttal econ expert.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze Small MS4 permit to determine application
                                          requirements.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and revise notice of motion and motion for leave to file TAC




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and revise request to seal documents.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft email to D. Hunt and J. Flanders re: Defendant's expert rebuttal
                                          witness deposition notice.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                      Page 404 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 415 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze draft deposition notice of Defendant's econ rebuttal
                                          expert.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: review of Defendant's expert rebuttal report to
                                          determine if he cites / relies on documents not in our possession.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos and J. Flanders re: revisions to D econ rebuttal
                                          expert deposition notice




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to opposing counsel re: request for D econ rebuttal expert's
                                          file




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze J. McCurley expert report (econ rebuttal) to confirm
                                          that he does not reference or rely on documents not in our possession.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: next steps for revising Motion for Summary
                                          Judgment and Phase II SUF




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0




                                                                                                        Page 405 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 416 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: revisions to motion for summary judgment /
                                          Phase II SUF




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Continue to draft Phase II SUF




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.7    $550.00           $385.00                               $0.00                                      0

                                          Continue to revise / draft Phase II SUF and Motion for Summary
                                          Judgment




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    1.1    $550.00           $605.00                               $0.00                                      0

                                          Continue to revise Phase II MS4 and Motion for Summary Judgment




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Discuss with J. Flanders adding facts re: small MS4 permitting process
                                          and Region 9 Concentrated Animal Feeding Operation NOIs to Phase II
                                          Motion for Summary Judgment



                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00           $110.00                               $0.00                                      0

                                          Review and revise notice of request to seal documents.




                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                      Page 406 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 417 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft emails to D. Hunt re: whether Concentrated Animal Feeding
                                          Operation in Bonsall CA is within scope of San Diego county MS4 permit




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Follow up call with I. Wren re: use of multiple gauges for rain data in
                                          Phase I Motion for Summary Judgment




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: rain data, motion to amend, Motion for Summary
                                          Judgment arguments re: Concentrated Animal Feeding Operation
                                          permittees



                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with T. Trillo re: preparation of exhibits to Motion for Leave to File
                                          Third Amended Complaint.




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Follow up call with E. Bustos re: filing motion for leave to amend
                                          complaint




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Calls with J. Flanders and D. Hunt re: strategy for revisions to Phase II
                                          Motion for Summary Judgment and next steps for completing motion for
                                          leave to amend



                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                         0.9    $550.00           $440.00                             $55.00                                      0.1




                                                                                                          Page 407 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 418 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: filing notice of motion and motion for leave to file
                                          TAC




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: locating rain data cited / referenced in Phase I
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with I. Wren re: use of multiple gauges for rain data in Phase I
                                          Motion for Summary Judgment




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with E. Bustos re: revisions to notice of motion and motion
                                          for leave to amend




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm, opposing counsel, and client comms re:
                                          motion for leave to amend; McCurley deposition schedule, Phase II
                                          Motion for Summary Judgment strategy; organize into correspondence
                                          folder.


                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: revisions to notice of motion and motion for leave
                                          to amend.




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                          Page 408 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 419 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: strategy for organizing Phase II SUF




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Continue to populate /revise Phase II SUF




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                     0

                                          Continue to revise Phase II Motion for Summary Judgment (draft
                                          sections re: small MS4 permit enrollment) and populate Phase II SUF




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $440.00                               $0.00                                     0

                                          Make additional revisions to Phase II Motion for Summary Judgment
                                          (add to section describing MS4 permit requirements)




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze Wren reports re: rain station data and analyze rain
                                          data used in Phase I Motion for Summary Judgment




                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                     0

                                          Draft comms to E. Bustos re: addition of exhibits to phase II Statement of
                                          Undisputed Facts




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 409 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                             Page 420 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Defendant's interrogatories, set three to evaluate
                                          need to supplement responses




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00            $165.00                                $0.00                                     0

                                          Review and analyze in firm and client comms re: next steps for
                                          completing SUF, supplemental responses to Murieta Equestrian Center
                                          Request for production of documents, deposition of Defendant rebuttal
                                          witness, ED Cal filing deficiency notice; organize into correspondence
                                          folder.

                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with E. Bustos re: compiling Phase I evidence for Phase II SUF.




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                     0

                                          Call with J. Flanders re: next steps for revisions to Phase II SUF and
                                          Motion for Summary Judgment brief




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $110.00                                $0.00                                     0

                                          Call with J. Flanders re: revisions to and reorganization of Phase II SUF




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Continue to draft Phase II SUF and renumber cites to the same in Motion
                                          for Summary Judgment Brief




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       2.2    $550.00           $1,210.00                               $0.00                                     0




                                                                                                       Page 410 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                           Page 421 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Follow up call with E. Bustos re: compiling Phase I evidence for Phase II
                                          SUF.




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: reorganization of Phase II SUF




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Populate Phase II SUF with missing evidence




                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise Phase II Motion for Summary Judgment brief and compile
                                          additional evidence re: defendant's lack of permit and small ms4 permit
                                          requirements etc.



                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett                                                                                       1.0    $550.00           $550.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: additional evidence showing discharges
                                          from production area.




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze Phase I evidence to identify discharge photos (from
                                          production area) for use in Phase II SUF




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.7    $550.00           $385.00                               $0.00                                      0




                                                                                                      Page 411 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 422 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze photos in Ex. A to J. Flanders Motion for Summary
                                          Judgment Phase I Dec to determine if we have any photos showing open
                                          air areas between stables.



                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with E. Bustos re: bates stamping Ex. A to J. Flanders declaration in
                                          support of Phase II Motion for Summary Judgment




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to revise Phase I SUF and incorporate citations into Motion for
                                          Summary Judgment brief




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00             $0.00                            $220.00                                      0.4

                                          Revise citations to drone footage in Phase II SUF to cite to notice of
                                          lodging)




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Draft task list re: next steps for completing Phase II Motion for Summary
                                          Judgment and supporting documents (SUF and Dec).




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and pair down Phase I exhibits / evidence used in Phase II SUF




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                       Page 412 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 423 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and analyze Defendant's prior discovery responses to
                                          determine scope of potential supplemental document production and/or
                                          interrogatory responses.



                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0

                                          Revise J. Flanders declaration in support of Phase II motion for summary
                                          judgment




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                      0

                                          Add Phase II SUF fact to R. 7 Concentrated Animal Feeding Operation
                                          permit and incorporate to Motion for Summary Judgment brief




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with E. Bustos re: drafting J. Flanders declaration in support of
                                          motion for summary judgment (Phase II)




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: further revisions to Phase II SUF and review of
                                          exhibits / evidence in support thereof.




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Call with J. Flanders re: next steps for supplemental document
                                          production / further revisions to Phase II SUF and Motion for Summary
                                          Judgment brief



                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                        Page 413 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 424 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Compare compiled exhibits folder with evidence cited in Phase II SUF to
                                          ensure that we have complete exhibit set to include in declaration.




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                      0

                                          Draft comms with J. Flanders re: organization of Phase I exhibits in SUF
                                          and citing to the same in support of Phase II issues.




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft follow up comms to E. Bustos re: drafting J. Flanders declaration in
                                          support of motion for summary judgment.




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: next steps for revising Phase II SUF
                                          and compiling supporting evidence




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00            $55.00                             $55.00                                      0.1

                                          Reorganize and revise J. Flanders declaration in support of Phase II
                                          motion for summary judgment.




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze dry weather inspection video to locate video of
                                          discharges from wash stations to drop inlet




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                       Page 414 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                      Page 425 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise Phase II SUF; continue to address placeholder
                                          comments / highlights




                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                  0.4    $550.00           $220.00                               $0.00                                      0

                                          Draft email to H. Beck re: revisions to Phase II SUF




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with M. Maclear re: status of Phase II MS J




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Follow up call with J. Flanders re: revisions to Phase II SUF




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: making further revisions to Phase II SUF




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                  0.3    $550.00           $165.00                               $0.00                                      0

                                          Review dry weather inspection video to locate footage showing wash
                                          rack drainage.




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                  0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                          Page 415 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 426 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Revise proof of service for supplemental document production (D's
                                          requests for production, Set Three




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with E. Bustos re: compiling exhibits for Flanders Dec in support of
                                          motion for summary judgment (Phase II)




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with E. Bustos re: continuing work on exhibit compilation for J.
                                          Flanders Decl. in support of motion for summary judgment.




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: further revisions to Phase II SUF




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                     0

                                          Continue to revise Phase II Motion for Summary Judgment; further
                                          substantiate facts with additional evidence; revise evidence citations.




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                       1.6    $550.00           $880.00                               $0.00                                     0

                                          Draft email in response to email from H. Beck re: further revisions to
                                          Phase II SUF




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                        Page 416 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 427 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Extract video from dry weather inspection videos and create exhibits to J.
                                          Flanders Dec in support of Motion for Summary Judgment (Phase II)




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                      0

                                          Follow up call with E. Bustos re: compiling exhibits and lodging video of
                                          dry weather inspection




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Revise J. Flanders declaration in support of motion for summary
                                          judgment




                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $220.00                               $0.00                                      0

                                          Compile exhibits for McCurly depo; send to J Flanders




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Assist E. Bustos with cite checking brief




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Continue to revise citations in and add citations to Phase II SUF




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 417 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                             Page 428 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review exhibits to Flanders decl. to locate rainfall data; draft comms to J.
                                          Flanders re: the same




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Create exhibit with rain data from 12/17/22 through present and revise
                                          Flanders Decl in support of Phase II Motion for Summary Judgment to
                                          include paragraph attaching and authenticating the rain data.



                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: revisions Statement of Undisputed Facts
                                          (Phase II)




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: finance documents provided to Shefftz in
                                          prep for D econ rebuttal expert deposition




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                      0

                                          Address and incorporate D Hunt comments to Phase II Motion for
                                          Summary Judgment brief




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                          0.8    $550.00           $440.00                               $0.00                                      0

                                          Call with J. Flanders re: status of revisions to Motion for Summary
                                          Judgment brief and next steps




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 418 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                        Page 429 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise Phase II Motion for Summary Judgment brief (add
                                          missing citations to Flanders Decl exhibits)




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                     0

                                          Continue to revise Phase II SUF and Motion for Summary Judgment
                                          brief (revise and conform citations in both)




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                     0.4    $550.00           $220.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: further revisions to Phase II Motion for
                                          Summary Judgment and SUF




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft teams comms to E. Bustos re: removing hyperlinks from Ex R and
                                          Q placeholder exhibits.




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0

                                          Excerpt and cite check Flanders Decl Ex. N (Subbotin testimony)




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                     0.7    $550.00           $385.00                               $0.00                                     0

                                          Follow up call with J. Flanders re: revisions to SUF and addition of
                                          evidence to the same.




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 419 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 430 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Pull rain data from NOAA for Dec. 2022 through present




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: completing and filing
                                          Phase II Motion for Summary Judgment; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review evidence cited in Phase II SUF to ensure it supports stated fact
                                          and add cites to Flanders Decl Ex. A as needed.




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        1.0    $550.00           $550.00                               $0.00                                      0

                                          Review evidence cited in Phase II SUF to ensure it supports stated fact
                                          and add cites to Flanders Decl Ex. A as needed.




                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center     Tom Brett                                                                                        0.9    $550.00           $495.00                               $0.00                                      0

                                          Call with E. Bustos re: compressing Ex. A for filing and issues with image
                                          resolution; attempt to compress file size and reduce image resolution




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                        0.6    $550.00             $0.00                            $330.00                                      0.6

                                          Call with J. Flanders re: compressing Ex. A for filing and issues with
                                          image resolution




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                       Page 420 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 431 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to attempt to compress J. Dec Ex A (Phase II Motion for
                                          Summary Judgment)




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                       0.3    $550.00            $0.00                            $165.00                                      0.3

                                          Draft teams comms to J. Flanders re: T. Simpson compliance cost
                                          estimates and J. Shefftz econ benefit calculations.




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: filing Phase II motion for summary judgment




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Follow up call with E. Bustos re: solutions to Ex. A file size and
                                          compressing Ex A




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: deposition of J. McCurly
                                          and revisions to and strategy for Phase II Motion for Summary
                                          Judgment; organize into correspondence folder



                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with E. Bustos re: next steps for filing Phase II Motion for Summary
                                          Judgment and SUF




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                         Page 421 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                              Page 432 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: revisions to Phase II SUF




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with E. Bustos re: revisions to Exhibit S to Flanders Decl. in support
                                          of Phase II motion for summary judgment.




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with J. Flanders re: revisions to SUF and Motion for Summary
                                          Judgment motion / brief




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                     0

                                          Check and revise evidentiary cites in Phase II SUF




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                         1.9    $550.00           $1,045.00                               $0.00                                     0

                                          Draft comms to E. Bustos re: further revisions to notice of motion and
                                          motion (revising caption and adding authorities to TOA)




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Follow up call with E. Bustos re: further revisions to Phase II SUF




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                        Page 422 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                        Page 433 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and revise notice of lodging




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise notice of motion and motion for Phase II summary judgment.




                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: supplemental document production next
                                          steps and completing MIL




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Review billing records, revise hourly rates to conform to ED Cal,
                                          calculate total fee amount to date.




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                    1.1    $550.00           $605.00                               $0.00                                     0

                                          Call with E. Bustos re: dates for D to oppose motion to leave to amend
                                          and Phase II Motion for Summary Judgment




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: calculating fees to send to opposing
                                          counsel




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00            $55.00                               $0.00                                     0




                                                                                                       Page 423 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                           Page 434 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D. Hunt re: fees billed to date.




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: Shefftz errata sheet from depo




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze in firm and client comms re: calculating settlement
                                          demand; organize into correspondence folder




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Review docket to determine when responsive pleading is due for motion
                                          for leave to amend.




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                     0

                                          Revise billing calculations as part of settlement offer to opposing counsel




                   Murieta
                   Equestrian
  4/15/2024 CCKA   Center     Tom Brett                                                                                         0.4    $550.00           $220.00                               $0.00                                     0

                                          Review and analyze LR re: opp and reply deadlines for mtn for leave to
                                          amend; calendar the same.




                   Murieta
                   Equestrian
  4/16/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                          Page 424 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                          Page 435 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: supplemental document production and reply to
                                          opp to motion for leave to amend.




                   Murieta
                   Equestrian
  4/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: obtaining trust documents (CAW Trust) / grant
                                          deed to Murieta Equestrian Center property




                   Murieta
                   Equestrian
  4/16/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: scope of supplemental document production




                   Murieta
                   Equestrian
  4/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review and analyze case law on "possession, custody, and control"
                                          requirements of Federal Rule of Civil Procedure 34 in prep for
                                          supplemental production.



                   Murieta
                   Equestrian
  4/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Call with J. Flanders re: finalizing MIL to exclude Swickard Testimony




                   Murieta
                   Equestrian
  4/18/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to review and revise Swickard MIL




                   Murieta
                   Equestrian
  4/18/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                      Page 425 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 436 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to E. Bustos re: filing Swickard MIL




                   Murieta
                   Equestrian
  4/18/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze ED Cal local rules and scheduling orders to
                                          determine MIL page limits




                   Murieta
                   Equestrian
  4/18/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0

                                          Compile Brett Declaration Exhibits; revise Brett Dec caption and footer.




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: revisions to MIL Swickard




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with E. Maharg re: citations to prior photos in Swickard MIL




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Calls with E. Maharg re: revisions to Swickard MIL




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                       Page 426 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 437 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to D Hunt and L Marhsall re: draft proposed order




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt and E. Maharg re: response to opposing counsel
                                          request for word version of SUF




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft email to D. Hunt re: motion in limine




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Draft follow up comms with E. Bustos re: citation revisions to Motion in
                                          Limine (Swickard)




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm comms re: completing motion in limine;
                                          organize into correspondence folder.




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with D. Hunt re: addition to MIL re: Federal Rule of Civil Procedure
                                          26 deficiencies in Swickard report.




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                       Page 427 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 438 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with E. Bustos re: cite checking motion in limine (Swickard)




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with E. Bustos re: revisions to Swickard MIL




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with L. Marshall re: comment to draft MIL re: Federal Rule of Civil
                                          Procedure 26 deficiencies




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft and revise Motion in Limine to exclude expert testimony of Tim
                                          Swickard




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       2.9    $550.00           $1,595.00                               $0.00                                     0

                                          Draft follow up comms to D. Hunt re: revisions to motion in limine
                                          (Swickard) and strategy for proposed order




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft follow up comms to E. Bustos re: citation revisions to Swickard MIL




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $55.00                                $0.00                                     0




                                                                                                       Page 428 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                              Page 439 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up comms to E. Bustos re: revisions to motion in limine
                                          (Swickard)




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Draft proposed order granting Swickard MIL




                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                     0

                                          Call with E. Bustos re: supplemental production to Defendant's Requests
                                          for Production set 3




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Call with J. Flanders re: outlining reply in support of motion for leave to
                                          amend (TAC), supplemental production, and providing opposing counsel
                                          with native version of SUF



                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                     0

                                          Draft email to opposing counsel and reporter re: Shefftz signed errata
                                          sheet




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                     0

                                          Outline Reply in support of motion for leave to amend




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                         1.9    $550.00           $1,045.00                               $0.00                                     0




                                                                                                        Page 429 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 440 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze court comms re: need to file notice to reschedule
                                          hearing; draft comms with E. Bustos re: the same.




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to E. Bustos re: service of supplemental document prod in
                                          response to Def's Requests for Production Sets 2 and 3




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft follow up communications with E. Bustos re: California Coastkeeper
                                          Alliance supplemental production to Defendants requests for production,
                                          Set Two



                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review finalized supplemental document prod in response to
                                          Defendant's Requests for Production Set 2 and Set 3




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft follow up comms to J. Flanders re: outline for reply in support of
                                          motion for leave to amend.




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Review, analyze and annotate Defendant's opp to motion for leave to
                                          amend.




                   Murieta
                   Equestrian
  4/22/2024 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0




                                                                                                        Page 430 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                         Page 441 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: local rule and protective order
                                          requirements for Murieta Equestrian Center with regard to California
                                          Coastkeeper Alliance's pending motion to seal



                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Follow up call with E. Bustos re: service of supplemental document
                                          production in response to Request for Production Set 2 and 3




                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Call with E. Bustos re: serving supplemental production in response to
                                          Request for Production sets 2 and 3.




                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze in firm, client, and external comms re: reply in
                                          support of motion for leave to amend, supplemental document
                                          production, settlement negotiations; organize into correspondence folder



                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze Protective Order and E. Dist. Cal. local rules to
                                          determine what steps, if any, are next on our part or Defendant's




                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0

                                          Review and analyze draft comms by J. Flanders to opposing counsel re:
                                          defendant's request for an extension to oppose Motion for Summary
                                          Judgment.



                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                     0




                                                                                                      Page 431 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 442 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Complete draft outline for reply in support of motion for leave to amend.




                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: drafting reply in support of motion for
                                          leave to amend.




                   Murieta
                   Equestrian
  4/24/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review, analyze, and distinguish caselaw cited by Murieta
                                          Equestrian Center in Opposition to Motion for Leave to Amend;
                                          incorporate into Reply outline



                   Murieta
                   Equestrian
  4/24/2024 CCKA   Center     Tom Brett                                                                                         1.6    $550.00           $880.00                               $0.00                                      0

                                          Review, analyze, and distinguish cases cited by Defendant in section of
                                          Opposition to Motion for Leave to Amended challenging the sufficiency of
                                          Responsible Corporate Officer Doctrine Allegations in TAC; incorporate
                                          into outline


                   Murieta
                   Equestrian
  4/24/2024 CCKA   Center     Tom Brett                                                                                         0.5    $550.00           $275.00                               $0.00                                      0

                                          Draft factual background section of Reply in Support of Motion for Leave
                                          to Amend




                   Murieta
                   Equestrian
  4/24/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to Reply in support of motion for leave
                                          to amend.




                   Murieta
                   Equestrian
  4/25/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                        Page 432 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                               Page 443 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft Reply in Support of Motion for Leave to Amend.




                   Murieta
                   Equestrian
  4/25/2024 CCKA   Center     Tom Brett                                                                                          1.7    $550.00            $935.00                                $0.00                                      0

                                          Draft section in Reply in Support of Motion for Leave to Amend re:
                                          California Coastkeeper Alliance's diligence in moving to amend.




                   Murieta
                   Equestrian
  4/25/2024 CCKA   Center     Tom Brett                                                                                          0.9    $550.00            $495.00                                $0.00                                      0

                                          Draft section in Reply in Support of Motion for Leave to Amend re:
                                          sufficiency of responsible corporate officer doctrine allegations.




                   Murieta
                   Equestrian
  4/25/2024 CCKA   Center     Tom Brett                                                                                          1.3    $550.00            $715.00                                $0.00                                      0

                                          Review and analyze in firm, opposing counsel, and client comms re:
                                          drafting Reply in Support of Motion for Leave to Amend; organize into
                                          correspondence folder



                   Murieta
                   Equestrian
  4/26/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Continue to draft and revise Reply in Support of Motion for Leave to
                                          Amend (cut the brief down to get it within page limitations.)




                   Murieta
                   Equestrian
  4/26/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00            $275.00                                $0.00                                      0

                                          Continue to draft Reply in Support of Motion for Leave to Amend (draft
                                          sections re: futility of amendments, prejudice of delay, joinder; and review
                                          / revise to cut length)



                   Murieta
                   Equestrian
  4/26/2024 CCKA   Center     Tom Brett                                                                                          2.3    $550.00           $1,265.00                               $0.00                                      0




                                                                                                        Page 433 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 444 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: revisions to Reply in Support of Motion for Leave
                                          to Amend.




                   Murieta
                   Equestrian
  4/29/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to D. Hunt re: status of draft Reply in Support of Motion for
                                          Leave to Amend.




                   Murieta
                   Equestrian
  4/29/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          File Reply in Support of Motion for Leave to Amend Complaint




                   Murieta
                   Equestrian
  4/29/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Continue to draft Reply in Support of Motion for Leave to Amend; review,
                                          revise, incorporate J. Flanders revisions.




                   Murieta
                   Equestrian
  4/29/2024 CCKA   Center     Tom Brett                                                                                         0.8    $550.00           $440.00                               $0.00                                      0

                                          Continue to draft Reply in Support of Motion for Leave to Amend; final
                                          proof-read and revisions




                   Murieta
                   Equestrian
  4/29/2024 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                      0

                                          Review and analyze in firm, client, and opposing counsel comms re:
                                          stipulation to extend deadline to oppose motion in limine (Swickard);
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  4/30/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 434 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                              Page 445 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: prep for hearing on motion for leave to amend
                                          and negotiations with opposing counsel re: extending time for them to file
                                          opposition to Plaintiff's Motion in Limine.



                   Murieta
                   Equestrian
   5/1/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Review and analyze opposing counsel and expert comms re: extension
                                          of time for def to oppose motion in limine and re: expert invoices;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
   5/2/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $55.00                                $0.00                                      0

                                          Summarize cases in prep for J. Flanders hearing on Motion for Leave to
                                          File Third Amended Complaint




                   Murieta
                   Equestrian
   5/5/2024 CCKA   Center     Tom Brett                                                                                        0.8    $550.00            $440.00                                $0.00                                      0

                                          Summarize key case law in prep for hearing on motion for leave to
                                          amend complaint.




                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Tom Brett                                                                                        2.0    $550.00           $1,100.00                               $0.00                                      0

                                          Call with J. Flanders re: preparation on Motion for Leave to Amend




                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00            $110.00                                $0.00                                      0

                                          Review and analyze order granting motion to seal and continuing hearing
                                          on motion to file third amended complaint.




                   Murieta
                   Equestrian
   5/6/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $55.00                                $0.00                                      0




                                                                                                      Page 435 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                              Page 446 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: defendant ownership of Murieta Inn and
                                          Spa




                   Murieta
                   Equestrian
   5/8/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00                                $0.00                                      0

                                          Research Murieta Equestrian Center ownership of Murieta spa and/or
                                          other companies.




                   Murieta
                   Equestrian
   5/8/2024 CCKA   Center     Tom Brett                                                                                         0.3    $550.00            $165.00                                $0.00                                      0

                                          Call with M Hedin re: potential implications of defendant filing bankruptcy
                                          and potential referral.




                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Draft email to J. Flanders re: bankruptcy consultation with outside
                                          counsel to discuss implications of Murieta Equestrian Center declaring
                                          bankruptcy.



                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Call with J. Flanders re: settlement status and applicable market rates




                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00            $110.00                                $0.00                                      0

                                          Compile fees by timekeeper per quarter as part of settlement.




                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center     Tom Brett                                                                                         2.7    $550.00           $1,485.00                               $0.00                                      0




                                                                                                        Page 436 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                      Page 447 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Call with J. Flanders re: assistance with bankruptcy issues and locating
                                          consulting outside counsel.




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Call with J. Flanders re: research into Eastern District of California
                                          market rates and prep for mediation.




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Conduct research into Eastern District of Cal market rates.




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft comms to J. Flanders: mediation services agreement and timing to
                                          speak J. Newman prior to mediation.




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft task list re: research into market rates for completing fee demand
                                          letter




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Review and analyze exemplar fee demand in Second Amended
                                          Complaint County (P. Soluri)




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00           $0.00                            $165.00                                     0.3




                                                                                                         Page 437 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 448 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and execute J. Newman mediation services agreement.




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Complete quarterly fee calculation




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      3.3    $550.00           $1,815.00                               $0.00                                      0

                                          Draft email to J. Flanders re: ATA quarterly fee calculations




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft task list re: next steps for completing / further revising consent
                                          decree




                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Review and analyze in firm, opposing counsel, client, and external
                                          comms re: proposed mediation and deadline extensions, and fee
                                          calculation / demand letter.



                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $55.00                                $0.00                                      0

                                          Draft email to D. Hunt re: completing attorney fee demand letter.




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00              $0.00                              $55.00                                      0.1




                                                                                                          Page 438 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 449 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up comms with J. Flanders re: market rate research for fee
                                          demand letter.




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to research and analyze case law regarding reasonableness of
                                          attorney's fee awards; incorporated into fee demand letter.




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                       1.8    $550.00           $990.00                               $0.00                                      0

                                          Draft email to J. Flanders re: fee research.




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to fee demand letter




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Continue to draft / revise fee demand letter




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                       1.6    $550.00           $880.00                               $0.00                                      0

                                          Draft / revise sections of fee demand letter re: costs incurred and total
                                          fees incurred to date.




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                       0.4    $550.00           $220.00                               $0.00                                      0




                                                                                                        Page 439 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                    Page 450 of 481
Date      Client   Matter     Staff       Description                                                            Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: completing draft consent decree




                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: research into market rates.




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                  0.2    $550.00            $0.00                            $110.00                                      0.2

                                          Draft email to J. Flanders re: further research into market rates in
                                          Eastern District of California




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and summarize Eastern District of California cases discussing
                                          reasonableness of hourly rates.




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                  1.1    $550.00            $0.00                            $605.00                                      1.1

                                          Draft follow up email to S. Ory (bankruptcy attorney) re: no longer
                                          needing consultation on the matter.




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to invoice for mediation services (Judicate West ADR)




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                  0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                        Page 440 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                        Page 451 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft follow up email to J. Flanders re: further research into market rates
                                          in Second Amended Complaintramento area.




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft mediation brief.




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00                               $0.00                                      0

                                          Call with J. Flanders re: drafting mediation brief




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: providing briefing materials to Newman
                                          prior to May 17 mediation.




                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm comms re: strategy for potential Murieta
                                          Equestrian Center bankruptcy and mediation prep; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze confidential settlement comms to opposing counsel
                                          re: impact of possible bankruptcy proceedings on settlement and
                                          litigation.



                   Murieta
                   Equestrian
  5/16/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 441 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 452 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Create settlement calculator spreadsheet summarizing all fees to date
                                          and allowing to adjust fee/rates; troubleshoot discrepancies between fee
                                          totals between calculator and fee demand letter / other spreadsheets.



                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      2.7    $550.00             $0.00                           $1,485.00                                     2.7

                                          Call with J. Flanders re: cost and fee calculations




                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze memorandum of agreement




                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: locating Wren invoices and incorporating
                                          into cost estimates.




                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Locate and review Wren invoices for incorporation into cost records for
                                          settlement.




                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Begin drafting consent decree




                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                      Page 442 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                       Page 453 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: drafting consent decree.




                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: drafting consent decree




                   Murieta
                   Equestrian
  5/20/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to I. Wren re: invoice history




                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Leave voicemail with I. Wren re: invoice history




                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze comms between I. Wren and D. Hunt re: invoice
                                          history and compare with invoices on file to determine if we are missing
                                          any.



                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center     Tom Brett                                                                                      0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Continue to draft consent decree




                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center     Tom Brett                                                                                      0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                      Page 443 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 454 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: drafting consent decree whereas clauses.




                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center     Tom Brett                                                                                     1.0    $550.00           $550.00                               $0.00                                      0

                                          Draft task list re: completing draft consent decree




                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Complete draft of consent decree




                   Murieta
                   Equestrian
  5/22/2024 CCKA   Center     Tom Brett                                                                                     1.6    $550.00           $880.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: draft consent decree and next steps.




                   Murieta
                   Equestrian
  5/22/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to draft consent decree




                   Murieta
                   Equestrian
  5/22/2024 CCKA   Center     Tom Brett                                                                                     0.3    $550.00            $55.00                            $110.00                                      0.2

                                          Draft email to client re: draft consent decree.




                   Murieta
                   Equestrian
  5/22/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 444 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                               Document 189-10                                                    Page 455 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders re: invoice from May 17 mediation




                   Murieta
                   Equestrian
  5/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze client and in firm comms re: revisions to and
                                          strategy for terms of draft consent decree; organize into correspondence
                                          folder



                   Murieta
                   Equestrian
  5/22/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to E. Bustos re: payment of J. Shefftz Jan 22, 2024 invoice




                   Murieta
                   Equestrian
  5/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in client comms re: revisions to draft consent
                                          decree; organize into correspondence folder.




                   Murieta
                   Equestrian
  5/23/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00           $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: outstanding Shefftz invoices.




                   Murieta
                   Equestrian
  5/24/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Shefftz re: outstanding invoice.




                   Murieta
                   Equestrian
  5/24/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $0.00                             $55.00                                      0.1




                                                                                                         Page 445 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                            Page 456 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm, client, and expert comms re: expert invoice
                                          payment and draft consent decree; organize into correspondence folder.




                   Murieta
                   Equestrian
  5/24/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze draft consent decree sent to mediator and opposing
                                          counsel




                   Murieta
                   Equestrian
  5/24/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0

                                          Compile and review mediation invoices; send to J. Flanders and E.
                                          Bustos.




                   Murieta
                   Equestrian
  5/31/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders and E. Bustos re: payment of invoice to
                                          mediator.




                   Murieta
                   Equestrian
  5/31/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and opposing counsel comms re: mediation /
                                          settlement discussions and stipulation to extend filing deadlines; organize
                                          into correspondence folder



                   Murieta
                   Equestrian
  5/31/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Draft comms to J. Flanders re: locating and compiling defendant
                                          insurance documents




                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                       Page 446 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 457 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft email to J. Flanders, D. Hunt, and L. Marshall re: Murieta
                                          Equestrian Center insurance policies.




                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Locate on Everlaw all Murieta Equestrian Center insurance policies




                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: mediation preparation for tomorrow's
                                          mediation session re: fees.




                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: strategy / next steps given Murieta
                                          Equestrian Center insurer refusal to pay fees / defend.




                   Murieta
                   Equestrian
   6/4/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze external and in firm comms re: mediation and
                                          mediation prep, and strategy for response to Murieta Equestrian Center
                                          insurer arguments that it is under no obligation to pay fees; organize into
                                          correspondence folder


                   Murieta
                   Equestrian
   6/4/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze client comms re: strategy and planning for replies in
                                          support of Motion for Summary Judgment and MIL; organize into
                                          correspondence folder and draft email to client re: the same.



                   Murieta
                   Equestrian
   6/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 447 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 458 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: strategy for drafting
                                          reply in support of motion for summary judgment; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  6/10/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: drafting responses and objections to defendants'
                                          statement of undisputed facts.




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: strategy for responding to defendant's statement
                                          of undisputed facts.




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with D. Hunt, L. Marshall, and D. Hunt re: strategy for Reply in
                                          support of Motion for Summary Judgment




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                        1.1    $550.00           $605.00                               $0.00                                      0

                                          Review and analyze defendant's statement of undisputed facts.




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze J. Flanders outline and proposed division of labor for
                                          drafting reply in support of statement of undisputed facts.




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                        Page 448 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 459 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze defendant's opposition to Phase II motion for
                                          summary judgment.




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                     0.4    $550.00            $220.00                                $0.00                                      0

                                          Draft responses and objections to defendants' statement of undisputed
                                          facts




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                     0.3    $550.00            $165.00                                $0.00                                      0

                                          Begin drafting response and objections to Phase II SUF




                   Murieta
                   Equestrian
  6/11/2024 CCKA   Center     Tom Brett                                                                                     0.3    $550.00            $165.00                                $0.00                                      0

                                          Draft comms to E. Bustos re: minute order vacating MIL hearing date
                                          and deadlines and the effect thereof.




                   Murieta
                   Equestrian
  6/12/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Begin drafting response and objection to Def's Opposition




                   Murieta
                   Equestrian
  6/12/2024 CCKA   Center     Tom Brett                                                                                     2.1    $550.00           $1,155.00                               $0.00                                      0

                                          Call with J. Flanders re: strategy for drafting response to defendant's
                                          opposition SUF.




                   Murieta
                   Equestrian
  6/12/2024 CCKA   Center     Tom Brett                                                                                     0.2    $550.00            $110.00                                $0.00                                      0




                                                                                                        Page 449 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 460 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft task list re: completing objections and responses to statement of
                                          undisputed facts.




                   Murieta
                   Equestrian
  6/12/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: drafting reply in support
                                          of Motion for Summary Judgment; organize into correspondence folder.




                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze local rules and scheduling order re: page limit on
                                          reply.




                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: locating Rancho Murieta Community
                                          Services District notice of intent to comply with MS4 permit, and re: daily
                                          violation calculations.



                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft email to J. Flanders re: Rancho Murieta Community Services
                                          District notice letter to comply with small MS4 permit




                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft section in Reply in support of motion for summary judgment re:
                                          daily violations.




                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                         1.0    $550.00           $550.00                               $0.00                                      0




                                                                                                        Page 450 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                       Page 461 of 481
Date      Client   Matter     Staff       Description                                                               Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Rancho Murieta Community Services District
                                          document production and SMARTS submissions to attempt to find notice
                                          of intent to comply with Small MS4 Permit.



                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                     0.2    $550.00           $110.00                               $0.00                                      0

                                          Complete draft response and objections to defendant's opposition
                                          statement of undisputed facts.




                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                     1.0    $550.00           $550.00                               $0.00                                      0

                                          Draft email to client re: responses and objections to Defendant's
                                          opposition statement of undisputed facts.




                   Murieta
                   Equestrian
  6/13/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: client comments on responses and
                                          objections to Defendant's Phase II Motion for Summary Judgment Opp
                                          SUF.



                   Murieta
                   Equestrian
  6/14/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm and client communications re: revisions to
                                          reply in support of motion for Phase II summary judgment and response
                                          and objections to Defendant's SUF; organize into correspondence folder.



                   Murieta
                   Equestrian
  6/14/2024 CCKA   Center     Tom Brett                                                                                     0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to reply in support of motion for
                                          summary judgment.




                   Murieta
                   Equestrian
  6/14/2024 CCKA   Center     Tom Brett                                                                                     0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                         Page 451 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                         Page 462 of 481
Date      Client   Matter     Staff       Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: revisions to response and objections to
                                          defendant's SUF (Phase II Motion for Summary Judgment Opp SUF)




                   Murieta
                   Equestrian
  6/14/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and incorporate D. Hunt and J. Flanders suggestions into




                   Murieta
                   Equestrian
  6/14/2024 CCKA   Center     Tom Brett                                                                                      0.9    $550.00           $495.00                               $0.00                                     0

                                          Revise reply in support of phase II motion for summary judgment.




                   Murieta
                   Equestrian
  6/14/2024 CCKA   Center     Tom Brett                                                                                      0.7    $550.00           $385.00                               $0.00                                     0

                                          Call with J. Flanders re: next step for completing responses and
                                          objections to defendant's statement of undisputed facts.




                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Tom Brett                                                                                      0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to reply to defendant's statement of
                                          undisputed facts.




                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Tom Brett                                                                                      0.1    $550.00            $55.00                               $0.00                                     0

                                          Complete review of defendant's evidence in support of opposition
                                          statement of undisputed facts and revise response and objections
                                          thereto accordingly.



                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center     Tom Brett                                                                                      1.1    $550.00           $605.00                               $0.00                                     0




                                                                                                        Page 452 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                        Page 463 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total           Billing Judgment Fee Reduction     Billing Judgment Time Reduction

                                          Outline motion in limine to exclude expert testimony of Swickard and draft
                                          section responding to defendant's argument that the motion is
                                          premature.



                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                        0.8    $550.00           $0.00                            $440.00                                     0.8

                                          Review and analyze defendant's opposition to motion in limine to exclude
                                          Swickard testimony.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $0.00                            $110.00                                     0.2

                                          Draft comms to J. Flanders re: strategy and next steps for drafting reply
                                          in support of motion in limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Draft email to L. Marshall re: strategy and timeline for motion to exclude
                                          Swickard testimony.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Review minute order re: hearing and briefing deadlines for motion in
                                          limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $0.00                             $55.00                                     0.1

                                          Continue to outline and draft reply in support of motion in limine to
                                          exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $0.00                            $220.00                                     0.4




                                                                                                         Page 453 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 464 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze motion in limine to exclude Swickard testimony in
                                          prep for drafting reply to defendant's opp to the same.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00                               $0.00                                      0

                                          Continue to draft motion in limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00                               $0.00                                      0

                                          Continue to draft reply in support of motion in limine to exclude Swickard
                                          testimony




                   Murieta
                   Equestrian
  6/19/2024 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00                               $0.00                                      0

                                          Review, analyze and annotate Khumo tires decisions (cited by
                                          defendant) as part of prep for drafting reply in support of motion in limine
                                          to exclude Swickard testimony.



                   Murieta
                   Equestrian
  6/19/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                      0

                                          Continue to draft reply in support of motion in limine.




                   Murieta
                   Equestrian
  6/20/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00             $0.00                            $275.00                                      0.5

                                          Draft email to J. Flanders re: strategy for reply in support of motion for
                                          summary judgment.




                   Murieta
                   Equestrian
  6/20/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                         Page 454 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                          Page 465 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to draft reply in support of motion in limine to exclude Swickard
                                          testimony




                   Murieta
                   Equestrian
  6/20/2024 CCKA   Center     Tom Brett                                                                                         1.6    $550.00           $880.00                               $0.00                                      0

                                          Draft email to D. Hunt and L. Marshall re: reply in support of motion in
                                          limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/21/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to L. Marshall re: reply in support of motion in limine.




                   Murieta
                   Equestrian
  6/21/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Complete draft of reply in support of motion in limine to exclude Swickard
                                          testimony.




                   Murieta
                   Equestrian
  6/21/2024 CCKA   Center     Tom Brett                                                                                         1.3    $550.00           $715.00                               $0.00                                      0

                                          Draft email to D Hunt re: revisions to reply in support of motion in limine
                                          to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders re: revisions to reply in support of motion in
                                          limine.




                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                          Page 455 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                          Page 466 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm and client comms re: revisions to reply in
                                          support of motion in limine to exclude Swickard testimony; organize into
                                          correspondence folder.



                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze stipulation / ex parte app history, and court orders
                                          re: the same, to determine when reply in support of motion in limine is
                                          due.



                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00                               $0.00                                      0

                                          Revise Reply in Support of Motion in Limine to exclude Swickard
                                          testimony; incorporate client comments and draft section regarding effect
                                          of not deposing witness on motion.



                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Tom Brett                                                                                       0.9    $550.00           $495.00                               $0.00                                      0

                                          Call with J. Flanders re: next steps for completing reply in support of
                                          motion in limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/25/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm comms re: status of J. Barnes cases and
                                          transfer to new judge and strategy for settlement talks with opposing
                                          counsel; organize into correspondence folder.



                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to draft Reply in Support of Motion in Limine.




                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                        Page 456 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                            Page 467 of 481
Date      Client   Matter     Staff       Description                                                                   Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to revise reply in support of motion in limine to exclude
                                          Swickard testimony.




                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: drafting Reply in Support of Motion in
                                          Limine.




                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft comms to J. Flanders re: revisions to reply in support of motion in
                                          limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft follow up comms to J. Flanders re: revisions to reply in support of
                                          motion in limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze J. Flanders revisions to reply in support of motion in
                                          limine to exclude Swickard testimony.




                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft comms to E. Bustos re: filing Reply in support of Motion in Limine to
                                          Exclude Swickard Testimony.




                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00                               $0.00                                      0




                                                                                                       Page 457 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                      Page 468 of 481
Date      Client   Matter     Staff       Description                                                             Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms to J. Flanders re: revisions to and review of Reply in
                                          Support of Motion in Limine to Exclude Swickard Testimony.




                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze in firm and client comms re: reply in support of
                                          motion in limine (Swickard), reassignment of case, and settlement
                                          comms with opposing counsel; organize into correspondence folder.



                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00            $55.00                               $0.00                                      0

                                          Complete revisions to Reply in Support of Motion in Limine to Exclude
                                          Swickard Testimony; draft intro and conclusion to the same.




                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center     Tom Brett                                                                                   1.0    $550.00           $550.00                               $0.00                                      0

                                          Review and analyze in firms comms and court order re: reassigning
                                          matter to new judge; organize into correspondence folder.




                   Murieta
                   Equestrian
   8/6/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review and analyze in firm comms re: motion to reschedule hearings on
                                          motion in limine, motion for leave to amend, and motion for summary
                                          judgment; organize into correspondence folder.



                   Murieta
                   Equestrian
   8/7/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with E. Bustos re: filing / lodging documents to be sealed.




                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Tom Brett                                                                                   0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 458 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 469 of 481
Date      Client   Matter     Staff       Description                                                                     Hours         Rate       Total            Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders and E. Bustos re: following up with court regarding
                                          provision of documents requested to be filed under seal.




                   Murieta
                   Equestrian
  8/22/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: defendants intent to request supplemental
                                          briefing on loper bright.




                   Murieta
                   Equestrian
  8/23/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm and comms with court re: provision of
                                          documents for filing under seal; organize into correspondence folder.




                   Murieta
                   Equestrian
  8/23/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze client and in firm comms re: response to opposing
                                          counsel request for supplemental briefing on loper bright decision;
                                          organize into correspondence folder.



                   Murieta
                   Equestrian
  8/26/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                      0

                                          Review and analyze in firm, client and opposing counsel comms re: court
                                          order granting motion for supplemental briefing and changes to briefing
                                          deadlines; organize into correspondence folder.



                   Murieta
                   Equestrian
  8/27/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                      0

                                          Call with J. Flanders re: strategy for supplemental briefing on loper bright.




                   Murieta
                   Equestrian
  8/29/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00           $55.00                               $0.00                                      0




                                                                                                         Page 459 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                         Page 470 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft comms with J. Flanders re: assistance with oral argument on
                                          motion for leave to amend




                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: assisting w/ J. Flanders in prep for oral argument on
                                          motion to leave to amend.




                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          ID cases to review, summarize, and analyze as part of oral argument
                                          prep support for J. Flanders.




                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze opposing counsel comms re: Motion for Summary
                                          Judgment hearing date; organize into correspondence folder.




                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00            $55.00                               $0.00                                      0

                                          Convert final Motion in Limine to Exclude Swickard testimony into word
                                          version; send to client.




                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Review, analyze, and summarize case law cited in Motion for Leave to
                                          Amend in prep for oral argument hearing.




                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center     Tom Brett                                                                                       0.5    $550.00           $275.00                               $0.00                                      0




                                                                                                         Page 460 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                        EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 471 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total               Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft priorities list re: hearing prep assistance for J. Flanders; send to
                                          partners.




                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $55.00                                $0.00                                      0

                                          Review and summarize case law cited in motion for leave to amend
                                          complaint in prep for hearing.




                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center     Tom Brett                                                                                        2.8    $550.00           $1,540.00                               $0.00                                      0

                                          Call with J. Flanders re: strategy for loper bright supplemental brief.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00              $0.00                             $110.00                                      0.2

                                          Draft comms to J. Flanders re: supplemental briefing on loper bright and
                                          implications for the Rapanos Guidance.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00              $0.00                              $55.00                                      0.1

                                          Call with J. Flanders re: strategy and next steps for supplemental Loper
                                          Bright briefing.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                        0.3    $550.00            $110.00                              $55.00                                      0.1

                                          Draft email to J. Flanders re: question of judicial review of post-Rapanos
                                          guidance.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $55.00                                $0.00                                      0




                                                                                                          Page 461 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                             Document 189-10                                                           Page 472 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Draft section in Loper Bright supplemental brief re: status of Facility as a
                                          Concentrated Animal Feeding Operation.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00                               $0.00                                     0

                                          Draft section in supplemental loper bright briefing re: scope of judicial
                                          review of U.S. Environmental Protection Agency Rapanos guidance.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00                               $0.00                                     0

                                          Research and analyze case law describing authority for legal review of
                                          40 CFR s 122.23.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Review and analyze case law re: applicability of 33 USC s 1369 judicial
                                          review and statute of limitations to Concentrated Animal Feeding
                                          Operation regulations.



                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                     0

                                          Review and analyze case law re: deference provided to U.S.
                                          Environmental Protection Agency Rapanos guidance to incorporate into
                                          supplemental briefing on Loper Bright.



                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          1.4    $550.00           $770.00                               $0.00                                     0

                                          Review and analyze draft brief on lopper bright.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0




                                                                                                         Page 462 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 473 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze in firm comms re: supplemental briefing on Loper
                                          Bright; organize into correspondence folder.




                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to research and analyze the applicability of 33 USC s 1369 to
                                          Concentrated Animal Feeding Operation regs at 40 CFR part 122




                   Murieta
                   Equestrian
   9/5/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                     0

                                          Draft comms to J. Flanders re: locating federal register entry for
                                          Concentrated Animal Feeding Operation regulations at 40 CFR part 122.




                   Murieta
                   Equestrian
   9/5/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Draft email to J. Flanders re: applicability of 33 USC s 1369 to
                                          Concentrated Animal Feeding Operation regs at 40 CFR part 122.




                   Murieta
                   Equestrian
   9/5/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                     0

                                          Call with J. Flanders re: revisions to Loper Bright Brief.




                   Murieta
                   Equestrian
   9/6/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                     0

                                          Continue to draft Loper Bright supplemental brief; section re: applicability
                                          of 33 USC section 1369(b) to challenges to Concentrated Animal
                                          Feeding Operation regs at 40 CFR s 122.23.



                   Murieta
                   Equestrian
   9/6/2024 CCKA   Center     Tom Brett                                                                                          0.8    $550.00           $440.00                               $0.00                                     0




                                                                                                        Page 463 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                             Page 474 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: next steps for drafting Skidmore analysis in loper
                                          bright supplemental brief.




                   Murieta
                   Equestrian
  9/11/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list re: next steps for drafting Skidmore deference section of
                                          Loper Bright supplemental brief.




                   Murieta
                   Equestrian
  9/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                      0

                                          Review and analyze current draft of loper bright brief.




                   Murieta
                   Equestrian
  9/11/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                      0

                                          Call with J. Flanders re: section in Loper Bright supplemental brief on
                                          Skidmore deference.




                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Continue to draft portions of Loper Bright supplemental brief.




                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00             $0.00                            $165.00                                      0.3

                                          Review and analyze in firm and outside counsel comms re: strategy for
                                          supplemental briefing on Loper Bright; organize into correspondence
                                          folder.



                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                        Page 464 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                          Page 475 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: Loper Bright supplemental brief




                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00                               $0.00                                      0

                                          Call with J. Flanders re: strategy for loper bright supplemental brief.




                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                        0.7    $550.00           $330.00                             $55.00                                      0.1

                                          Outline additional portions of Skidmore deference argument regarding
                                          EPA's rational in federal register notice promulgating new Concentrated
                                          Animal Feeding Operation regulations in 2003.



                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                        0.6    $550.00           $330.00                               $0.00                                      0

                                          Review and analyze federal register notice for 2003 Concentrated Animal
                                          Feeding Operation rule in prep for drafting supplemental loper bright
                                          brief.



                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                      0

                                          Review and analyze Loper Bright fn 6 providing examples of discretion
                                          delegated to EPA's implementation of the Clean Water Act impairment-
                                          based effluent limitations and attempting to identify analogous delegation
                                          for Concentrated Animal Feeding Operation regulations.


                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                        0.5    $550.00           $275.00                               $0.00                                      0

                                          Research and analyze case law interpreting bar on judicial review
                                          provided by 1369(b)(2).




                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00           $110.00                               $0.00                                      0




                                                                                                         Page 465 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                         EXHIBIT 1 Filed 04/18/25
                                                                                              Document 189-10                                                             Page 476 of 481
Date      Client   Matter     Staff       Description                                                                       Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Follow up call with J. Flanders re: research into applicability of judicial bar
                                          at 1369(b) to Concentrated Animal Feeding Operation regs.




                   Murieta
                   Equestrian
  9/13/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Follow up call with J. Flanders re: revisions to loper bright supplemental
                                          brief.




                   Murieta
                   Equestrian
  9/13/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: strategy for revisions to loper bright brief.




                   Murieta
                   Equestrian
  9/13/2024 CCKA   Center     Tom Brett                                                                                             0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft section re: Skidmore deference and analyzing federal register
                                          notice for Concentrated Animal Feeding Operation regs in Loper Bright
                                          Brief.



                   Murieta
                   Equestrian
  9/13/2024 CCKA   Center     Tom Brett                                                                                             1.0    $550.00           $550.00                               $0.00                                      0

                                          Incorporate language from 4th circuit decision applying Skidmore
                                          deference to judicial review of Rapanos Guidance and research case law
                                          interpreting 33 USC s 1396(b)(2).



                   Murieta
                   Equestrian
  9/13/2024 CCKA   Center     Tom Brett                                                                                             0.4    $550.00           $220.00                               $0.00                                      0

                                          Review and analyze case law re: applicability of section 1369(b)(1) to
                                          Concentrated Animal Feeding Operation regulations and incorporate into
                                          loper bright supplemental brief.



                   Murieta
                   Equestrian
  9/13/2024 CCKA   Center     Tom Brett                                                                                             0.8    $550.00           $440.00                               $0.00                                      0




                                                                                                           Page 466 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                      EXHIBIT 1 Filed 04/18/25
                                                                                           Document 189-10                                                           Page 477 of 481
Date      Client   Matter     Staff       Description                                                                  Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze prior motion practice to locate citations holding that
                                          U.S. Environmental Protection Agency is not necessary and
                                          indispensable party to Clean Water Act citizen suit to incorporate into
                                          supplemental loper bright brief.


                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                        0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Call with J. Flanders re: subsequent research into whether U.S.
                                          Environmental Protection Agency is indispensable party to citizen
                                          enforcement actions.



                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft email to J. Flanders summarizing citations holding that U.S.
                                          Environmental Protection Agency is not necessary and indispensable
                                          party to Clean Water Act citizen suit.



                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Follow up call with J. Flanders re: research into cases holding that U.S.
                                          Environmental Protection Agency is not necessary and indispensable
                                          party to Clean Water Act citizen suit to incorporate into supplemental
                                          loper bright brief.


                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Conduct further into whether U.S. Environmental Protection Agency is
                                          indispensable party to citizen enforcement actions as part of
                                          supplemental briefing on Loper Bright.



                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                        0.3    $550.00           $165.00                               $0.00                                      0

                                          Call with J. Flanders re: revisions to and strategy for supplemental loper
                                          bright brief.




                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                        0.4    $550.00           $110.00                            $110.00                                      0.2




                                                                                                       Page 467 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 478 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Continue to review and revise supplemental brief in loper bright.




                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                          0.9    $550.00           $495.00                               $0.00                                      0

                                          Follow up call with J. Flanders re: revisions to loper bright supplemental
                                          brief; argument re: U.S. Environmental Protection Agency not being
                                          necessary and indispensable party.



                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00                               $0.00                                      0

                                          Draft task list re: next steps for review and outlining case law in prep for
                                          hearing on motion for leave to amend.




                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Draft weekly priorities re: preparation on hearing for motion to compel;
                                          send to partners.




                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Call with J. Flanders re: prep for hearing on motion for summary
                                          judgment, motion for leave to amend, and motion in limine.




                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                      0

                                          Continue to outline and summarize useful cases re: collateral estoppel in
                                          prep for hearing on motion for leave to amend complaint.




                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                      0




                                                                                                         Page 468 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                       EXHIBIT 1 Filed 04/18/25
                                                                                            Document 189-10                                                            Page 479 of 481
Date      Client   Matter     Staff       Description                                                                    Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze cases re: alter ego doctrine in prep for hearing on
                                          motion for leave to amend complaint.




                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00                               $0.00                                      0

                                          Review and analyze Defendant's Supplemental Brief on Loper Bright.




                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00                               $0.00                                      0

                                          Continue to outline and summarize cases re: landowner liability in clean
                                          water act cases in prep for hearing on motion for leave to amend
                                          complaint.



                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00                               $0.00                                      0

                                          Draft task list re: next steps for review and outlining case law in prep for
                                          hearing on motion for leave to amend.




                   Murieta
                   Equestrian
  9/18/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review, analyze, and summarize case law re: good cause to
                                          amend scheduling order and complaint in preparation for hearing on
                                          motion for leave to amend.



                   Murieta
                   Equestrian
  9/18/2024 CCKA   Center     Tom Brett                                                                                          0.8    $550.00           $440.00                               $0.00                                      0

                                          Review, analyze, and summarize case law re: alter ego allegations, and
                                          amending scheduling order and complaint in preparation for hearing.




                   Murieta
                   Equestrian
  9/18/2024 CCKA   Center     Tom Brett                                                                                          1.5    $550.00           $825.00                               $0.00                                      0




                                                                                                         Page 469 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                    EXHIBIT 1 Filed 04/18/25
                                                                                         Document 189-10                                                         Page 480 of 481
Date      Client   Matter     Staff       Description                                                              Hours         Rate       Total             Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Call with J. Flanders re: Motion to Amend hearing




                   Murieta
                   Equestrian
  9/19/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to summarize and outline cases in preparation for hearing on
                                          motion for leave to amend.




                   Murieta
                   Equestrian
  9/19/2024 CCKA   Center     Tom Brett                                                                                    1.1    $550.00             $0.00                            $605.00                                      1.1

                                          Draft email to J. Flanders re: case summaries for hearing prep.




                   Murieta
                   Equestrian
  9/19/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1

                                          Continue to review, analyze, and outline cases re: good cause under
                                          Federal Rule of Civil Procedure 16 and standards for leave to amend in
                                          prep for hearing on motion for leave to amend. summaries.



                   Murieta
                   Equestrian
  9/19/2024 CCKA   Center     Tom Brett                                                                                    1.7    $550.00           $935.00                               $0.00                                      0

                                          Call J. Flanders re: hearing prep.




                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Tom Brett                                                                                    0.2    $550.00             $0.00                            $110.00                                      0.2

                                          Draft comms to J. Flanders re: timing of McCurly deposition.




                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Tom Brett                                                                                    0.1    $550.00             $0.00                             $55.00                                      0.1




                                                                                                      Page 470 of 471
                                      Case 2:20-cv-01703-SCR
                                                                                                     EXHIBIT 1 Filed 04/18/25
                                                                                          Document 189-10                                                               Page 481 of 481
Date      Client   Matter     Staff       Description                                                                 Hours         Rate       Total                 Billing Judgment Fee Reduction      Billing Judgment Time Reduction

                                          Review and analyze Defendant's economic expert opinion re: ability of
                                          Defendant to pay.




                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00              $110.00                                $0.00                                        0

                                          Call with J. Flander re: hearing on motion for leave to amend, motion for
                                          summary judgment, and motion in limine.




                   Murieta
                   Equestrian
  10/8/2024 CCKA   Center     Tom Brett                                                                                       0.1    $550.00               $55.00                                $0.00                                        0
                                          Totals                                                                         925.2                         $453,959.30                          $54,037.50                                     98.25




                                                                                                      Page 471 of 471
